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 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Thurs day, June 29 , 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 10:01 a.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS THE TESTIMONY AND PROCEEDINGS
15       OF THE CASE AS RECORDED AND REQUESTED BY COUNSEL.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       DEBORAH JOHNSTON, Esquire
         BONNIE GREENBERG, Esquire
19
         On behalf of the Defendants:
20
         MICHAEL MONTEMARANO , Esquire
21       ANTHONY MARTIN, Esquire
         MARC HALL, Esquire
22       TIMOTHY MITCHELL, Esquire
         PETER WARD, Esquire
23       EDWARD SUSSMAN , Esquire
         HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter




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 1                                I N D E X

 2
                                   DIRECT     CROSS
 3
     Christopher   Sakala           6          58
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                                                              Page

23 Reporter's Certificate                                     224

24 Concordance                                                225

25



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 1            THE COURT:     Counsel , I ha ve grou nd my way

 2 through     end less grand jury transcript s, am almost

 3 finish ed , and I will be able to advise          you of whether

 4 there 's any un- redaction s that need to be done before

 5 cross-examination        begin s.     I have also just received

 6 from counsel     for Mr. Bynum a Motion to Exclude

 7 Prejudicial     Evidence .    There 's always    some hum or in a

 8 case , and this one involve s some picture s.             Seriously ,

 9 I'd like to see the picture s, Ms. Johnston .

10            MS. JOHNSTON:     Yes, sir .

11            THE COURT:     The issue here is whether        there

12 should     be an exclusion    on the basis of prejudice        of a

13 -- what appear s to be a pig being kill ed , and I see

14 that the case of United         States    v. Hamm is being cite d,

15 so I'll look at that with interest , but I need to see

16 the picture s so I can --

17            MS. JOHNSTON:     I h ave them here .      I can put them

18 up on the screen , or if the Court would like to see

19 them ...

20            THE COURT:     Just let me see them .

21            MS. JOHNSTON:     I would advise     the Court we're

22 going to try to get this detective            in before

23 cross-examination        is in because     she 's in a master s

24 program     at John s Hopkins       and is required   to be in class

25 all day tomorrow        and is on vacation     next week .




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 1           THE COURT:    When do you anticipate        that the --

 2           MS. JOHNSTON:     Your Honor , as soon as we finish

 3 the call s with Detective      Sakala , I'd like to call him

 4 to get him on and off .

 5           THE COURT:    So I really    need to look at this

 6 issue .

 7           MS. JOHNSTON:     We would , of course , like to be

 8 heard on this issue when the Court 's ready .

 9           THE COURT:    I'm not going to do it now .          You

10 plan to file a written      response    to this motion ?

11           MS. JOHNSTON:     No , Your Honor .

12           THE COURT:    It just got dropped      on my lap , so I

13 assume    you don't have an instant      response .

14           MS. JOHNSTON:     Your Honor , I read the motion .

15 Quite frankly , the case s cite d are support ive of the

16 government 's position     in this case and there 's not much

17 argument .

18           THE COURT:    Is this the full universe        of

19 picture s that were seize d?

20           MS. JOHNSTON:     Those are the full universe         of

21 the picture s.

22           THE COURT:    Are there other picture s?

23           MS. JOHNSTON:     Of Mr. Bynum with a gun ?         Those

24 are the    only picture s of Mr. Bynum with a gun .           They're

25 certain ly relevant    in this case .




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 1          THE COURT:     All right .      I'll -- when we take a

 2 break , I'll let you know how we can proceed             an d dis pose

 3 of this issue .      Anything    else before   we call the jury

 4 in ?   All right .    Bring them in .

 5          THE COURT:     We do have them all here , I assume .

 6          We're going to take a count of the juror s.

 7          Ms. Johnston    while she 's look ing for the jury ,

 8 is it your view that the picture           of the pig should     come

 9 in ?

10          MS. JOHNSTON:        Yes , Your Honor .     I certain ly --

11 I have a basis to tell the Court that , and I think the

12 Court nee ds to know some more circumstance s.

13          THE COURT:     Okay .

14          THE CLERK:     We're ready .

15          THE COURT:     Yes , bring them in .

16          (Witness    Sakala    resume s the stand at 10 :04 a.m. )

17          THE COURT:     Did you all have a chance         to look

18 at , by the way , yesterday 's decision        of the Fourth

19 Circuit ?

20          MS. JOHNSTON:        No .

21          THE COURT:     It address ed , albeit       slight ly in a

22 different   context , grand jury -redact ed transcript s.

23          MS. JOHNSTON:        I know   I tr ied to go on West law

24 and find it , but I didn't have         the cite .

25          THE COURT:     It 's on the court 's Web site .




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 1            MS. JOHNSTON:       I didn't   do that , Your Honor .         I

 2 tri ed West law .      It was n't there on West law .

 3            THE COURT:      I keep myself     entertain ed up here

 4 reading     recent    decision s, so that 's what I saw

 5 yesterday .

 6            MR. SUSSMAN :     Is this something      we should    read

 7 today ?

 8            THE COURT:      It's a yesterday 's decision .        It has

 9 to do with grand jury , among other thing s, redact ed

10 grand jury testimony .         It 's not in consistent      with what

11 I've ruled .

12                      (Jury return s at 10 :06 a.m. )

13            THE COURT:      Good morn ing , ladies and gentlemen          .

14 Are we ready ?        Don't want to jump start too fast now .

15            All right .     You may proceed,     Ms. Johnston .

16            MS. JOHNSTON:       Thank you , Your Honor .

17                       FURTHER DIRECT EXAMINATION

18            BY MS. JOHNSTON:

19 Q.         Detective     Sakala , yesterday    we left off , I think

20 we had finish ed call s on May 17 .

21            Now , call ing your attention       to May 18 , in

22 particular      call B6986 on Page 542 .        Are you familiar

23 with that telephone         call ?

24 A.         Yes .

25 Q.         Who are the parti es to that telephone           call ?




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 1 A.         Paulette    Martin   and Lavon "Becky"       Dobie .

 2 Q.         Is the next call , A17 08 , between        the same

 3 parti es ?

 4 A.         Yes , it is .

 5 Q.         Is that , like wise , related      to the previous       call ,

 6 B6986 ?

 7 A.         Yes .

 8 Q.         And if we could please        play B6986 ?     Before we

 9 play it , what time does this call take place ?

10 A.         This is on May 18 at 6:09 in the morn ing .

11 Q.         Please   play the call .

12            (Audio record ing begin s play ing at 10 :07 a.m. )

13            (Audio recording      stop s playing    at 10 :09 a.m.)

14            BY MS. JOHNSTON:

15 Q.         Now , if we could turn to the next call , A17 08 .

16 What time does that call take place in relation                   to the

17 one we just heard ?

18 A.         The first one is at 6:09 a.m.           This one is 6:27 ,

19 so just 20 minute s later .

20 Q.         If we could play that call , please .

21            (Audio record ing begin s playing        at 10 :09 a.m. )

22            (Audio recording      stop s playing    at 10 :09 a.m. )

23            BY MS. JOHNSTON:

24 Q.         Based upon your train ing and experience , what

25 was Ms. Martin        and Ms. Dobi e discuss ing in call B6986 ?




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 1 A.         Ms. Martin     is relating    the story to Ms. Dobie

 2 about the neighborhood         meet ing with the Takoma        Park

 3 Police Department        concern ing traffic     to and from her

 4 school , and then tell ing her how she had move d the

 5 cocaine , or her drug s, to -- excuse           me , traffic    to and

 6 from her house on Hayward , and that house she had move d

 7 the drug s to the school .

 8            Near the bottom of the page,         where she says ,

 9 just to be on the safe side , what little              ticket s I did

10 have , I took them to my business .

11            Then on Page 543 , Ms. Dobie tell s Ms. Martin             she

12 needs to meet her at the school , then , to do a drug

13 transaction , and they agree to meet .

14            In the next call , Ms. Martin 's just tell ing Ms.

15 Dobie that she 's on her way to school , and Ms. Dobie

16 says she'll      meet her there .

17 Q.         If we could go , first of all , to our board and

18 add Page 542 next to the word "ticket s" as a place

19 where that word is use d.

20 A.         (Witness    indicati ng .)

21 Q.         In reference     to Page 542 , Ms. Martin       de scribe s

22 how people      were say ing that people       come up and pull in

23 and park and park on the wrong side of the street                 and

24 run in and out .

25            Based upon your train ing and experience            and




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 1 re view of the pole camera s, was that activity              occurring

 2 at her residence ?

 3 A.         Yes , it would be on occasion .

 4 Q.         Have we seen exhibit s of -- example s of that in

 5 the pole camera        tape s that we play ed ?

 6 A.         Yes .

 7 Q.         Based upon your train ing and experience , is that

 8 activity     significant     to you as a narcotic s

 9 investigator ?

10 A.         That frequent     traffic     in and out of a residence

11 where people        stay for short periods      of time s is

12 perfect ly consistent        and indicative     of drug

13 trafficking .

14 Q.         If we could go to next call , A17 15 .

15            MR. WARD:     I'm sorry , what page ?

16            MS. JOHNSTON:       On Page 546 .

17            BY MS. JOHNSTON:

18 Q.         What date and time does this call take place ?

19 A.         On May 18 , at 10 :44 in the morn ing .

20 Q.         Who are the parti es to this call ?

21 A.         Again , Paulette     Martin    and Lavon "Becky"     Dobie .

22 Q.         If we could play this call , please .

23            (Audio    record ing begin s play ing at 10 :12 a.m. )

24            (Audio recording      stop s playing    at 10 :14 a.m.)

25            BY MS. JOHNSTON:




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1 Q.        In this call , what are Ms. Dobie and Ms. Martin

2 discuss ing ?

3 A.        They're   talk ing about try ing to get in to visit

4 Gwen Levi at the detention         center   and find out whether

5 her case is a new -- part of a new investigation               or

6 related    to her old warrant .

7 Q.        In reference    -- is this related       to the earlier

8 jail call that we had heard yesterday            on or about Page

9 48 7; is that correct ?

10 A.       Yes .   The Ms. Price she 's talk ing about is the

11 person   she know s who would get her into visitation              at

12 Seven Lock s.

13 Q.       If we look back at Call B6245 on Page 48 7 on the

14 top of Page 489 , was there an aside made to Ms. Martin

15 while Ms. Dobie was on the phone with the woman at the

16 detention    center ?

17 A.       Yes .

18 Q.       Where is that on page 489 ?

19 A.       At the very top of 489 , Ms. Dobie says in the

20 background     to Ms. Martin , no , I don't need to change .

21 Put it all on my bill .

22 Q.       Have you re view ed document s re covered        from Ms.

23 Martin 's residence ?

24 A.       Yes .

25 Q.       Show ing you what 's been mark ed as Government 's




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 1 Exhibit   Ha yward 7.

 2           MR. WARD:     I'm sorry , Government 's Exhibit ?

 3           MS. JOHNSTON:     Hay ward 7, Mr. Ward .

 4           BY MS. JOHNSTON:

 5 Q.        Are there page s in that book that reference           Ms.

 6 Dobie ?

 7 A.        Yes .

 8 Q.        If I could , let me put it up on the screen           so

 9 you can explain       to the ladies and gentlemen of the jury

10 what we're look ing at .

11           If you could explain        it .

12 A.        The right page is the initial s PD for "Becky"

13 Dobie .   And you will see a run ning total of amount s

14 owe d by "Becky"      to Paulette .     A lot of the transactions

15 will have date notation s, and where the amount s are

16 add ed to the total are drug s that she received , and

17 where payment     amount s are subtract ed from the total are

18 payment s she 's made .

19 Q.        And in look ing at some of the figure s there , 125

20 appear s on numerous      occasion s.        What does 125 refer to

21 based upon your train ing and experience ?

22 A.        The 125 refer s to an eighth          ounce of cocaine ,

23 and I think we've seen that price reference d in other

24 call s we've listened      to .

25 Q.        Then , like wise , there 's a 500 at the top .        Based




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1 on your train ing and experience , is that a figure               of

2 significance        to you ?

3 A.         That would be for a ha lf ounce of cocaine .

4 Q.         Are there other page s, for example , on this page

5 example     is there a distinction       made in term s of whether

6 Ms. Martin        was paid or not paid or given credit          and

7 whether     there were any item s of clothi ng purchase d

8 separate     from the drug transactions ?

9 A.         Yeah .     There 's little   note s that Ms. Martin        put s

10 on there , didn't       pay , and then there 's a notation , I

11 think near the bottom         that 's the didn't   pay .     And then

12 there 's a notation , I think near the bottom              on that

13 page , that reference s the amount         being add ed to the

14 bill is for clothe s.

15 Q.        For example , what is this ?       Oh , you can't see

16 what I'm point ing to right here .          What is --

17 A.        Suit .

18 Q.        And again , up here at the top ?

19 A.        Suit .

20 Q.        Based on your train ing and experience            and your

21 knowledge    of this investigation , do those notation s

22 with the word "suit ," in your opinion , refer to drug s?

23 A.        No .     Those refer to clothe s, and I think when

24 you look at Ms. Ali 's total s, she even keep s a separate

25 run ning tab for drug s and clothe s in two separate




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 1 column s.        I think Ms. Ali's is in the first red tab on

 2 the next page , I believe .         On the left side .      Yeah ,

 3 right there .

 4 Q.        What are we look ing at here ?

 5 A.        On the left side of the page is a run ning tally

 6 for clothe s, and on the right side of the page is a

 7 run ning tally for drug s.

 8 Q.        You can tell that based upon the figure s?

 9 A.        Yeah .     If you look at the last two number s on

10 the left side , the 14 33, and at the very bottom , the --

11 I think the last total on the drug s is 225 .              I can't

12 see .    27 5?

13           If you move forward       to the last red tab in the

14 book , you will see those total s carri ed forward , the

15 14 33 and 27 5, and under the 27 5, she even list s

16 "ticket s," referring       to drug s.

17 Q.        Above it ?

18 A.        Above it for Ms. Ali .

19 Q.        So they're     separate   calculations    for Ms. Ali ?

20 A.        That 's correct .

21 Q.        If we could go back to the next call , Call

22 B7022 , on Page 548 , and who are the parti es to this

23 call ?

24 A.        Paulette     Martin   an d Learley   Goodwin .

25 Q.        On what date and time does this take place ?




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 1 A.         May 18 , 2004 , at 12 :54 in the afternoon .

 2 Q.         If we could play this call , please .

 3            (Audio   record ing begin s play ing at 10 :19 a.m. )

 4            (Audio recording     stop s playing   at 10 :23 a.m.)

 5            BY MS. JOHNSTON:

 6 Q.         In this call , what are Ms. Martin         and Mr.

 7 Goodwin    discuss ing ?

 8 A.         The primary     focus of the conversation      deal s with

 9 the May 15 purchase        of cocaine   from Cuba .    He goes --

10 and the fact that they're         short money , that Mr. Cuba 's

11 claim ing that they short ed him money .         At the bottom         of

12 the page , 548 , Mr. Goodwin       says , after I pick ed up the

13 ticket    the other day , mean ing after he got the cocaine

14 from Cuba , top of Page 549 , says Knuckle head call ed me

15 back , meaning      Cuba call ed him back , and tell s me it was

16 too short , mean ing it was either        $200 or $2,000     short

17 on the amount .

18            And then they go on , "they " being Mr. Goodwin

19 and Ms. Martin , go on to discuss         her count of the money

20 and her recollection        of what she 'd given to Goodwin ,

21 Mr. Goodwin , to give to Cuba .         Near the bottom     of Page

22 549 , Mr. Goodwin      start s talk ing about how hope fully he

23 won't have to deal with this anymore , and that say ing I

24 think this might be the last week we have to be

25 bothered    with this anyway , mean ing that his supply           in




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 1 Texas , the problem       down there may be solving         itself .

 2            They go on to say in the middle            of Page 550

 3 anyway , I think we might -- this is Mr. Goodwin                  --

 4 everything     might start to break real soon .            I'm work ing

 5 on that .     Again , referring       to the situation     with the

 6 bad cocaine     being swap ped in Texas , and they agree --

 7 Ms. Martin     also dur ing the call offer s to split half ,

 8 and the next sentence , "I'll split half of it with

 9 you ," meaning       the shortage     of the money she will take

10 half , he will take half .           That way Mr. Goodwin        does n't

11 get stuck with the full amount            of the shortage .

12 Q.         Then on Page 551 , does Ms. Mar tin again

13 reference     her neighborhood        problem s?

14 A.         Yeah .    This goes into the middle         of Page 551 .

15 She 's relating       again to Mr. Goodwin         the problem s at the

16 meeting     with the Takoma     Park Police Department           and the

17 neighbor s complain ing about traffic              comi ng to and from

18 the house , and that there 's a problem              with the

19 neighborhood .

20 Q.         Now , in that portion       of the call on 551 , Ms.

21 Martin    indicate s that the ticket s, that there hadn't

22 been any traffic        comi ng in there because        the ticket s

23 for Harvey's        show , because    she "ain't had none ." Is

24 that consistent        with your interpretation         of the

25 previous     call where she told Ms. Dobie that the small




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 1 ticket s she had she had to move to the school ?

 2 A.        Yeah .    Everything   was move d to the school        to

 3 stop the drug traffic       to and from the house .

 4 Q.        And if you could mark on our board Page 548                  and

 5 Page 551 next to the word "ticket s".

 6 A.        (Witness    indicati ng .)

 7 Q.        Again , look ing at both the call with Ms. Dobie

 8 where she says she just had some small ticket s she

 9 move d to the school , in this call where Mr. Goodwin

10 says , after I pick ed up the ticket         the other day , what

11 is the difference       in term s of the ticket       that 's being

12 discuss ed in the call s between         Ms. Martin    and Mr.

13 Goodwin    and Ms. Martin    and say Ms. Dobie or Ms. Ali ?

14 A.        It 's different    amount s, and depend ing on who

15 you're    talk ing -- who you're       talk ing to   in the

16 conversation       and the context     of the conversation , the

17 ticket    could mean a kilogram        or it could mean , you

18 know , an eight ball or an eighth          of an ounce , but it 's

19 the context    of the conversation        and who you're      talk ing

20 to .   You know the word "ticket " is a generic           word that

21 she 's using for drug s.

22 Q.        You have given an opinion        in reference       to the

23 call s with Mr. Goodwin      and Ms. Martin      that ticket

24 refer s to kilogram s.      What is that based upon ?

25 A.        In this particular      case , it refer s to the




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 1 kilogram     he pick ed up from Cuba on May 15 .

 2 Q.         And the ticket s.       When she 's speak ing with Ms.

 3 Dobie in the previous           call where she said she had only

 4 a few small ticket s left , refer red to what ?

 5 A.         That 's just drug s -- she 's say ing she            move d --

 6 whatever     amount    of drug s she had , she move d them to the

 7 studio .

 8 Q.         Based upon your train ing and experience , is that

 9 interpretation        based upon the role s of the        respect ive

10 parti es --

11 A.         Sure .   The part ies have to know what they're

12 talk ing about , and I think as we saw yesterday , if

13 they're    talk ing about something        different     than what

14 they're    normally     talk ing about , there can be confusion

15 even among the parti es as to what they're               talk ing about

16 because    the code words get a little            confusing .      So it

17 can is sometimes        be difficult    for the participant s to

18 know exact ly what the other person           is saying .

19 Q.         If we could go to the next call , B -- Court 's

20 indulgence .

21            If we could move ahead -- strike            that .

22            Let 's go to next call , B7029 , on Page 553 and

23 554 .   Who are the parti es to this call ?

24 A.         Paulette    Martin    and George   Harris .

25 Q.         Again , who is George       Harris ?




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 1 A.         One of Ms. Martin 's drug customer s.

 2 Q.         What date an d time does this call take place ?

 3 A.         May 18 at 1:30 in the afternoon .

 4 Q.         If we could play it , please .

 5            (Audio record ing begin s playing       at 10 :29 a. m.)

 6            (Audio recording     stop s playing    at 10 :30 a.m.)

 7            BY MS. JOHNSTON:

 8 Q.         Based on your train ing and experience , is Ms.

 9 Martin     providing   the same information      to Mr. Harris ?

10 A.         Yes , she is    just relating     the story again that

11 the story she 's told her other cus tomers           about the

12 neighborhood       meet ing and she 's move d everything     to the

13 school .

14 Q.         If we could go to call B7104 on Page 555 .             Is

15 that call related         to two other call s involving     Ms.

16 Dobie and Ms. Martin ?

17 A.         Yes .

18 Q.         What are those other call s?

19 A.         7104 , 7167 , and A17 31 .

20 Q.         On what date an d time period        do they take place ?

21 A.         The first one was on May 18 at 9:24 p.m ., and

22 the last one was on the next morn ing , May 19 , at 10 :51

23 a.m.

24 Q.         If we could play those three call s, beginning

25 with B7104 beginning         on Page 555 .




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 1          (Audio record ing be gins play ing at 10 :31 a.m. )

 2          (Audio recording      stop s playing    at 10 :31 a.m. )

 3          BY MS. JOHNSTON:

 4 Q.       Proceed ing to    Call B7167 on Page 558 .        What time

 5 is this call ?

 6 A.       This is the next morn ing , at 7:04 in the morn ing

 7 on May 19 .

 8 Q.       If we could play it , please .

 9          (Audio    record ing begin s playing     at 10 :32 a.m. )

10          (Audio recording      stop s playing    at 10 :34 a.m. )

11          BY MS. JOHNSTON:

12 Q.       Then the next call , A1731 on        Page 560.     What

13 time does this take place on May 19 ?

14 A.       That 's late r the same morn ing at 10 :51 in the

15 morning .

16 Q.       If we could play it , please .

17          (Au dio record ing begin s playing       at 10 :34 a.m. )

18          (Audio recording      stop s playing    at 10 :36 a.m.)

19          BY MS. JOHNSTON:

20 Q.       Based upon your train ing and experience , what

21 were Ms. Martin      an d Ms. Dobie discussing      in that series

22 of call s?

23 A.       They had made arrangements        in the call s the

24 night before      on the 18th , and the next morn ing, to          meet

25 at Ms. Martin 's school      down in D. C. to sell a quantity




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 1 of cocaine     to Ms. Dobie who was going to give it to her

 2 son , Ta'Vaughn .

 3 Q.        If you could , in term s of B7104 , identify         what

 4 portion     of that call is significant       in reach ing your

 5 opinion .

 6 A.        I guess about the fifth       line up from the bottom

 7 on Page 555 , Ms. Dobie says you will be able to meet me

 8 at the school , and Ms. Martin        re pli es , can we do it

 9 early in the morn ing , and th ey decide        to meet early in

10 the morn ing .    Dobie is suppose d to call her early .

11 Q.        Then on Page 558 ?

12 A.        About the middle     of the page , Ms. Dobie 's say ing

13 Ta'Vaughn    -- that 's her son -- came and asked me what

14 time she was going to take care of that , Mom , please

15 don't lay down and go to sleep and forget.              She says ,

16 I'm not going to go sleep , I'm going to call .             And Ms.

17 Martin    says , you need the ticket s like you got

18 yesterday ; identifying      the amount    of cocaine .     Ms.

19 Dobie identifi es it as like the one you gave me for my

20 birthday .     They go on to agree to meet later on .

21 Q.        When Ms. Dobie reference s, "like one of them you

22 gave me for my birthday ," referring          to the previous

23 day , Ms. Martin    says , "I only have that kind ," what is

24 she tell ing Ms. Dobie ?

25 A.        She either   has only that kind , either        crack or




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 1 powder .     She does n't have both .        Th ey don't identify

 2 which one in particular         it is .

 3 Q.         If you could write Page 558 next to the word

 4 "ticket s" on our chart .

 5 A.         (Witness    indicati ng .)

 6 Q.         Then the last call is just a discussion              of their

 7 try ing to meet ; is that correct ?

 8 A.         Yeah .    There 's a discussion     of Ms. Martin      comi ng

 9 by where Ms. Dobie 's at to see the baby , and Ms. Dobie

10 would then follow        her to the school .

11 Q.         If we could go to the next call on Page 563 ,

12 call B7224 .        Do you have that call in front of you ?

13 A.         Yes .

14 Q.         What date an d time does that call take place ?

15 A.         This was the same day , May 19 , at 9:20 at night .

16 Q.         Who are the parti es to the call ?

17 A.         Paulette    Martin   and LaNora    Ali .

18 Q.         If we could play that call , please .

19            (A udio record ing begin s playing          at 10 :39 a.m. )

20            (Audio recording      stop s playing       at 10 :39 a.m. )

21            BY MS. JOHNSTON:

22 Q.         What are Ms. Martin      an d Ms. Ali discuss ing in

23 that call ?

24 A.         They're    talk ing about Ms. Ali 's asking         whether

25 there was any additional         information      on the neighbor s




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 1 complain ing .   Specifically , on the fourth         line down ,

 2 Ms. Ali says , You haven't       heard anything      else about the

 3 lady next door or anything ; and Ms. Martin            re pli es , no ,

 4 and she does n't want to bring it up with Jackie             Terrell

 5 to cause additional      suspicion.

 6          At the bottom     of the page , she says , I don't

 7 even want to stress      that issue with      girlfriend

 8 upstairs , refer ring to     Ms. Terrell , and the next page ,

 9 564 , that that might cause suspicion           if she brought

10 that up .

11 Q.       If we could turn to the next call , B 725 8 on

12 Page 565 .    What's the date and time of this call ?

13 A.       This is on 5/2 -- May 20 , 2004 , at 1: 05 p.m.

14 Q.       Who are the parties to        this call ?

15 A.       Paulette   Martin   and Learley     Goodwin .

16 Q.       Does this call relate        back to call B7022 of Page

17 548 that we play ed earlier       this morn ing ?

18 A.       Yes , it does .

19 Q.       In what respect ?

20 A.       This is the -- relating        back to the shortage        of

21 the money paid to Cuba for the last kilogram             they got .

22 Q.       If we could please      play B7258 on Page 565 .

23          (Audio recording      begin s playing    at 10 :41 a.m. )

24          (Audio recording      stop s playing    at 10 :41 a.m. )

25          BY MS. JOHNSTON:




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 1 Q.        Based on your train ing and experience , what are

 2 Mr. Goodwin    and Ms. Martin     discus sing in this call ?

 3 A.        They're    talk ing about the money that was paid to

 4 Cuba on May 15 for the kilogram         they received , and I

 5 think in the previous       call they didn't       identify   the

 6 amount    of the two , whether    it 's $200 or $2,000 .        In

 7 this call they identifi ed it as $2,000 .

 8           Ms. Martin    says , I don't feel comfortable         about

 9 the other guy talk ing about two big dollar s, meaning

10 thousand dollars,       as opposed   to $200 .     Then she goes on

11 to talk about how the money was band ed together              and

12 there might have been a mis take in the count ing by Mr.

13 Cuba where she had a small er de nomination           on top and

14 larger    de nomination s on the bottom .

15           At the bottom    of the page , Mr. Goodwin

16 reiterate s that he 's hopi ng to have the Texas situation

17 straight ened out so that as soon as I work out the

18 transportation , mean ing I don't have           to be bothered

19 with this anyway , talk ing about transport ing the

20 cocaine    back from the source      in Texas .

21           At the    top of Page 566 , Ms. Martin 's just ,

22 again , talk ing about the money being count ed and how

23 she had count ed it three time s.

24 Q.        Was there another     call between      Mr. Goodwin    and

25 Ms. Mar tin later on May 20 ?




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 1 A.        Yes .

 2 Q.        What time was that call ?

 3 A.        It was at 1:10 p.m. on the 20 th .

 4 Q.        Okay .   Call ing your attention      to B7259 on Page

 5 567 .    Can we play that call , please ?

 6           (Audio record ing begin s playing       at 10 :43 a.m. )

 7           (Audio recording     stop s playing    at 10 :43 a.m. )

 8           BY MS. JOHNSTON:

 9 Q.        What is Ms. Martin     discuss ing with Mr. Goodwin ?

10 A.        It 's the same thing she told him in a previous

11 call .    I guess she just for got about it , but it 's the

12 same thing about the neighbor s call ing an d talking

13 about the traffic      and about how she 's moved everything

14 to the studio .     It's just more of the same thing that

15 she 's told Mr. Goodwin      again .

16 Q.        If we could go to the next call on B726 4 on Page

17 569 .    Who are the parti es to this telephone

18 conversation ?

19 A.        This is Paulette     Martin   and King Lanor .

20 Q.        Did you determine     who King Lanor is ?

21 A.        He 's a car sale sman .

22 Q.        If we could play this call , please .

23           (Audio record ing begin s playing       at 10 :45 a.m. )

24           (Audio recording     stop s playing    at 10 :46 a.m.)

25           BY MS. JOHNSTON:




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1 Q.         Based upon your train ing and experience , what's

2 the significance        of this telephone       call ?

3 A.         She 's talk ing about a new Mercedes          she 's

4 ordering .      In the middle      of Page 569 , there 's a mis take

5 in the transcript        where King Lanor says the color ,

6 because    I'm finally     gett ing ready to actual ly -- and

7 it 's not "bill the part s," it 's "build the car s" is

8 what he says .        She 's just ordering      -- confirming     the

9 order for the new Mercedes , fully -equipped , and she 's

10 going to pay for it in cash .

11 Q.        Based upon your train ing and ex perience , what's

12 the significance       of her pay ing for it in cash ?

13 A.        Drug deal er s frequent ly use their narcotic s

14 proceeds , which are cash , to buy such thing s as

15 automobile s.

16 Q.        Did you ever determine        what the approximate

17 price of that vehicle          was ?

18 A.        Yeah .    I'm sure we did .        Off the top of my head ,

19 I don't know       the exact number , no .

20 Q.        She indicated        the current    color of the car .       Are

21 you familiar       with that?

22 A.        Yes .    She said she want ed the same red that her

23 current   Mercedes     had .

24 Q.        That Mercedes        we've seen on the pole camera

25 videos and the       other surveillance       video s; is that




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 1 correct ?

 2 A.         Yes .

 3 Q.         If we could go to the next call , B7324 .

 4            On what date does this call take place , Page

 5 571 ?

 6 A.         It's the next day , May 21 , at 7:40 in the

 7 morning .

 8 Q.         Are there a series    of call s that take place on

 9 May 21 that are related        to call B7324 ?

10 A.         Yes .

11 Q.         What is that series    of call s?

12 A.         7324 , 7346 , 7360 , 7365 , 738 5, 7396 , 7406 and

13 A18 20 .

14 Q.         If you could give us the time frame of all of

15 those call s, what time do they start and when is the

16 last one ?

17 A.         The first one start s the morn ing of the        21st at

18 7:40 a.m.      And the last one take s place that same day

19 at 8: 03 p.m.

20 Q.         Okay .   If we could begin by look ing at the first

21 call , B7324 .      This interception   involve s who ?

22 A.         This is a message    Lavon Dobie leav es on Paulette

23 Martin 's home phone .

24 Q.         If we could play it , please .

25            (Audio   record ing begin s playing    at 10 :48 a.m. )




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 1            (Audio recording     stop s playing at      10 :49 a.m. )

 2            BY MS. JOHNSTON:

 3 Q.         Going to the next call , B7346 .        At what time

 4 does this call take place ?

 5 A.         Same morn ing -- same day at 12 :13 , just after

 6 noon .

 7 Q.         Who are the parties to       this conversation ?

 8 A.         Paulette   Martin   and Lavon Dobie .

 9 Q.         There is a reference       on the top of the

10 transcript     page to an Anthony      LNU , "L ast Name Un known ."

11            is he in the transcribe d portion          of the call

12 that we are going to hear ?

13 A.         No , he is not .

14 Q.         If we could please     play 7346 on Page 572 .

15            (Audio   record ing begin s playing     at 10 :49 a.m. )

16            (Audio recording     stop s playing   at 10 :50 a.m. )

17            BY MS. JOHNSTON:

18 Q.         Going to the next call , B7360 on Page 574.

19            What time does this call take place          ?

20 A.         2:32 that afternoon    .

21 Q.         Who are the parties to       this call ?

22 A.         Paulette   Martin , Lavon "Becky"     Dobie , and

23 Eleanore    LNU .

24 Q.         If we could play the call , please .

25            (Audio   record ing begin s playing at       10 :51 a.m. )




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 1          (Audio recording      stop s playing     at 10 :53 a.m.)

 2          BY MS. JOHNSTON:

 3 Q.       The next call , B7385 ?

 4 A.       That 's 2:47 in the afternoon , same day .

 5 Q.       On Page 577 ?

 6 A.       Yes .

 7 Q.       Same parti es , Ms. Ali and Ms. -- strike             that .

 8 This is Ms. Ali and Ms. Martin ; is that correct ?

 9 A.       That 's correct .

10 Q.       If we could play this call , please , on Page 577 .

11          THE COURT:      Page 65 or 85?

12          MS. JOHNSTON :      7365 , on Page 577 .

13          (Audio   record ing begin s playing       at 10 :53 a.m. )

14          (Audio recording      stop s playing     at 10 :54 a.m. )

15          BY MS. JOHNSTON:

16 Q.       Going to the next call , B7385 , on Page 578 .

17          What time does this call take place ?

18 A.       4:06 in the afternoon       same day .

19 Q.       Who are the parti es ?

20 A.       Paulette   Martin    and Lavon "Becky"      Dobie .

21 Q.       If we could play this call , please .

22          (Audio record ing begin s playing         at 10 :54 a.m. )

23          (Audio recording      stop s playing     at 10 :55 a.m. )

24          BY MS. JOHNSTON:

25 Q.       The next call , B7396 , on Page 579 .         What time




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 1 does this call take place ?

 2 A.       5:30 p.m ., same day .

 3 Q.       If we could play this call , please .

 4          (Audio   record ing begin s playing      at 10 :55 a.m.)

 5          (Audio recording      stop s playing    at 10 :56 a.m.)

 6          BY MS. JOHNSTON:

 7 Q.       The next call , B7406 , on Page 581 .         What 's the

 8 time of this call in relation         to the previous     call ?

 9 A.       It 's about six minute s late r.

10 Q.       The same parti es , Ms. Mart in and Ms. Dobie ?

11 A.       Yes , that 's correct .

12 Q.       If we could play the call , please .

13          (Audio   record ing begin s playing      at 10 :56 a.m. )

14          (Audio recording      stop s playing    at 10 :56 a.m. )

15          BY MS. JOHNSTON:

16 Q.       And the next call , A18 20 , on Page 582 .         What

17 time does this call take place ?

18 A.       This is the same day at 8:03 p.m.

19 Q.       So it would be a couple        of hour s later ; is that

20 correct ?

21 A.       That 's correct .

22 Q.       Who are the parties to       this call ?

23 A.       Paulette   Martin   and John Martin .

24 Q.       If we could play the call , please .

25          (Audio   record ing begin s playing      at 10 :57 a.m. )




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 1            (Audio recording     stop s playing     at 10 :58 a.m. )

 2            BY MS. JOHNSTON:

 3 Q.         Based upon your train ing and experience             in that

 4 series     of call , did you form an opinion         as to what --

 5 why Ms. Dobie and Ms. Martin             were meet ing at the

 6 schoo l?

 7 A.         Yes .

 8 Q.         What is that ?

 9 A.         Ms. Dobie was buy ing an amount         of cocaine     from

10 Ms. Martin , and the series           of call s goes on all day

11 long until they finally         get down there later that

12 evening .

13 Q.         Had you , yourself , participate d in surveillance s

14 at the school      on occasion ?

15 A.         I believe    so , yes .

16 Q.         You re view ed document s re covered      from the

17 school ; is that correct ?

18 A.         Yes .

19 Q.         Based upon your train ing and experience , was the

20 school     an active    dance studio      at the time of these

21 call s?

22            MR. MONTEMARANO :         Objection , Your Honor .

23            MR. HALL:     Objection , Your Honor .

24            THE COURT:     Can you re state the question ?

25            MS. JOHNSTON:      Based upon your re view of the




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 1 document s seize d and the surveillance s that were

 2 conduct ed at the school , did you form an opinion            as to

 3 whether    or not it was a functional        dance studio    at the

 4 time ?

 5            MR. HALL:     Objection .

 6            MR. MONTEMARANO :    Objection .

 7            May we be heard at the bench ?

 8            MS. JOHNSTON:     I will withdraw     the question ,

 9 Your Honor , to save time and move on .

10            THE COURT:     All right .

11            BY MS. JOHNSTON:

12 Q.         Call ing your attention      to the next series     of

13 call s, B7429 , start ing on Page 584 .        Who are the

14 parti es to this telephone       call ?

15 A.         Paulette    Mart in and Learley    Goodwin .

16 Q.         On what date does this call take place ?

17 A.         This was on the same date , the 21st , at 8:41

18 p.m.

19 Q.         The call that we jus t heard where Ms. Martin

20 said she was down at the school           with "Becky"    was at

21 what time ?

22 A.         I think the last call was a little         after 8:03

23 p.m.

24 Q.         Who are the parties to       this call at 8:41 p.m. on

25 May 21 ?




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 1 A.        Paulette    Martin    and Learley   Goodwin .

 2 Q.        If we could play the call , please .

 3           (Audio record ing begin s playing        at 11 :00 a.m. )

 4           (Audio recording       stop s playing   at 11 :01 a.m. )

 5           BY MS. JOHNSTON:

 6 Q.        In this call , where was Ms. Martin         by the

 7 time --

 8 A.        This is the B line , so she was at home on

 9 Hayward .

10 Q.        And the "Cuba " they're      referring    to .   Is that

11 the same Cuba we've discuss ed throughout            these call s?

12 A.        Yes .    It's the source    of cocaine    for them .

13 Q.        If we could go to the next call , A18 25 , on May

14 -- also on May 21st .          What time is this call ?

15 A.        10 :06 p.m . t he dame same day .

16 Q.        Is this now on her cell ular phone ?

17 A.        Yes , it is .

18 Q.        If we could please       play A18 25 , on Page 585.

19           (Audio    record ing begin s playing     at 11 :01 a.m. )

20           (Audio recording       stop s playing   at 11 :02 a.m. )

21           BY MS. JOHNSTON:

22 Q.        Based upon your train ing and experience , what

23 are Ms. Martin       and Mr. Martin    discuss ing in this call ?

24 A.        Ms. Martin      is tell ing Mr. Martin    that she 's at

25 the school    meet ing with Learley      Goodwin   to discuss




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 1 something , that Larry Lane had pick ed her up at home

 2 and taken her to school        because   Mr. Goodwin    want ed to

 3 talk to her .

 4           Then on the top of Page 586 , Mr. Martin is

 5 tell ing Ms. Martin      to bring an amount      of drug s, say ing ,

 6 okay .    Well , bring me two T-shirt s when you come ,

 7 referring     to an amount    of drugs for her to bring from

 8 the school     to him at the residence      on Hayward .

 9 Q.        Was that a code that we had heard before           in

10 call s between    Ms. Martin    and Mr. Martin ?

11 A.        Yes .

12 Q.        If you would    write Page 586 next to T-shirt

13 which I believe      is right there on the front page .

14 A.        (Witness   indicati ng .)

15 Q.        And the " Larry " referred     to in that call was

16 Larry who ?

17 A.        Larry Lane .

18 Q.        If we could turn to the next call , B7676 .

19 What's    the date and time     of this call ?

20 A.        It 's on May 25 at 7 o'clock       in the morn ing .

21 Q.        Who are the parti es to this call ?

22 A.        Paulette   Martin , John Martin , and Lavon "Becky"

23 Dobie .

24 Q.        If we could play this call , please .

25           (Audio record ing begin s playing       at 11 :04 a.m. )




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 1            (Audio recording s    top s playing at       11 :06 a.m.)

 2            BY MS. JOHNSTON:

 3 Q.         What are Ms. Martin     and Ms. Dobie discussing              in

 4 this call ?

 5 A.         They're   talk ing about a couple         of thing s.    First

 6 off , they're    -- on P age 587 they're        talk ing about the

 7 transfer     of Gwen Levi from Seven Locks jail to the

 8 Clark sburg Boyd 's facility , which is          the same jail , and

 9 that she had been transferred             up there , and had gone on

10 to discuss     on page 588 whether         anybody   had been to

11 visit her or not .

12            Near the bottom     of Page 588 , they're       talk ing

13 about arrest     of Claude     Arnold .

14 Q.         What is his nickname      again ?

15 A.         Smack .   "Becky"   Dobie goes , Smack 's out .         Ms.

16 Martin    says , no .   And then they're       talk ing about him

17 going in front of a parole         board , which Ms . Dobie says

18 he definite ly -- he will definite ly go in front of the

19 ratification     board , refer ring to       the parole    board , and

20 they're    talk ing about whether         that would be today .          Ms.

21 Martin    had talk ed to his girlfriend , Apple , who is

22 Mar via Apple White .

23 Q.         Page 589 .   Is there a different          topic discuss ed

24 on this page ?

25 A.         Ms. Dobie tell s Ms. Martin         that she needs to




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 1 meet her at the school , meet ing at Paula 's studio              down

 2 in D. C. -- W ashington , D. C.

 3 Q.         For what purpose     does she tell her she needs to

 4 meet her ?

 5 A.         She do esn't identify    the purpose , but that 's the

 6 location     where the drug s were moved      to at that point .

 7 Q.         If we could turn to the next call , A18 87 , on

 8 Page 590 .

 9            What's   the date of this call ?

10 A.         May 25 , 2004 , at 1:19 in the afternoon .

11 Q.         Is this related     to two other call s?

12 A.         Yes .

13 Q.         What are the two call s this is related         to ?

14 A.         B7709 and 18 95 .

15 Q.         Who are the parti es to these call s?

16 A.         Paulette   Martin   and Larry Nunn .

17 Q.         And the time frame of the three call s?

18 A.         The first one 's on the 25th at 12 :19 , and the

19 last one , a little      over an hour later , at 1:24 p.m.

20 Q.         If we could play these call s, begi nn ing with

21 A18 87 on Page 590 .

22            (Audio   record ing begin s playing     at 11 :08 a.m. )

23            (Audio recording     stop s playing    at 11 :09 a.m.)

24            BY MS. JOHNSTON:

25 Q.         Going to the next Call B7709 on Page 592 ,




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 1 approximately       how soon after the precedi ng call does

 2 this one take place ?

 3 A.         About 20 minute s -- 22 minute s after the first

 4 call .

 5 Q.         If we could play B7709 on Page 592 .

 6            (Audio   record ing begin s playing      at 11 :10 a.m. )

 7            (Audio recording     stop s playing     at 11 :10 a.m. )

 8            BY MS. JOHNSTON:

 9 Q.         And then the next call , A18 95 .        What time does

10 this call take place ?

11 A.         At 1:24 p.m . on the s ame day .

12 Q.         If we could please      play A18 95 .

13            (Audio   record ing begin s playing      at 11 :10 a.m. )

14            (Audio recording     stop s playing     at 11 :10 a.m. )

15            BY MS. JOHNSTON:

16 Q.         Based on that series       of three call s, did you

17 form an opinion       as to what Ms. Martin        an d Mr. Nunn were

18 do ing ?

19 A.         Yes .

20 Q.         What is that ?

21 A.         She 's sell ing an amount      of heroin   that she

22 received     from William     Turn er .   The call s we had heard

23 about yesterday ?       She 's sell ing an amount      of that

24 heroin     to Larry Nunn .

25 Q.         If we could turn to Page 590 .          Are there any




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1 particular    reference s that support       that conclusion ?

2 A.        Yeah .    It 's about the fourth    line down .     Mr.

3 Nunn asks , Do you still have any of them ticket s left ?

4 He's referring       to the 60 grams of heroin      she receive d

5 from William       Nunn in the call s we heard about

6 yesterday .    Ms. Martin    re pli es , I might have about 30

7 or 40 of them because       I've been sell ing them

8 individual , mean ing she might have 30 or 40 grams of

9 the heroin    left ; and say ing that they've       been try ing to

10 raise money to get her a lawyer , say ing that she 's been

11 using the pro ceeds to pay for the legal fee s.

12 Q.       Refer ring to   whom ?

13 A.       Gwen Levi .

14 Q.       I'm not sure if you mis spoke earlier .           From whom

15 did you get the heroin ?

16 A.       This is the heroin       that she got from William

17 Turner   in the call s we heard about yesterday , the 60

18 grams she identifi ed , and that 's what they're

19 referenci ng that she only has 30 or 40 grams left .

20 Q.       When she says she's " sell ing them individual ,"

21 what does she mean ?

22 A.       One at a time .

23 Q.       One gram at a time ?

24 A.       Yeah .

25 Q.       If you could , write Page 590 up on our board




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 1 next to the word "ticket s".

 2 A.         (Witness    indicati ng .)

 3 Q.         Call ing your attention      to B7709 .   Is there

 4 further     language    in that call that support s your

 5 opinion ?

 6 A.         On t he fourth line down , Ms. Martin         says , Are

 7 you home yet ?        Have you collect ed the money for the

 8 ticket s?     Mean ing , do you have the money for the drug s.

 9 Q.         Could you write Page 592 next to the            word

10 "ticket s" on our list ?

11 A.         (Witness    indicati ng .)

12 Q.         In the final call , there 's a reference          to Fifth

13 and Kennedy        Street .   Do you know where that was in

14 relation     to where Mr. Nunn was re sidi ng ?

15 A.         No , I do not .      From the call , she 's identify ing

16 where she's at and tell ing him to come on outside .                 So ,

17 it would indicate        it 's close to his residence .

18 Q.         If we could , we'll go ahead and skip Call B7747 .

19 You've     listened    to that call ; is that correct ?

20 A.         Yes .

21 Q.         Who was leavi ng the message       for whom ?

22 A.         Paulette    Martin    is leavi ng a message     for George

23 Harris .

24 Q.         On what date and what hour was that message

25 left ?




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 1 A.       May 25 at 6:44 p.m.

 2 Q.       Now , going to the next morn ing and call , B7782 ,

 3 on Page 595 .     What time is that call ?

 4 A.       This is the next morn ing at 6:23 a.m.

 5 Q.       Who are the parti es to this call ?

 6 A.       George Harris     and Paulette    Mart in.

 7 Q.       If we could play that call , please .

 8          (Audio   record ing start s playing      at 11 :14 a.m. )

 9          (Audio recording      stop s playing    at 11 :14 a.m. )

10          BY MS. JOHNSTON:

11 Q.       Based upon your train ing and experience , what is

12 Mr. Harris    tell ing Ms. Martin     in this call ?

13 A.       He 's ordering    a quantity    of cocaine , either     an

14 eighth   of a kilo or an eighth       of an ounce , from her and

15 he's referring      to it as two size 8 dresses .

16 Q.       Could you write Page 595 next to "dress es " on

17 our chart , please ?

18 A.       (Witness    indicati ng .)

19 Q.       Call ing your attention      to the next call , B7804 .

20 What date and time does this call take place ?

21 A.       This is May 26 at 10 :23 a.m.

22 Q.       Who are the parti es to this call ?

23 A.       Paulette    Martin   and Mil burn Bruce Walk er .

24 Q.       If we could please      play B7804 on Page 596 .

25          (Audio   record ing start s playing      at 11 :15 a.m. )




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 1           (Audio recording      stop s playing   at 11 :16 a.m.)

 2           BY MS. JOHNSTON:

 3 Q.        And then is there a followup        call to that , B7810

 4 at Page 598 ?

 5 A.        Yes .

 6 Q.        If we could go back to B7804 .         Based upon your

 7 train ing and experience , what is Mr. Walker           discuss ing

 8 with Ms. Martin ?

 9 A.        He 's try ing to    order a quantity    of crack cocaine

10 from her .

11 Q.        Continue .

12 A.        At the bo ttom of Page 596 , he says , You don't

13 have a shirt , huh ?       And Ms. Martin   says , what size

14 shirt ?   An d then Mr. Walker      says , eight of them .      Then

15 she says , let me see .       Then he identifi es it as crack

16 instead   of powder      by saying , "with the finish ed ."      In

17 other words , with the cook ed .        Ms. Martin   says she will

18 check and call him right back .

19 Q.        If you could write Page 596 and 597 next to the

20 word "shirt " where it appear s on our chart .

21 A.        (Witness     indicati ng .)

22 Q.        You've   written    it next to the word T-shirt ?

23 A.        T-shirt .

24 Q.        Okay .   B ased upon your train ing and experience ,

25 how did you know that was n't a real shirt ?




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1 A.        The call s that Mr. Walker      and Ms. Martin

2 establish ed a pattern      that he was a customer       of her s,

3 and then even in this particular          call , ordering    a

4 finish ed shirt would make absolute ly no sense in , I

5 guess , the shirt business , but it make s perfect           sense

6 in the drug business .

7 Q.        Also , at the top of Page 597 , was there any

8 significance     to her question , what size shirt ?, and his

9 response , eight of them ?

10 A.       Eight of them was identifying        the quantity .      But

11 it 's also earlier    in the conversation      talk ing about

12 being at the school , which is where the -- she said she

13 would need to be able, and the only thing store d at the

14 school   was not a quantity     of shirt s, it was drug s.

15 Q.       Based upon these series       of call s, did you form

16 an opinion    as to where Ms. Martin      was conduct ing her

17 drug transactions     after May 16 of 2004 ?

18 A.       She conduct ed them -- the majority         of them at

19 the school , but she also -- there 's evidence          from this

20 call she did keep some small amount s on hand .            She 's at

21 home at the add ress of Hayward       at this time .     It's a B

22 line call and she 's check ing to see if she still has

23 enough   to fill his order .

24 Q.       Based upon your re view of the item s seize d from

25 her residence    at Hayward , were any drug s seiz ed from




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 1 that location ?

 2 A.       In relation    to what was seize d at the school ,

 3 there was a small er amount       seize d at the residence         on

 4 Hayward .

 5 Q.       If we could go to next call , B7815 , on Page 599 .

 6 What's   the date and time of this call ?

 7 A.       May 26 , 2004 , at 12 :19 p.m ., a little         after

 8 noon .

 9 Q.       Who are the parti es ?

10 A.       LaNora    Ali and Paulette     Martin .

11 Q.       If we could play the call , please .

12          (Audio    record ing begin s playing       at 11 :20 a.m.)

13          (Audio recording      stop s playing      at 11 :21 a.m. )

14          BY MS. JOHNSTON:

15 Q.       Based upon your train ing and experience , what

16 are Ms. Ali and Ms. Martin        discuss ing in the beginning

17 of this call ?

18 A.       In the very beginning , Ms. Ali start s asking

19 her , were you able to get , and then Ms. Martin             cut s her

20 off say ing , yeah , I have it , yeah , I have it , referring

21 to an amount      of cocaine   that she was going to sell to

22 Ms. Ali .

23 Q.       An d then there 's further      discussion     on Page 60 0

24 and 601 involving      Mr. Goodwin ; is that correct ?

25 A.       Yes .




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 1 Q.        What was Ms. Martin      advisi ng Ms. Ali in

 2 reference     to Mr. Goodwin ?

 3 A.        They're    talk ing about the dispute      that she 's

 4 involve d -- that Ms. Martin        and Mr. Goodwin     are

 5 involve d with with the financi ng of these show s and

 6 entertain ment attorney        that she 's hire d to -- that

 7 she 's paid to try to work on get ting her money back to

 8 put the show s on .

 9 Q.        Is that is the same money that you had testifi ed

10 several     day s ago that Mr. Goodwin       and Ms. Martin    had

11 in vested    in a concert ?

12 A.        That 's correct .

13 Q.        To your knowledge , was that concert         ever held ?

14 A.        No , it did not occur .

15 Q.        Now , if we could go to next call , B7876 .           Again ,

16 is this call one in a series            of call s that take s place

17 on May 26 ?

18 A.        Yes .

19 Q.        Who are the parti es to this call ?

20 A.        Paulette    Martin   and Lavon "Becky"     Dobie .

21 Q.        What are the other call s associate d with call

22 B7876 ?

23 A.        7888 , 7889, and     7891 .

24 Q.        If we could be gin by play ing -- strike that.

25           What time frame is covered         by these call s?




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 1 A.       The first call is on May 26 , 2004 , at 7:23 p.m .,

 2 and on the last one is on the same date at 8:49               p.m.

 3 Q.       If we could begin by play ing B7876 on Page 602 .

 4          (Audio   record ing begin s playing       at 11 :23 a.m. )

 5          (Audio recording      stop s playing     at 11 :24 a.m.)

 6 BY MS. JOHNSTON:

 7 Q.       Going to the next call , B7888 on Page 604 .            What

 8 time does this call take place ?

 9 A.       8:36 , about an hour after the first one .

10 Q.       If we could play it , please .

11          (Audio record ing begin s playing         at 11 :25 a.m. )

12          (Audio recording      stop s playing     at 11 :25 a.m.)

13          BY MS. JOHNSTON:

14 Q.       The next call , B7889 , on Page 606 .          If we could

15 play that call .

16          (Audio   record ing begin s playing       at 11 :26 a.m.)

17          (Audio recording s     top s playing     at 11 :26 a.m. )

18          BY MS. JOHNSTON:

19 Q.       And B7891 , on Page 608 .       What time does this

20 take place in relation       to the previous      call ?

21 A.       It took place three minute s later .

22 Q.       Who are the parti es ?

23 A.       John Martin    and "Becky"     Dobie again .

24 Q.       The same as the previous        call ?

25 A.       Yes .




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 1 Q.        If you could play B7891 , on Page 608 .

 2           (Audio    record ing begin s playing     at 11 :27 a.m. )

 3           (Audio recording      stop s playing    at 11 :27 a.m. )

 4           BY MS. JOHNSTON:

 5 Q.        Based upon your training and experience            , what

 6 are Ms. Dobie and Ms. Martin         trying arrange     in these

 7 call s?

 8 A.        They're    arrang ing to   meet at the    school    in

 9 D. C. so Ms. Dobie can purchase         a quantity     of cocaine

10 from Ms. Martin .

11 Q.        Were there any particular       code words use d in

12 this series      of call s?

13 A.        I don't think so .

14 Q.        Does the fact that there were not any code words

15 use d affect     your opinion   concern ing the nature       of the

16 meet ing ?

17 A.        No .   Prior to Ms. Martin     moving    the drug s to the

18 school , I can't recall       a time she ever met anybody           at

19 the school .       After she move d the drug s to the school ,

20 almost    all the meet ings took place at the school .              That

21 would be the reason       for going there , especially        at

22 night .

23           MS. JOHNSTON:       Your Honor , I don't know       if the

24 court want s to take its morn ing recess           now before      I go

25 into the --




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 1           THE COURT:    We will take a recess       until quarter

 2 of 12 :00.

 3                  (Off the record     at 11 :28 a.m. )

 4                  (On the record at      11 :45 a.m. )

 5           THE COURT:    Mr. Montemarano , you have a matter ?

 6           MR. MONTEMARANO :     I don't know     if Judge Blake 's

 7 chamber s has contact ed your chamber s.

 8           THE COURT:    No .

 9           MR. MONTEMARANO :     Ms. Childs,    her secretary ,

10 thought   she might .    The judge would like me to

11 participate    in a conference     call as soon after 1:00 as

12 possible .

13           THE COURT:    We will make that happen .

14           MR. MONTEMARANO :     Just so we break on time .

15           THE COURT:    What I want to tell you is , I'm

16 contemplati ng having     the jury take a one and a half

17 hour lunch so that I can have some time with you to

18 deal with the motion      raise d by Mr. Bynum 's counsel          and

19 also deal with the grand jury transcript            issue .

20           I can tell you I have look ed -- I'm almost              done ,

21 I mean , going through      the redaction s.     In many case s,

22 there are some re dactions       that were under done .       In

23 other words , the redact ed material        was the answer , but

24 the question    was left in .     In some other case s, there

25 are a whole series      of answer s given with the question s




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 1 taken out , and I'm going to put the question s back in .

 2          It may be that my un- redaction s are so limited

 3 that I can simply      read them to you so that we don't

 4 delay the commence ment of cross -e xamination .          Nothing

 5 that I saw was , you know , a great revelation           but , you

 6 know , I'm general ly comfortable         with the redaction s the

 7 government    has made .     Some of them were made

 8 erroneous ly .

 9          The re was some     under -re dact ing or over -redact ing

10 a lit tle bit where , like , the question        was n't put in ,

11 but that 's pretty     much what I found so far .        I will be

12 glad to hear argument        when we take -- sometime       during

13 that one and a half hour break on the question              of the

14 photograph s that Mr. Mitchell          has filed a motion    on .

15          MS. JOHNSTON:       Your Honor , I expect     to finish       my

16 direct   examination      in probably    the next 10 to 15 , 20

17 minute s, and I understand       that Officer    Humble is not

18 here , and that we have not been able to get in touch

19 with him .    He was original ly told to be here at 2:00.

20 So , we're going to be ready for cross very short ly .                I

21 want ed the court to be aware of that fact .

22          THE COURT:       Let me ask the defense .       Are you

23 able to begin your cross-examination           without   having      the

24 very limited     number    of un- redaction s that I'm going to

25 do ?




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 1           MR. MONTEMARANO :       Yes , Your Honor .

 2           THE COURT:       All right .     Well , what I would

 3 pro pose we do is this :        We will take a one and a half

 4 hour lunch .     As far as     the jury is concerned , we'll

 5 take a one hour lunch .         As far as     we're concerned , I

 6 will come back and we will deal with the photograph s

 7 that were -- Mr. Mitchell         has raise d a question       about ,

 8 and I will attempt         to fin ally resolve    the redaction

 9 issue .

10           Now , I anticipate      that the easiest     way , so you

11 can get moving     with your cross-examination         of Sergeant

12 Sakala , is that I think I will simply            read to you the

13 thing s I would un-redact .         Many of them are simply

14 question s, because        I don't know     how you figure    out what

15 the answer     mean s without    having     the question .    I don't

16 think you're     going to find that the redaction s that I

17 would un-redact         would be of major moment     to any

18 cross-examination        , but let 's do that .

19           We'll get the jury back in now , and I will break

20 for lunch short ly before        1:00 so you can be on your

21 conference     call .

22           MR. MONTEMARANO :       Thank you , Your Honor .

23           THE COURT:       I will tell the jury to come back at

24 2:30 , and we will -- whatever            time work s with when we

25 actual ly break , and then we'll have you come back after




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 1 a one hour    break at lunch .      All right ?    Are we ready ?

 2          MS. JOHNSTON:      Yes, sir .

 3          THE COURT:      All right , bring them in .

 4          (Witness    resume s the stand at 11 :49 a.m. )

 5          (Jury return s at 11 :51 a.m. )

 6          THE COURT:      Everyone   ready ?

 7          Okay , you may proceed .

 8          BY MS. JOHNSTON:

 9 Q.       Detective    Sakala , I think the day before

10 yesterday    we discuss ed two call s that had been omit ted

11 from the transcript      book and omit ted from the original

12 CD; is that correct ?

13 A.       Yes .

14 Q.       In fact , you identifi ed CD-3 as contain ing those

15 two call s; is that correct ?

16 A.       Yes .

17 Q.       Was one of those      call s B8040 ?

18 A.       Yes , it is .

19 Q.       What date and time did call B8040 take place ?

20 A.       That 's on May 28 t 5:33 p.m.

21          MS. JOHNSTON:      If we could , Your Honor ,

22 distribute    those transcript s, and then we will play

23 call B8040 , which does n't have a page number           since we

24 forgot   to include    it in the book .

25          (Notebooks distributed to the jury.)




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 1           BY MS. JOHNSTON:

 2 Q.        Who are the parti es to the Call B8040 on May 28 ?

 3 A.        Paulette    Mart in and LaNora    Ali .

 4 Q.        And if we could please       play Call B8040 .

 5           (Audio record ing begin s playing          at 11 :53 a.m. )

 6           (Audio recording       stop s playing     at 11 :53 a.m. )

 7           BY MS. JOHNSTON:

 8 Q.        Based upon your train ing and experience , the

 9 reference s on the first page to "jerk " and "cook ing "

10 had nothing       to do with drug s, did it ?

11 A.        No .    Nothing   to do with drug s at all on the

12 first page .

13 Q.        Was there any reference       in this call , based on

14 your train ing and experience , that had to do with

15 drug s?

16 A.        Yes .

17 Q.        What is that ?

18 A.        Page 2, fourth       line down , Ms. Ali says , okay --

19 excuse    me .    The second   line down , she asks , Are you

20 going to be home this evening ?          Ms. Martin      says , Yes ,

21 I'll be here .       Ms. Ali says, Y ou know , for my thing --

22 there 's a pause -- and then she says , thing , and I'm

23 going to bring you money for my clothe s.               The "thing "

24 is a reference       to cocaine .

25 Q.        Call ing your attention      again to Government 's




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 1 Exhibit   Hayward 7 .     Is there anything     in Hayward    7 that

 2 corroborate s your opinion ?

 3 A.        There are two thing s that corroborate          the call s.

 4 Under "ticket s" on the far , right-hand         side of the

 5 screen , you will see an entry for $125 reflecting              the

 6 distribution       of an eighth   of an ounce of cocaine      that

 7 took place between       the date s of May 23 and May 28 .

 8 That would correspond       to the call we heard just before

 9 the break for the May 26 transaction .

10           And then the second      correspond ing is a payment

11 of $300 , which you see reflect ed on May 28 underneath

12 the column     for "ticket s," and there 's also a payment

13 for $80 on May 28 underneath         the clothe s category ,

14 which corroborate s the phone call .

15 Q.        Now , if we could go to the next call , B8064 , on

16 Page 610 .     Do you have that call in front of you ?

17 A.        Yes .

18 Q.        Who are the -- what's      the date and time of this

19 call , B8064 ?

20 A.        It 's May 28 at 9:05 p.m.

21 Q.        The parti es to this call ?

22 A.        LaNora    Ali , Reece Whiti ng and Paulette      Martin .

23 Q.        So it 's later in the evening       of the   previous

24 call ?

25 A.        That 's correct .    LaNora   Ali , at this time , is at




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 1 the residence     on Hayward    Avenue .

 2 Q.       If we could please      play B8064 on Page 610 .

 3          (Audio   record ing begin s play ing at 11 :56 a.m. )

 4          (Audio recording      stop s playing       at 11 :57 a.m.)

 5          BY MS. JOHNSTON:

 6 Q.       Based upon your train ing and experience , is

 7 there any conversation        related   to the drug activities

 8 in this call ?

 9 A.       Yes .

10 Q.       What is that ?

11 A.       Page 611 , mid dle of the page , Mr. Whiting           says ,

12 Speak ing of that , did any of them ticket s ever come in ?

13          He 's asking   Ms. Martin      whether     she 's received     a

14 ship ment of cocaine .       Ms. Martin    says , No, not yet .

15 Q.       Could you write Page 611 next to our code word

16 "ticket s" on the board ?

17 A.       (Witness   indicati ng .)

18 Q.       If we could go to next call , B8110 on Page 612 .

19 On what date and time does this call take place ?

20 A.       This is on May 29 at 11 :05 in the morn ing .

21 Q.       Who are the parties to         this telephone      call ?

22 A.       Paulette   Martin    and LaNora    Ali .

23 Q.       If we could play it , please .

24          (Audio   record ing begin s playing         at 11 :58 a.m. )

25          (Audio recording      stop s playing       at 11 :59 a.m. )




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 1           BY MS. JOHNSTON:

 2 Q.        Based upon your train ing and experience , is

 3 there any discussion       of drug s between     Ms. Martin   and

 4 Ms. Ali in this call ?

 5 A.        Yes .

 6 Q.        Where is that ?

 7 A.        Top of Page 613 , Ms. Ali says , but I need

 8 another   dress , referring      to a quantity    of cocaine , and

 9 that 's further      identifi ed by Ms. Martin     say ing that

10 she 's been to the school        already   this morn ing where her

11 drug s are store d.      She was at the school      this morn ing

12 at 6 o'clock      in reference    to the request    for the dress .

13 Q.        The "Becky " she refer s to as being with her at

14 the school    is "Becky " who ?

15 A.        Yeah , she was at the school       with Lavon Dobie .

16 Q.        Could you write Page 613 next to the word

17 "dress es " on our code list ?

18 A.        (Witness    indicati ng .)

19 Q.        Based upon your familiarity        with the items

20 seize d from Hayward , were there any dress es found at

21 Hayward   -- not -- strike       that -- not at Hayward , at

22 Paulette 's school ?

23 A.        No , there were not .

24 Q.        If we could go to the next call , B8183 .           On what

25 date and time      is this call ?




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 1 A.       This is on May 29 , 2004 , at 9:19 p.m.

 2 Q.       Who are the parties to        this call ?

 3 A.       Paulette   Martin   and Learley     Goodwin .

 4 Q.       If we could play this call , please .

 5          (Audio   record ing begin s playing      at 12 :01 p.m. )

 6          (Audio recording      stop s playing    at 12 :01 p.m. )

 7          BY MS. JOHNSTON:

 8 Q.       What are Mr. Goodwin       and Ms. Martin       discuss ing

 9 in this call ?

10 A.       In the first part of the conversation , Mr.

11 Goodwin 's , about middle     of the page , say ing I don't

12 know , I was just want ing any ticket s around , mean ing

13 does Ms. Martin     have a source      or know someone      who 's got

14 kilogram s of cocaine     for sale .

15          Ms. Martin    says , no , not to her knowledge .         And

16 then Mr. Goodwin      goes to talk about the courier s that

17 are still in Texas , say ing those people          are suppose d to

18 have been here today but he has n't heard anything .                  And

19 then Ms. Martin     make s a reference     to first of the month

20 comi ng up , referring    to the day which welfare          check s

21 are distributed     or mail ed out that people       receive    them

22 and that they would be able to sell their drug s to

23 those people .

24          Mr. Goodwin     agree s that that 's , I guess ,

25 in convenient , referring     to , "ain't that a B."




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1             In the second    half of the conversation , on Page

2 615 , they just talk about do ing another            transaction

3 with Cuba .         Ms. Martin   just says if she 's going to do

4 it again , it would only be for a fourth             of the way ,

5 mean ing that she would only do it for a quarter               of a

6 kilogram .

7 Q.          Above that Ms. Martin         says , I'm just do ing mine

8 a little      bit at a time .      What does she mean by that ?

9 A.          Sell ing the drug s that she has little         by little .

10 Q.         If you could , on our chart , note the code word

11 "ticket " again on Page 614 .

12 A.         (Witness    indicati ng .)

13 Q.         Detective    Sakala , I neglect ed to ask you before

14 when we had Hayward        7.    Did you find not ation s in here ,

15 based upon your train ing and experience , that would

16 indicate     Ms. Martin    was sell ing large quantiti es of

17 cocaine    to some customers ?

18 A.         Yes .

19 Q.         Let me just show you a page from that book .              Can

20 you -- do you have an opinion            as to what's   reflect ed on

21 this page in her notebook ?

22 A.         Yes .

23 Q.         If you could explain         it to the jury .

24 A.         The column    reflect s sale s and payment s by

25 person , by the name of Bop -- what appear s to be Bop --




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 1 reflect ing on 8/20 , August            20 , that she suppli ed half a

 2 kilogram     of cocaine , and then on 8/31 , he paid $12,500

 3 for that half kilogram , and then further                payment s and

 4 distribution s are de lineate d down the column .

 5 Q.         Based upon your train ing and experience , would

 6 that indicate        Ms. Mart in had front ed this particular

 7 individual     that quantity      of drug s?

 8 A.         Correct .

 9            MR. MONTEMARANO :       Objection , Your Honor .

10            Lead ing .

11            THE COURT:       Re phrase    the question .

12            MS. JOHNSTON:       Okay .

13            BY MS. JOHNSTON:

14 Q.         Based upon your train ing and experience , what do

15 those calculation s indicate             to you ?

16 A.         On 8/20 , she front ed a half a kilogram , or

17 provided     on consign ment , a half a kilogram           of cocaine

18 to this individual .          She carri ed that debt for 11 day s

19 until he paid $12,500          towards     that debt .

20 Q.         And that left a balance          of how much ?

21 A.         $250 .

22 Q.         What is the next $12,750          indicate ?

23 A.         Another      distribution     of another   half kilogram ,

24 to bring the total up to $13 ,000 follow ed by payment                   of

25 $10,000 , to bring the balance             back down to $3,000 s.




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 1 Q.        The next $12 ,750 indicate s what ?

 2 A.        Another    distribution      on September   2 of '03 of

 3 another     kilogram , to bring the total back up to

 4 $15,750 .

 5 Q.        In reference    to the telephone      call s here , was

 6 this just a sampling       of the call s that you 'd

 7 intercept ed ?

 8 A.        That 's correct .

 9 Q.        If I could have the next miscellaneous           number ,

10 I'd ask you to just initial         and date the chart list

11 that we've compile d over the last week and a half .

12 Miscellaneous       11, and if you could just initial        and

13 date it , please .

14 A.        (Witness    indicati ng .)

15 Q.        Consist s of three pages ; is that correct ?

16 A.        That 's correct .

17 Q.        Just initial    the other two pages .

18 A.        (Witness    indicati ng .)

19           MS. JOHNSTON:       Your Honor , with that , the

20 government     has no further     question s of this witness .

21           THE COURT:     All right .      Cross- examination .

22           MR. MONTEMARANO :      Yes , Your Honor .     If I could

23 have Hayward     7, please .

24           THE COURT:     Ladies and gentlemen     , by the way ,

25 this witness     has proceed ed on the basis that there




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 1 would be no cross-examination         until all of his

 2 testimony    was done .    The fact that there was no

 3 cross-examination      previous ly was by agreement         and by my

 4 direction    so that all the cross-examination           will now

 5 occur at once .

 6                           CROSS-EXAMINATION

 7          BY MR. MONTEMARANO :

 8 Q.       Good afternoon , Sergeant       Sakala .   How are you ?

 9 A.       Fine .    Good afternoon .

10 Q.       Draw ing your attention       to what was just up on

11 the board from Hayward        7, the page with "Bop ."

12          Is it your testimony        those transactions       reflect

13 transfer s of drug s for money ; is that correct , sir ?

14 A.       That 's correct .

15 Q.       Let 's start from the beginning , at the            top of

16 the page .    I'm going to put it up on the board here --

17 I mean up on the ELMO .

18          MR. WARD:     What is the exhibit       number ?

19          MR. MONTEMARANO :      This is Hayward     7.      I'm sorry ,

20 Mr. Ward .

21          BY MR. MONTEMARANO :

22 Q.       Correct    me if I'm wrong , but at no time during

23 your surveillance      did you en counter     -- "you " mean ing

24 law enforcement      -- en counter   a person   name d Bot , B O T;

25 correct ?




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 1 A.        I think it 's Bop , B O P.

 2 Q.        Oh , Bop ?

 3 A.        I think that 's what it 's say ing , but it could be

 4 Bot , I guess .

 5 Q.        I'll give you another       one .    How about Box ?

 6 A.        Could be Box also .

 7 Q.        Okay .   W e'll call him Bop , because      that 's the

 8 name you use d, because        you don't really     know him ; is

 9 that right ?

10 A.        Correct .

11 Q.        You've never seen this person ; is that correct ?

12 A.        I don't know    that I've seen this person .           I

13 don't know     who that is .

14 Q.        As far as    you know, you've       never seen him ?

15 A.        I don't know    who Bop is ; that 's correct .

16 Q.        And then these are number s here ; correct ?

17 A.        That 's correct .

18 Q.        There 's no -- I don't see any dollar         sign s;

19 correct ?

20 A.        That 's correct .

21 Q.        So you're    assuming    these are monetary

22 transactions ; correct ?

23 A.        Some are monetary       transactions    and some are

24 distribution s of drug s reflect ed in the cost s of the

25 drug s.




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1 Q.          Well , a transaction    giving    somebody    something

2 for money is what I call a monetary            transaction .     These

3 are all monetary         transactions    whether    or not they're

4 paid for at the time of the transfer               is made ; right ?    I

5 mean buy ing something .

6 A.          Some are monetary     involving    money and some are

7 involving      drug s, so I would not call them monetary .

8 Q.          Okay .   These go back to , according        to the date

9 here , 8/2 of '03?

10 A.         I would --

11 Q.         9/2 of '03?

12 A.         I would agree it 's nine .

13 Q.         Eight, nine , sometime      in the autumn     of '03;

14 correct ?

15 A.         Correct .

16 Q.         Don't mind my going back to the beginning .             You

17 initiate d your investigation          of Ms. Martin , as you

18 testifi ed to several       time s, somewhere      in '01 to '02; is

19 that a fair statement ?

20 A.         No , I don't think    that is fair .      I would say her

21 investigation       began at the conclusion        of the previous

22 case , which probably       -- well , yeah I guess -- it 's

23 probably     accurate    the first information       came late '02,

24 I would say .

25 Q.         Do you recall    say ing it was as early as 19 97 you




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 1 were investigati ng Ms. Martin ?

 2 A.       I did not say that , and I certain ly was not

 3 investigati ng her in '97 .

 4 Q.       Okay .    It 's fair to say that the information

 5 regard ing Ms. Martin        that you began with was

 6 information      provided    by Juan Encarnacion ?

 7 A.       That was -- that would be fair , yes .

 8 Q.       And Mr. Encarnacion        is , for lack of a better

 9 term , a known drug deal er ; correct ?

10 A.       He 's a convict ed drug deal er , yes .

11 Q.       Convict ed drug deal er at that point .

12          You've    talk ed to him .    He's been convict ed

13 already ; correct ?

14 A.       When we first talk ed to him , I don't know           if he

15 had been convict ed , but he certain ly subsequent ly has

16 been convict ed .     Yes.

17 Q.       You're not sure if you talk ed to him before             or

18 after he copped a      plea ?

19 A.       I would be willing        to -- my guess is we probably

20 talk ed to him before .         That 's the normal   practice .

21 Q.       And that conversation        with him is with the

22 assistance    of his attorney ; correct ?

23 A.       Yes .

24 Q.       You're    current ly a sergeant     in patrol ,

25 Montgomery    County Police Department ; correct , sir ?




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 1 A.        That 's correct .

 2 Q.        Prior to that , you serv ed in narcotic s for

 3 approximately         18 year s; is that correct , sir ?

 4 A.        '87 to 2005 , whatever       that work s out to be .

 5 Q.        About 18 -- nineteen,        maybe ?    I would n't want to

 6 short -sell you .        Something   over 15 and under 20 ; is

 7 that fair , sir ?

 8 A.        That 's fair .

 9 Q.        You have a great deal of experience           in

10 narcotic s; is that correct , sir ?

11 A.        I've been in it a long time .

12 Q.        You join ed the Montgomery       County Police

13 Department     in ?

14 A.        19 81 .

15 Q.        So it would be fair to say the substantial

16 portion    -- the major portion        of your time in the

17 Montgomery     County Police Department          was in narcotic s;

18 correct , sir ?

19 A.        Yes .

20 Q.        You don't have any -- be fair to say you have

21 expertise    in narcotic s; is that a fair statement ?

22 A.        Yes .

23 Q.        In fact , you've      been qualifi ed as an ex pert

24 witness    in certain      thing s relat ing to    narcotic s

25 investigation ; is that correct ?




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 1 A.        Yes, sir .

 2 Q.        It would be fair to say you don't have           a

 3 particular     expertise    in white collar      crime ; is that

 4 correct ?

 5 A.        I would n't say that .

 6 Q.        You've     not been do in g 18 year s of fraud

 7 investigation ; have you , sir ?

 8 A.          I've been do in g money laundering

 9 investigation s, which most people           would consider     a

10 white collar       crime , yes .

11 Q.        You have been do ing 18 year s of fraud

12 in vestigation ?

13 A.        Money laundering         investigation s.   Y ou asked

14 about whether        I had any expertise     with white collar

15 crime .     Some people    would consider     money laundering

16 investigation s white collar           crime s, so I would have a

17 certain     amount    of experience     with that .

18 Q.        Your money laundering         investigation s were

19 related     to narcotic s investigation s?

20 A.        They were relate d to the laundering          of narcotic s

21 proceeds , yes .

22 Q.        So the answer     is , yes , they're    relate d to

23 narcotic s investigation s; right , sir ?

24 A.        Yes .

25 Q.        Thank you .




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 1            Now , you've    testifi ed concern ing observation s

 2 made during     the investigation       of Ms. Mar tin ; correct ,

 3 sir ?

 4 A.         Yes , I have.

 5 Q.         You're    the case agent .     You're familiar   pretty

 6 much with everything        that went on dur ing this

 7 investigation ; correct , sir ?

 8 A.         I'm one of the case agent s, and I'm fair ly

 9 familiar     with most of the thing s that happened .

10 Q.         As part of your role as a case agent , you also

11 under took to ass ist in the monitoring          of the wiretap s

12 of the various       telephone s that were tap ped in this

13 case ; correct , sir ?

14 A.         That is correct .

15 Q.         There were six separate        line s tap ped; is that

16 correct , sir ?

17 A.         That is not correct .

18 Q.         Five ?

19 A.         That is correct .

20 Q.         I'm sorry .     I keep forgetting    I can't count that

21 high .   A and B, Ms. Martin 's cell , Ms. Martin 's land

22 line home phone ; is that correct , sir?

23 A.         That is    correct .

24 Q.         C line was ?

25 A.         C line was one of the        cell ular telephone s that




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 1 was carri ed by -- carried and used by               Luis Mangual .

 2 Q.         D line ?

 3 A.         Another    cellular    telephone    carr ied and use d by

 4 Luis Mangual .

 5 Q.         E line ?

 6 A.         Cellular     telephone    use d and carri ed by Gwen

 7 Levi .

 8 Q.         The original     wiretap    went up -- that 's the te rm

 9 of art in the business ; correct , sir ?              You can go up on

10 the line ; correct ?

11 A.         That 's a common      phrase , yes .

12 Q.         Your wiretap     began , unless     I'm wrong , on the 8th

13 of March ?

14 A.         It was beginning       of March .      The log s would

15 reflect    the exact time and a date .

16 Q.         The log s.     That would be Miscellaneous           9 as Ms.

17 Johnston     referred    to them ?

18 A.         I think that 's the miscellaneous           number    they

19 were given .

20 Q.         That would be these ?        This is my copy .        Ms.

21 Johnston ?     This would reflect        the log s?     The A line on

22 top .

23 A.         Yes , this would be the A line log .

24 Q.         The first call would be A-1 ; right ?

25 A.         The first call was intercept ed on March 8 at




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 1 12 :03, short ly after noon .

 2 Q.       This would be the A and the B line log s;

 3 correct , sir ?    Do you want to look at the last page

 4 jus t to refresh    your recollection ?       Does that seem like

 5 that 's about where the B line ends ?

 6 A.       Yes , it does .

 7 Q.       So this book by itself       is all the phone call s

 8 off of Ms. Martin 's two line s; correct , sir ?           I mean if

 9 -- as I tell you this is the entire           log ?

10 A.       If that 's as you're     represent ing , that would

11 represent   all the log s for those two call s.

12 Q.       It 's not there 's a page missing,           but that

13 does n't real ly matter .

14 A.       Okay .

15 Q.       So we have all of these call s, and these are

16 just off of Ms. Martin 's .

17          About how many call s were there on the C and D

18 and E line s total , if you can guess ?         If don't know ,

19 you don't know .

20 A.       Yeah , I don't know .      There were not -- Ms.

21 Martin 's , there were probably       more call s on her s than

22 the other line s, so without       look ing at the log s, I

23 could n't give you     an exact number .

24 Q.       The A and B line s were about 10 ,000 call s, give

25 or take ?




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 1 A.        Might be over 10 ,000 thereabout s.

 2 Q.        The other would be over 5,000 anyway ?

 3 A.        I want to say there was probably               -- could be

 4 about 5,000 .       There was about 3,000 on one .              It may

 5 total 5,000 .

 6 Q.        That would be in spite            of the    fact that you went

 7 down on the E line , Ms. Levi 's , when she was arrested ;

 8 correct ?

 9 A.        We did go down on her s after she was arrested

10 yes .

11 Q.        Because    nobody 's us ing that       phone .       In fact ,

12 that phone is sitting          in an evidence         locker   at some

13 point after the date of her arrest ; correct ?

14 A.        That 's correct .

15 Q.        Correct    me if I'm wrong .         Now , let me -- back

16 up .    I'm get ting ahead oaf myself .              I'm sorry .

17           At the culmination        of a narcotic s investigation,

18 you general ly have something          that is colloquially           kno wn

19 as a raid    day ; correct ?

20 A.        I've never heard it term ed that way , but

21 certain ly that would be a proper              description .

22 Q.        Okay .    I have .    That 's the day when you execute

23 search    and seizure    warrants     as to various        residence s

24 and place s of business , et cetera ; correct , sir ?

25 A.        I would assume       so , yes .




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1 Q.          And the raid      day in this case , was what date , if

2 you can recall ?

3 A.          The first day of the -- most of the raids, we

4 had done some before -- was           June 1st , 2004.

5 Q.          Just so the ladies and gentlemen of the jury

6 have the correct         time frame on this .      The last call Ms.

7 Johnston      play ed with you , B8183 , locate d at Page 614 of

8 Volume     III of the book was on what date , Sergeant

9 Sakala ?

10 A.         May 29 , 2004 .

11 Q.         That would be two day s, give or take , before           you

12 executed     search    and seizure   warrant s on all the place s

13 that you did on the 5th of June ; right?

14 A.         Yes .

15 Q.         Prior to raid ing -- prior to June 1 -- prior to

16 June of 2004 , would it be fair to say that you did not

17 have objective        evidence   of a single    drug transaction    in

18 this investigation ?

19 A.         That would be complete ly un fair .

20 Q.         It would be un fair ?

21 A.         That 's correct .

22 Q.         Okay .   Were there any controlled       buy s from --

23 let 's look at Ms. Martin         for now .    Were there any

24 controlled     buy s with Ms. Martin ?

25 A.         Ever ?




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1 Q.        With Ms. Martin      in th is in vestigation     from ,

2 let 's say , late '02 you said ?

3 A.        '02 when we began ?         Yes .

4 Q.        Can you give an approximate            date for the ladies

5 and gentlemen of the jury         so we understand       the time

6 frame ?

7 A.        Yes .

8 Q.        Number   one ?

9 A.        We arrested      Mr. Encarnacion       in November   of '01,

10 but he didn't     begin cooperating          until sometime   in 2002.

11 And my recollection        was it was late r in 2002 than

12 beginning .

13 Q.       What date would you like to use ?            July 1?

14 A.       End of 2002 would be accurate .

15 Q.       November    1?

16 A.       I don't know      the exact date .       I would have     to go

17 back and look at the report s.

18 Q.       From that date at the end of 2002 through               but

19 not including     raid day , June 1, 2004 , did you under take

20 to effect     a single    controlled    buy with Paulette      Martin ?

21 A.       I don't think      during     that time period   we made

22 any controlled      buy s from Ms. Martin .

23 Q.       By the same question , you didn't           under take any

24 controlled     sale s with Ms. Martin ; correct ?

25 A.       If you're    refer ring to      a controlled   sale as in




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 1 sell ing her narcotic s, then the answer            would be no , we

 2 did not .

 3 Q.       So the ladies and gentlemen of the jury

 4 understand , a controlled          buy is where you use it either

 5 with an under cover agent or a cooperating             witness , for

 6 instance , Mr. Encarnacion          to sell drug s to someone ;

 7 correct ?

 8 A.       No , that is not a proper        definition    of a

 9 controlled    buy .

10 Q.       I'm sorry .      That 's a controlled      sell ; isn't it ?

11 A.       No , it 's not a controlled       sell either .

12 Q.       You're    the expert.       Why don't you tell the

13 ladies and gentlemen of the jury           what a controlled       buy

14 is ?

15 A.       A controlled      buy would be the use of a

16 cooperat or only , not an under cover officer , where the

17 informant    is search ed prior to the buy , is given a

18 known amount      of currency , is observe d going direct ly to

19 either   a house or to a meeting         with an individual .

20 Immediate ly thereafter , the individual            is search ed

21 again , and the person       is found to be free of the money .

22          In other words , the money is gone and having              a

23 known quantity        of drug s.    So, no matter    who the person

24 is , they are simply       being use d as a vehicle      that

25 transport s money to the buy and drug s away from the




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 1 buy .    The under cover person     that you reference d, that 's

 2 a direct    -- that would be call ed a direct            hand -to -hand

 3 purchase , not a controlled        buy .

 4 Q.        Then I mix ed up the term s.         My apologi es .

 5           To continue     from there .      The direct    hand -to -hand

 6 sell , or a controlled       sell would be the very same thing

 7 but instead       of get ting drug s from the target , you would

 8 be get ting money from the target            and giving    to the

 9 target    the drug s.     Would that be a fair statement ?

10 A.        A controlled      sell would be the opposite         of a

11 controlled    buy , yes .

12 Q.        Didn't    do one of those either ?

13 A.        No , that 's correct .

14 Q.        That 's four different     vehicle s that you didn't

15 use .    Controlled     buy , controlled     sell , direct   buy ,

16 direct    sell ; correct , sir ?

17 A.        During    that time period , I belie ve none of those

18 four thing s happen ed; that 's correct .

19 Q.        You testifi ed -- now , going back to your role as

20 the case agent .        Part of what you did as case agent is

21 to re view all of the telephone            call s; is that a fair

22 statement ?

23 A.        Yes .    That 's one of the thing s we do .

24 Q.        In add ition to     monitoring     some of them , you

25 listen ed to the m once after they had been monitored                 and




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 1 record ed ; correct ?

 2 A.         Yes .

 3 Q.         In fact , you listened      to them all , I would say ,

 4 probably     more than one time ?

 5 A.         That is very true , yes .

 6 Q.         Maybe as many as     five time s each ?

 7 A.         On the pertinent     call s, it could be as many as

 8 five time s each ; the non -pertinent         call s it could be

 9 just once .

10 Q.         At least    once on every call ; correct ?

11 A.         I would    say I probably    listen ed to every call at

12 least once , yes .

13 Q.         If my math is correct , and I'm sure it isn't ,

14 there are about 500 call s, give or take , in these three

15 transcript     book s that the jury has been given ?

16 A.         I think it 's un der 500 , but about 500 would be

17 accurate .

18 Q.         48 1 or something    like that ?    Let 's use 500 as a

19 round number       because   we 've got these guy s, too , and

20 these are the call s that you think demonstrate             that Ms.

21 Martin   is deal ing large scale quantiti es of drug s; is

22 that a fair statement ?

23 A.         That is a fair statement .

24 Q.         You stated    that call s in your view -- that

25 you've   state d that call s that are pertinent , in your




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 1 view , are call s that don't seem normal ; is that

 2 correct , sir ?

 3 A.         That 's correct , sir .

 4 Q.         Call s that don't make sense ?

 5 A.         That is certain ly one of the indicator s.

 6 Q.         In fact , you just use d the phrase , does n't make

 7 sense with regard         to -- court 's indulgence , please .

 8            Just earlier     today , doesn't   it make sense with

 9 regard    -- I think it was to the shirt business .             Do you

10 remember     tell ing that -- say ing that earlier       today ?

11 A.         Yes , I do .

12 Q.         And you said that by contrast , this call make s

13 perfect    sense in the drug business ; correct , sir ?

14 A.         That 's correct .

15 Q.         That would be perfect       sense to you based upon

16 your train ing and experience ; correct , sir ?

17 A.         Yes , it make s perfect     sense to me .

18 Q.         You're   investigati ng --

19            MS. JOHNSTON:       Your Honor , if I could ask Mr.

20 Montemarano     to let the witness      finish   his answer s

21 before    he start s the next question , please .

22            THE COURT:      Yeah .   If you would just --

23            THE WITNESS:      The call make s perfect    sense to me

24 as a drug call , yes .

25            BY MR. MONTEMARANO :




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 1 Q.        That 's based upon your train ing and experience

 2 as a drug investigator ?

 3 A.        Sure .    Yes .

 4 Q.        You 'd agree you have       no particular    expertise    in

 5 the shirt business ; do you ?

 6 A.        No , I do not .

 7 Q.        Your dad was n't a ta ilor ; mom was n't a

 8 ha berdasher ; right ?

 9 A.        I think ha berdashers       make hat s; don't they ?

10 Q.        No , I think it 's clothi ng .

11 A.        Okay .    Then that would show that I don't have             a

12 certain   amount     of expertise    in the shirt business .

13 That 's correct .

14 Q.        It would    be fair to say you have no way of

15 know ing whether      something    like that make s any sense in

16 the shirt business ; is that a fair statement ?

17 A.        I guess there 's -- it 's conceivable         that

18 somewhere    in the shirt business        that might make sense .

19 Q.        Because    you're    look ing at this for drug s; right ,

20 sir ?   This call that we talk ed about earlier           today ?

21 A.        I don't know      if I'm look ing for   drug activity .

22 I'm certain ly look ing at the call s and what they mean ,

23 but I'm not say ing let me look at this call and let me

24 find drug activity.           That 's not accurate .

25 Q.        In deed , it 's because     of your view of these




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 1 transactions      as involving      drug activity    that you said

 2 there was no evidence        of legitimate       conduct ; is that

 3 correct , sir ?

 4 A.         With regard    to this call , there is no evidence

 5 that Ms. Martin      was involve d in the shirt business .

 6 Q.         Actual ly , you said there was no evidence             of

 7 legitimate     commerce in response to a question             by Ms.

 8 Johnston     last week ; correct , sir ?

 9            MS. JOHNSTON:     Objection .       Objection .

10            What call is he talk ing about ?

11            MR. MONTEMARANO :       I didn't    say it refer red to a

12 call .

13            THE COURT:     Well --

14            MR. MONTEMARANO :       Shall I re phrase , Your Honor ?

15            THE COURT:     Pardon    me ?

16            MR. MONTEMARANO :       Shall I re phrase ?

17            THE COURT:     Yes , re phrase .

18            MR. MONTEMARANO :       Thank you , Your Honor .

19            I w ithdraw   the question .

20            BY MR. MONTEMARANO :

21 Q.         You said in response       to a question      by Ms.

22 Johnston     with regard    to the wiretap       that -- back when

23 you began your testimony           last week , there was no -- in

24 your view , there was no evidence             of legitimate    commerce

25 being under taken by Ms. Martin .




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 1           Do you remember       say ing that ?

 2 A.        I don't think       I said that .      I don't recall

 3 say ing it and put ting that in that broad of term s.                  No,

 4 I do not recall      say ing that was un qualifi ed , that she

 5 never engaged      in legitimate     commerce .

 6 Q.        Your view of Ms. Martin 's involve ment in the

 7 drug business , as you testifi ed , is because            as you've

 8 state d last week , because        you're    sure ; is that a fair

 9 statement ?      About her involve ment in        the drug business ?

10 A.        I'm sorry .     You're going to have to re phrase

11 that .    I don't understand       what you 're saying .

12 Q.        Sure .   You testifi ed as to the lack of commerce

13 involving      Ms. Martin .    Do you recall      say ing that ?

14 A.        Again , I don't recall       say ing that Ms. Martin

15 ever or never engage d in a legitimate             commerce .      I

16 certain ly don't think that , and I think we 've talk ed

17 about legitimate      sale s of clothe s that she told this

18 morn ing .     If I said that -- and I certain ly don't think

19 I did -- I certain ly mis spoke .           So , if that answer s

20 your question ...

21 Q.        You've   state d that , in your view , drug

22 investigation s and their relationship             to deciphering       a

23 wiretap      are not rocket    science ; is that a fair

24 statement ?

25 A.        That 's correct .




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 1 Q.        In fact , it 's based upon your expertise         and your

 2 knowledge     that you can demonstrate       or you can testify

 3 that you're       sure about what these call s mean ; is that a

 4 fair statement , sir ?

 5 A.        Yes , I am sure .

 6 Q.        In fact , you're    so sure that you testifi ed las t

 7 week that you could de fine the nature          of call , you

 8 could ascertain       its mean ing to a moral certainty .        You

 9 use d those words ; did you not , sir ?

10 A.          I use d the words moral certainty , but not in

11 the context       you just asked .     I said when I offer an

12 opinion , it will be to a moral certainty , not I can't

13 look at every conversation           an d tell you what it was

14 about .   In fact , I told you there were call s, and I

15 said I cannot       tell you what they're     talk ing about .

16 Q.        Court 's indulgence , please .

17           Do you have the transcript         book s up in front of

18 you , sir ?

19 A.        Yes , I do .

20 Q.        I'd like you to turn to Volume         II, if you would

21 be so kind .       First call , Page 251 .    Call B2383 on April

22 1.   Do you recall       listening    to that call in the past ?

23 A.        Yes .

24 Q.        Do you recall     having    it play ed before   the jury ?

25 A.        Yes .




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 1 Q.         That was last week , was it not ?

 2 A.         Probably , yes .

 3 Q.         I'm not sure either .         This is a call that you

 4 said involve d "Becky"            Dobie , that would be Lavon Dobie ,

 5 comi ng over to her house in the middle              of the night

 6 want ing drug s; correct , sir ?

 7 A.         Yes .

 8 Q.         And you say that to a moral certainty , this call

 9 involve d "Becky"        Dobie want ing drug s in the middle        of

10 the night ; correct , sir ?

11 A.         Comi ng over to the house and causi ng a ruckus ,

12 yes .

13 Q.         At the bottom of the page , Page 251 , read what

14 Paulette      Martin    says .

15 A.         Paulette      Martin    says , and then she had Fag gy

16 stand ing .     I said "Becky" , please , she don't want

17 anything .      She don't want anything .

18 Q.         Continue      on the top of 252 .

19 A.         You want me to continue         reading ?

20 Q.         Pl ease ?

21 A.         She just want ed to come by her here and tell me

22 she heard Mump sy Bumpsy            got shot six time s, and then

23 she call ed him .        She could have called       me on the phone .

24 She said she did but I didn't             answer .

25 Q.         Okay .      Ms. Martin    says in that call specifically




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 1 that "Becky"      Dobie didn't    want anything     other than to

 2 tell her about Mump sy Bumpsy          being shot ; is that a fair

 3 statement ?

 4 A.       That is a fair statement .

 5 Q.       Yet you have    testifi ed that to a moral

 6 certainty , this is a call involving           "Becky"     Dobie

 7 comi ng over and asking        for drug s.

 8 A.       No , that 's not wh at I said .        I said it was       Mr.

 9 Martin   and Ms. Martin       complain ing about "Becky"       comi ng

10 over at all hours of the         night , which is what the whole

11 call is about , so they were using the last night as the

12 tip of the iceberg      of the problem .

13 Q.       Court 's indulgence , please .

14          Another    common    tool , beyond    the control    and

15 under cover or direct        buy s and sell s that we discuss ed

16 earlier , is observation s look ing for evidence             of street

17 sell s; is that correct , sir ?         Is that a correct

18 statement , sir ?

19 A.       I'm not sure what you mean , but surveillance

20 certain ly is a common        tool .

21 Q.       Part of surveillance          is oftentimes   you go to a

22 place where people      are known to sell drug s; correct ,

23 sir ?

24 A.       Yeah .    There are people       who do that , yes .

25 Q.       Also, you go to -- attempt           to observe    a person




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 1 you believe    is sell ing drug s.        Wherever   that person

 2 happen s to be , you follow       the person     around ; is that a

 3 fair statement , sir ?

 4 A.        That is a fair statement .

 5 Q.        Also, you can see what's          known as a hand -to -hand

 6 purchase ; correct , sir ?

 7 A.        I would n't say often , but it is possible .

 8 Q.        It 's certain ly possible .        In addition    to

 9 hand-to-hand       sells , you often see other peripheral

10 conduct    which is indicative , in your view , as a train ed

11 drug investigator       of narcotic s activity ; correct , sir ?

12 A.        Yes , you will see that .

13 Q.        A class ic example     of that is a person        stand ing

14 on a corner    do ing what's     call ed "steer ing ;" correct ,

15 sir ?

16 A.        Call ed what ?

17 Q.        Steer ing .   Tout ing ?

18 A.        Never heard either         one of those term s.

19 Q.        Where a person      might be hang ing on a street

20 corner    tell ing people    where they can get drug s?

21 A.        That I have      not observe d.     I'm sure it does

22 happen , but I have not observe d it .

23 Q.        Okay .    You ought to come to Baltimore , then .

24           In addition , there are people         on a street      corn er

25 who are lookout s; correct , sir ?




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 1 A.       Yes, sir .

 2 Q.       And a common      phraseology    in that context       is

 3 having   people    yell "5-0;" correct , sir ?

 4 A.       "5-0" would refer to the police .

 5 Q.       They would want to let people         know the police

 6 are on the way ; correct , sir ?

 7 A.       Or are there , yes .

 8 Q.       Or are there ; correct , sir ?

 9 A.       Yes .

10 Q.       We had none of that in this case ; correct , sir ?

11 A.       We have no one yell ing 5-0.

12 Q.       We have no surveillance         on street    corners ;

13 correct , sir ?

14 A.       No .    I know we've done a lot of surveillance ,

15 and I'm sure there were street           corners   involve d, so

16 that would be in correct .

17 Q.       No .    No .   Surveillance   as far as     people    stand ing

18 out -- as far as lookouts        on street    corners    as

19 surveillance .      None of that .     No surveillance        like

20 that ; correct , sir ?

21 A.       I'd have to go through        all the report s.        I could

22 not say we have never seen a lookout           as part of this

23 case .   There were probably      dozen s, if not hundreds           of

24 surveillance s, so I could not offer an opinion .

25 Q.       Let me direct      your attention    to the pole cam




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 1 video s.     We've seen half dozen of those , what, eight ,

 2 ten , twelve ?

 3 A.         Somewhere     around   there , yes .

 4 Q.         Nobody out there yell ing , 5-0; correct ?

 5 A.         No , I think we heard testimony           about a neighbor

 6 yell ing and screaming        about a car .       They did not yell

 7 5-0, but they point ed out to -- I don't know               what they

 8 said , but they said something          to Ms. Martin      that

 9 alert ed her to do it .

10 Q.         That would be Detective        Schrier     sitting   there in

11 an un mark ed SUV with Virginia         plate s; is that correct ,

12 sir ?

13 A.         That 's right .

14 Q.         That is in a neighborhood        where we know we have

15 a neighborhood       watch of some sort ; correct , sir ?

16 A.         I have   no idea if there 's a neighborhood            watch

17 there at all .

18 Q.         Well there was a meet ing that was de scribe d in

19 some of the later phone call s, people              meet ing and talk

20 about what Ms. Martin         may or may not be do ing in her

21 home ; correct , sir ?

22 A.         There was a meet ing that was discuss ed .             I have

23 no idea if this was a neighborhood            watch meet ing .

24 Q.         I'm not say ing neighborhood           watch with a capital

25 N and capital       W.   There were    at least     some concerned




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 1 citizen s who noticed     something      out of sort s.

 2 A.       Yes , I would agree with that .

 3 Q.       Thank you .

 4          In addition , if I understand        correct ly , start ing

 5 in late '02, when this investigation           really     ramp ed up ,

 6 during   that time , there were no seizure s of drug s from

 7 Ms. Mar tin , until at some point later , if at all ;

 8 correct , sir ?     Certain ly not through , "'til the        first

 9 of June ?"

10 A.       There were no seizure s of Ms. Martin            during     that

11 time period      until the raids .    I would agree with that .

12 Q.       Okay .    Detective   Schrier    suggested   do ing a trash

13 run du ring one of     these surveillance s; correct,         sir ?

14 A.       Yes .

15 Q.       In fact , he also said he lift ed 15 bag s of

16 trash ; is that correct ?       He said he went through         15

17 bag s of trash .     It was n't from the P.G. County Police

18 where he took the stuff ; did he ?

19 A.       No .

20 Q.       Tell me .     What day do they pick up trash on

21 Hayward ?

22 A.       I don't know .

23 Q.       How many day s a week do they pick it up ?

24 A.       I don't know .

25 Q.       Between     March 8, when you went up on the wire ,




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 1 and June 1st , when you raid ed Hayward         an d all these

 2 other place s, that 's about -- if my math serve s, that's

 3 about 12 week s?

 4 A.       It was about three month s.

 5 Q.       Yeah , okay .   Assuming     it 's 12 week s, would you

 6 assume they pick up trash at least          once a week ?

 7 A.       Most place s, yes .

 8 Q.       That 's at least       12 time s trash that has    been put

 9 out on Hayward      during   this time ; is that correct ?

10 A.       No .    I would have no idea .      I have no idea if

11 that was the only      time , or if she put it out once a

12 week .

13 Q.       I didn't    say Ms. Martin .     I said 12 time s the

14 trash has been put out on Hayward ; correct ?

15 A.       Again , I don't know .       I don't know     if there was

16 nobody   putting    out trash ; if they took their trash to

17 the dump .      I just don't kno w.     I can re view the tape s.

18 Off the top of my head , I don't know .

19 Q.       It would be reasonable        to assume     that people

20 might well put out trash --

21 A.       Yes .

22 Q.       -- on trash day ?

23 A.       Yes .

24 Q.       You don't need 18 year s in narcotic s

25 investigation      experience    to ascertain   that ; is that a




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 1 fair statement ?

 2 A.        I agree with that , but you're           asking    me that 12

 3 time s people      put out trash , and I can't agree with

 4 that .

 5 Q.        Would the question        make you more comfortable        if

 6 I said probably ?

 7           MS. JOHNSTON:         Objection .

 8           THE COURT:      Mr. Montemarano , I think you're

 9 arguing   with the witness .         I think you've     made your

10 point .

11           MR. MONTEMARANO :        Fair enough , Your Honor .

12           BY MR. MONTEMARANO :

13 Q.        You did one trash run ?

14 A.        We did one .        I don't know     if we did another    one ,

15 but I know we did the one .

16 Q.        During    this time , there was a male living           at Ms.

17 Martin 's home on Hayward ; correct ?

18 A.        During    the second     latter     half of the wire , Mr.

19 John Martin     move d in ; in the first half , there was not

20 a male living       there .

21 Q.        So ladies and gentlemen of the jury               understand ,

22 John Mar tin is an African-American             male about how old ?

23 A.        He 's probably       in his 50 s.

24 Q.        Okay .    About Ms. Martin 's age , give or take ?

25 A.        I would assume , yes .




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 1 Q.         And he 's living     there with Ms. Mar tin ; correct ?

 2 A.         Again , during     -- sometime    in probably    April --

 3 mid -April , he move d in , so .

 4 Q.         So you knew he move d in ; correct ?

 5 A.         Yes , we knew .

 6 Q.         You knew he had a prior relationship            with Ms.

 7 Martin ; correct ?

 8 A          He had a relationship        prior to movi ng in , yes .

 9 Q.         During    prior year s; is that a fair statement ?

10 A.         Yeah .    I don't know     if we knew that at the       time .

11 Q.         Okay .    Ultimately,     yo u ascertain ed that ;

12 correct ?

13 A.         Yes .    They've   known each other for a number            of

14 year s.

15 Q.         You ascertain ed that at some point before             June

16 1st .     If you don't know , you don't know .         It 's okay .

17 A.         Yeah .    I know we found that out , but I jus t

18 don't know when we found that out .

19 Q.         Okay .    An d when he move d in , did you do sort of

20 an investigation        regard ing Mr. Martin ?

21 A.         I'm sure we did .        I'm sure as soon as we

22 identifi ed him , we , you know , tr ied to find out

23 everything      we could about him .

24 Q.         And it would be fair to say that during              that

25 investigation , you ascertain ed he had been arrested                  in




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 1 August    of 2002 ; correct ?

 2 A.        Yes , we did .

 3           MS. JOHNSTON:       Objection .

 4           THE COURT:       Basis ?

 5           MS. JOHNSTON:       It assume s fact s not in evidence .

 6           MR. MONTEMARANO :          I'm asking    the detective    if he

 7 know s.

 8           THE COURT:       All right .

 9           THE WITNESS:       There was an arrest        of him .    I'm

10 not sure your date 's right , but I'd have to go back up .

11 He was arrested       in Takoma      Park .

12           BY MR. MONTEMARANO :

13 Q.        Summer ?    Maybe it was July ?

14 A.        Correct .

15 Q.        Just so the ladies and gentlemen of the jury

16 know , we're talk ing about the same thing .              This is an

17 arrest    where there is a large plastic            garbage     bag in

18 the backseat       of his vehicle ; is that correct , sir ?

19 A.        Yes .

20 Q.        In that large plastic          garbage    bag , sitting   in

21 plain view in the back seat of his vehicle .                   Tell the

22 ladies and gentlemen of the jury              what was in the

23 garbage    bag .

24 A.        Kilogram    wrapper s.       Approximately    25 .

25 Q.        Approximately 25      kilogram      wrapper s of cocaine ;




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 1 correct , sir ?

 2 A.       Yes .    Well , of cocaine    residue .   The cocaine     had

 3 been re move d.

 4 Q.       The pack ages were for cocaine .

 5 A.       That's correct .

 6 Q.       There were residue       on them ?

 7 A.       That 's correct .

 8 Q.       You've    testifi ed earlier    regarding    the nature

 9 and shape of a wrapper,         and we've heard testimony

10 during   this trial how you can sort of fit the wrapper

11 back together     and there is the brick of cocaine          but for

12 the brick ?

13 A.       Yes .

14 Q.       They have all use d duct tape and plastic           wrap ;

15 is that correct ?

16 A.       Yes .

17 Q.       Those wrapper s were in the format          -- is that how

18 they come off the boat ?

19 A.       How they come into the country .

20 Q.       How do they come into the country ?           By air ?

21 A.       By land , air , sea , yes .

22 Q.       Whatever .    That 's how they get here ?

23 A.       Yes .

24 Q.       I'm sure the ladies and gentlemen of the jury                 --

25 let 's be clear .     Cocaine    is not indigenous     to the




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 1 United   States      of America .

 2 A.         It is not .     As far as    I know , it is not

 3 manufactured        anywhere   in the U. S.

 4 Q.         It come s from co ca leave s.        Co ca plant s are not

 5 grown anywhere        in the U. S.

 6 A.         That 's correct .

 7 Q.         So it come s here from somewhere , and that 's the

 8 discussion     that you related        to us , I'm going to say it

 9 was maybe yesterday         or the day before , concern ing

10 original     wrap ping and de sire for original        wrap ped

11 cocaine ; correct , sir ?

12 A.         Yes .

13 Q.         Twenty-five     of them ?

14 A.         Mr. Martin 's car , there were approximately           25 ,

15 yes .

16 Q.         He moved in about when ?

17 A.         It was near the middle        of the wire .    I want to

18 say April -- mid -A pril , 2004 .

19 Q.         Would that be before        or after Detective    Schrier

20 -- he 's a detective ; isn't he ?

21 A.          Yes .

22 Q.         Detective     Schrier 's trash run ?

23 A.         I don't know .      I don't recall     the date of the

24 trash run , but I don't know .

25 Q.         Okay .    And the result     of that trash run were a




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 1 two -pound box of bak ing soda ; correct ?

 2 A.       Yes .

 3 Q.       A perfect ly legal product , purchasable          at pretty

 4 much any hardware      or grocery    store in the Washington ,

 5 D. C. - M etropolitan        area , fair statement ?

 6 A.       Yes .

 7 Q.       No cocaine    wrap per ?

 8 A.       No , not th at I'm aware .

 9 Q.       No Pyre x dish es or glass dish es with cocaine

10 residue ?

11 A.       That 's correct .

12 Q.       No measuring    implement s or spoon s or strain er s

13 or anything      like that with cocaine      residue ?

14 A.       That 's correct .

15 Q.       No packaging    material     for cocaine , like small

16 vile s or small Zip loc s or anything        like that ?

17 A.       I believe    that 's accurate .

18 Q.       Court 's indulgence , please .

19          You testified       ed earlier   today , I believe , or

20 late yesterday , actual ly , about there being heroin            that

21 Ms. Martin    obtain ed from Mr. Turner .

22 A.       Yes .

23 Q.       And that would be William         Turner ; correct ?

24 A.       Yes .

25 Q.       William    Turner    who is the known associate        of




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 1 Gwen Levi ; correct ?

 2 A.         Yes .

 3 Q.         Gwen Levi , so the ladies and gentlemen of the

 4 jury remember , is the woman who was arrested            with 2.3

 5 kilogram s of raw heroin        being transport ed back from New

 6 York ; correct ?

 7 A.         That is correct .

 8 Q.         And 2.3 kilogram s would be just about three

 9 pounds , give or take ; correct ?

10 A.         Yeah .   It's probably   actual ly more than that .

11 It 's 2.2 per kilogram .

12 Q.         Excuse   me , more like five pounds ?

13 A.         I would say it 's probably      close r to five than

14 three , yes .

15 Q.         A lot of heroin ?

16 A.         It 's a lot of heroin , yes .

17 Q.         An d Ms. Levi 's name was found in Mr. Uriarte's

18 ledger ; correct ?

19 A.         Ms. Levi 's name was found in the ledger , is that

20 what you said ?

21 Q.         Yes .

22 A.         I don't think   her name was found in the ledger ,

23 no .

24 Q.         Was there not a transaction       that re flec ted her

25 purchase     of this heroin ?




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 1 A.        I think Ms. Levi was referred           to as the pro noun

 2 "her ".    I gave her , not her name .

 3 Q.        And there was a transaction           in that ledge r that

 4 pretty    much match ed up to the am ount of money written

 5 on the box that the money was transport ed to New York

 6 in ; correct ?

 7 A.        Yeah , the money amount s.

 8 Q.        It turn ed out the count was off ?

 9 A.        The count was a little          off , yes .

10 Q.        Mr. Turner    was at Ms. Levi 's home when it was

11 search ed .    That 's the Digger 's Lane address ; correct ?

12 A.        That 's correct .

13 Q.        In those three book s, there is not a single                call

14 between    Mr. Turner    and Ms. Mart in ; is that correct ?

15 A.        Say that again .

16 Q.        In these book s, these transcript             book s, these

17 three black , spiral led -bound book s reflecting             the 500

18 call s that the jury has been provide d with,               there's     no

19 call s between      Paulette   Mart in and William       Turn er ?

20 A.        Not in these books,      no .

21 Q.        Court 's indulgence , please .

22           Now , you testifi ed repeat edly concern ing the

23 transactions     allegedly     taking   place between       George

24 Harris    and Mil burn Walk er and Ms. Martin ; correct ?

25 A.         Yeah .    Between   George     Harris and     Ms. Martin ,




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1 and Ms. Martin        and Mr . Walker , yes.

2 Q.         My mistake.     Between    George    Harris    an d Ms.

3 Martin , and between       Milburn    Walker    and Ms. Martin ;

4 correct?

5 A.         Yes .

6 Q.         You stated that     those transactions all         were

7 character ized by the number eight .

8 A.         Quite a few of the conversations are preceded by

9 the number eight; some are not.

10 Q.        Often character ized by the number eight ?

11 A.        Yes.

12 Q.        Size eight?     Eight   of ?     Is that   correct , sir ?

13 A.        Yes.

14 Q.        You think the number eight mean s something               to

15 you because       it might mean an eight h of a kilogram ;

16 correct ?

17 A.        It might be an eighth          of a kilogram    or eighth      of

18 an ounce .       In some circumstance s you're       able to

19 determine    what that amount       is based on with other

20 call s, some you cannot .

21 Q.        Repeat edly , you've    said to us while you were

22 testify ing , if I understood        you correct ly , that you

23 don't know if it 's an eighth         of a kilogram      or one -

24 eighth   of an ounce ; correct ?

25 A.        That is correct .




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 1 Q.       A kilogram      is approximately      35 ounce s; is that

 2 correct ?

 3 A.       A little     over 35 , yes .

 4 Q.       So an eighth      of a kilogram      is 125 grams ?

 5 A.       Yes , it is .

 6 Q.       An eighth     of an ounce is about , shall we say ,

 7 about three grams ?

 8 A.       3.5 grams .

 9 Q.       3.5 .

10          How do those number s relate ?          Factor   of about

11 40 .

12 A.       Relate to each other ?

13 Q.       Each other .

14 A.       125 is larger          than 3.5 .

15 Q.       By a factor      of ?

16 A.       I'd have to do the math , but it 's larger .

17 Q.       Close to 40 time s as much ; right ?

18 A.       That could be true .

19 Q.       In deed , you've        also remark ed on the number 125 ;

20 correct , sir ?

21 A.       In relation      to the eighth      of a kilogram ?

22 Q.       You testifi ed in relation          to the significance       of

23 the number 125 ; correct , sir ?

24 A.       In regards      to ?

25 Q.       Prici ng .




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 1 A.        Price s, yes .    $125 ?     Is that what you're

 2 referring    to ?

 3 Q.        Yes, sir .

 4 A.        Yes.

 5 Q.        That 's over here .        If we were to turn this into

 6 a little    chart , that 's a rough price for an eighth            of

 7 an ounce of cocaine .

 8 A.        That 's correct .

 9 Q.        Also known as an eight ball .

10 A.        That 's correct .

11 Q.        So if you hear 125 , you cannot        tell the ladies

12 and gentlemen of the jury       , to a moral certainty , if

13 it 's an eighth     of a key or an eighth       of an ounce ,

14 right ?

15 A.        If I hear 125 referring         to a dollar   amount , I

16 would say it 's related       to an eighth    of an ounce , not an

17 eighth    of a key .

18 Q.        We're talk ing code d language .       Someone    could be

19 using dollar s and mean ing grams and vice versa ;

20 correct , sir ?

21 A.        They could be .     They did not in this

22 circumstance .

23 Q.        Because   you were not a participator         in these

24 con versations , or is that just your ed ucated            opinion ?

25 A.        That is my opinion , yes .




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 1 Q.        125 grams of cocaine      indicated    intent , under all

 2 circumstance s, to distribute        cocaine ?

 3 A.        Yes .

 4 Q.        $125 worth of cocaine .        Personal     use ?

 5 A.        How much cocaine     are we talk ing about ?

 6 Q.        $125 worth .     That 's an eight ball .       You've

 7 already     said that 's a reasonable      price .

 8 A.        In this circumstance s, an eighth           of an ounce ,

 9 that would be indicative        of possession        of intent    to

10 sell .

11 Q.        It would be in dicative of       possession         with intent

12 to sell ?

13 A.        It would be indicative of possession with intent

14 to sell, yes.

15 Q.        It 's not possible    a person    would buy an eight

16 ball for personal      use ?

17 A.        I' m not say ing it 's not possible .         It is

18 possible .     It's not like ly , no .

19 Q.        During   this time , you -all under took all this

20 surveillance ; correct ?       You had the pole cam up at

21 Hayward ; correct ?

22 A.        Yes , we did .

23 Q.        When you would hear phone call s that you thought

24 meant something     related    to your investigation , you

25 would call the surveillance        officer s on -call and get




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 1 them scoop ed over to Hayward        to watch what's        going on ;

 2 is that correct , sir ?

 3 A.         No .   If we heard something       that surveillance

 4 could be use ful and we thought           was important , then we

 5 would , but not on every call .

 6 Q.         I didn't     say on every call .     When you thought       it

 7 was important , you can get officer s over there to

 8 surveil     Hayward ; correct ?

 9 A.         Again, the determination is         not just is it

10 important , because        I would have    love d to have

11 surveillance         every day on everything , but you cannot       do

12 that .    So the only consideration         is not just whether

13 it 's important .

14 Q.         Surveillance     would eve n go to other place s;

15 correct,     sir ?

16 A.         That 's correct .

17 Q.         For instance , the March 29 transaction           with --

18 excuse    me , the March 29 meet ing with Ms. Martin           and Ms.

19 Hard en ; correct ?

20 A.         That 's correct .

21 Q.         Which you've     testifi ed to was a drug

22 transaction ; correct ?

23 A.         Yes , I have .

24 Q.         You heard Detective      Muss elman testify      that what

25 was transferred         was a piece of paper ; correct ?




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1 A.         No .    I heard that 's all he could see was a piece

2 of paper .

3 Q.         As far as       he know s, what was transferred     was a

4 piece of paper ; correct ?

5 A.         What he saw was a piece of paper .

6 Q.         Do you recall       how far away Detective     Musselman

7 was from this hand-to-hand           transfer ?

8 A.         I don't recall       what he said .     My recollection

9 was that he was not over ly far .

10 Q.        Did I ask him on direct       -- on cross , I think he

11 said 15 to 20 feet ?

12 A.        I don't recall       exact ly what he said .

13 Q.        With all this opportunity        to under take

14 surveillance          -- and you did under take it when you

15 thought    it was important ; correct , sir ?          Did anybody

16 ever offer       --

17 A.        I'm sorry .       If that was a question , again , the

18 answer    is no , that is not correct .

19 Q.        You under took some surveillance , fair statement ?

20 A.        That is fair .

21 Q.        Did any of your surveillance           ever ex tend to

22 Milburn    Walker ?

23 A.        Yes .

24 Q.        Did any of your surveillance           ex tend to Milburn

25 Walker    other than his trip s to 810 Hayward ?




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 1 A.         Yes .

 2 Q.         Where did you see him ?

 3 A.         We did surveillance      at Mr. Walker 's residence .

 4 We also saw Mr. Walker          on the day of the raids at the

 5 school     on South Dakota      Avenue .

 6 Q.         Same question      concern ing Mr. Ha rris , George

 7 Harris .     Other than his trip s to Hayward          --

 8 A.         Yes , we did .

 9 Q.         Where ?

10 A.         We did surveillance      on Mr. Harris      at his

11 residence , and I believe         -- I would have to check the

12 report s, there was surveillance            done on him in

13 Washington , D. C.

14 Q.         Court 's indulgence , please .

15            You testifi ed earlier       today you thought       the

16 significance        of the discussion      between   Ms. Martin      and

17 Mr. Goodwin        related   to welfare    check s; is that correct ?

18 A.         Yes .

19 Q.         That 's because , for lack of a better           term ,

20 welfare     check s are sent out and cash ed , people          are

21 flush and have money to spend on whatever               they want to

22 spend money on ?

23 A.          It's a common      -- very common    in the drug trade

24 that people        want to sell the drug s at the beginning            of

25 the month because        of that , yes .




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 1 Q.        Mr. Harris    was employ ed , was he not ?

 2 A.        Yes , I believe    he was .

 3 Q.        Mr. Walker    was employ ed , was he not ?

 4 A.        I believe    he was .    I'm not as sure as I am with

 5 Mr. Harris .

 6 Q.        Let me ask you     a different    question .

 7 A.        Sure.

 8 Q.        Was either    one of them on welfare ?

 9 A.        I don't know .

10 Q.        Anybody   else related     to this case that you're

11 aware of on welfare ?

12 A.        I have no idea if any of her customers           or

13 anybody     in this case was get ting assistance .

14 Q.        Court 's indulgence , please .

15           Do you recall     the words "entertain ment attorney "

16 cross ing Ms. Martin 's lip s during        the time of the

17 wiretap ?

18 A.          Yes .

19 Q.        Do you recall     her referring    repeat edly to

20 need ing an entertain ment attorney ; correct ?

21 A.        Yes .

22 Q.        She was   speak ing to    an entertain ment attorney ;

23 correct ?

24 A.        Yes .

25 Q.        And meet ing an entertain ment attorney ; correct ?




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 1 A.       Yes .

 2 Q.       Did you ever follow          her to any of those

 3 meet ings ?

 4 A.       No .     I should   say --

 5 Q.       I'm sorry ?

 6 A.       I do not belie ve so .         It 's possible    we did , but

 7 I do not believe       we did .

 8 Q.       Do you know which entertain ment attorney             or

 9 attorney s she met with ?

10 A.       We identifi ed the attorney .         I don't remember

11 his name as I sit here .          I'd have to look back at the

12 call s and log s.

13 Q.       Would the name       Spencer    Boyer ring any bell s?

14 A.       Yes , it does , and that could be the name that

15 sounds   familiar .

16 Q.       Court 's indulgence .

17          Page 17 of the A log .          Refresh   your

18 recollection , if I could .

19 A.       Sure .

20 Q.       Taking     a look at the log .      This would assist      you

21 in recall ing ; would it not , sir ?

22 A.       Yes , it would .

23 Q.       See the highlight ed call there ?

24 A.       Yes .

25 Q.       Can you give the ladies and gentlemen of the




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 1 jury the date and time      of the call ?

 2 A.      The date was March 18 , 2004 , at 5:49 p.m.

 3 Q.      And the number      of the call from the A line ?

 4 A.      She received     an in comi ng call from (240)

 5 535-0666 .

 6 Q.      The A number ?

 7 A.      Oh , (20 2) 27 7-817 7 is the A line .

 8 Q.      It 's identifi ed as Call A301 ?        I'm not asking

 9 the question s very well .      I'm sorry .

10 A.      That 's correct .

11 Q.      When we're talk ing about this call , we can refer

12 to it as A301 ?

13 A.      Sure .

14 Q.      And A301 is not in the book ; correct?             It's in

15 Volume Book 1 on March 19 ; is that correct ?

16 A.      Correct , probably , yes .

17 Q.      March 18 , I'm sorry , and she reference s an

18 entertain ment attorney     by the name of Spencer         Boyer and

19 give s his phone number ; correct ?

20 A.      That 's what the synopsis       reflect s.

21 Q.      You've review ed these synopses         to insure    they

22 are , reasonably    speak ing , accurate;     corr ect ?

23 A.      Yes .

24 Q.      There are place s in the log s where you have

25 correct ed thing s that you think are in correct ?




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 1 A.         Yeah .    We will put a note in there if we think

 2 the monitor       has made a mistake in the synopsis       .

 3 Q.        Wrong name and wrong time ?

 4 A.        Correct.

 5 Q.        In fact , you put your name after that note that

 6 says "case agent ;" correct ?

 7 A.        That 's correct .

 8 Q.        While we're talk ing about entertain ment

 9 attorney s -- that 's on March 18 -- I'd like you to

10 turn , if you could , please , to Page 560 , which I

11 believe   has been -- no , excuse       me , Book 2, Volume      II,

12 Page 39 9.    It 's Call B4562 ; correct , sir ?

13 A.        Yes .

14 Q.        And you recall      that in Call B4562 -- what 's that

15 date , if you could ?

16 A.        That was on April 27 , 2004 , at 12 :39 p.m.

17 Q.        In that call , Ms. Martin      refer s to her

18 entertain ment attorney       again ; correct ?

19 A.        Yes , she does .

20 Q.        That 's five week s after the March 18 call ;

21 right ?   More than five week s?

22 A.        Maybe six week s, yes .

23 Q.        Maybe six week s.      I'd like you to turn to Page

24 516 in Book 3.

25           Can you give the ladies and gentlemen of the




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 1 jury the date and time of the call ?

 2 A.         Call A17 31 was intercept ed on May 19 , 2004 , at

 3 10 :51 a.m.

 4 Q.         In that call , there 's a reference         to the

 5 "entertain ment attorney ?"

 6 A.         Yes , there is .

 7 Q.         And that 's three week s after the call on Page

 8 39 9; right ?       The April 27 call ?

 9 A.         Yeah .    About three week s, yes .

10 Q.         Last , I invite     your attention    to Page 599 , which

11 is Call B7815 .        Do you see that , sir ?

12 A.         Yes , I do .

13 Q.         Date and time      of the call , please ?

14 A.         Call B7815 was intercept ed on May 26 , 2004 , at

15 12 :19 p.m.

16 Q.         Is there a     reference   to an entertain ment

17 attorney     in that ?

18 A.         Yes , there is .

19 Q.         That 's six day s before     the raids ?

20 A.         About that , yes .

21 Q.         Without    be labor ing the obvious .      There is a huge

22 number    of call s in the log s where Ms. Martin         discuss es

23 musical    act s; is that a fair statement ?

24 A.         That is a fair statement .

25 Q.         The one musical      act who come s up most often




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 1 would be Aretha         Franklin ; correct ?

 2 A.         I haven't     quantifi ed it , but it would n't

 3 surprise     me, because     she talk ed about Ms. Franklin           a

 4 lot .

 5 Q.         You didn't count, and          I'm not sure     I recall   from

 6 my count .     How about she come s up very often ?

 7 A.         That is correct .

 8 Q.         Other musical     acts come up ; is that correct ?

 9 A.         Yes .

10 Q.         They are musical      act s, which , for lack a better

11 term , an African-American         woman in her 50s might be

12 interest ed in ; is that a fair statement ?

13 A.         I would have no idea      about that .

14 Q.         There are no country      an d western        act s; right ?

15            MS. JOHNSTON:       Objection .

16            THE COURT:      Over ruled .

17            BY MR. MONTEMARANO :

18 Q.         No Garth Brook s?

19 A.         I hate to say it , but I guess I'm get ting old .

20 I was not familiar         with all the act s, so I am not

21 familiar     with their special ty of music .            I am familiar

22 with Ms. Franklin .

23 Q.         I'm afraid     we might be of the same generation ,

24 Sergeant     Sakala .

25            With some of the other acts, if you recall,




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 1 Beyonce ?

 2 A.       Yes , that was mentioned.

 3 Q.       R. Kelly ?

 4 A.       Yes .

 5 Q.       Oh, heavens,     I'm having    trouble    remembering    some

 6 of the other s.       Alicia Keys.     In fact , she 's mention ed

 7 in one of the book s; isn't she ?

 8 A.       That 's correct .     I don't know     if she was

 9 mention ed as part of the music act s, but she could have

10 been .

11 Q.       Well , there are lot s?

12 A.       There are lo ts of them .

13 Q.       There 's so many , you can't name them all ; is

14 that correct ?

15 A.       Not without     going through     and maki ng a list ,

16 that 's correct .

17 Q.       That would be something        you might expect       to see

18 if someone       was involve d in legitimate      commerce

19 involving    the music industry ?

20 A.       Yes , I would say that 's possible .

21          MR. MONTEMARANO :      Your Honor , if we could .

22          THE COURT:      Oh, that 's right .      Yes .

23          Ladies and gentlemen      , we're going to take our

24 recess   now .     I have some matter s to attend         to that are

25 going to take a little       bit long er than normal , so I




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 1 will see you back here at 2:30 .

 2                    (Off the record          at 12 :59 p.m. )

 3            THE COURT:       Counsel , I will see you back here at

 4 2 o'clock .      I n connection        with the 2 o'clock :        Ms.

 5 Johnston , I would like most to hear from you on the

 6 photograph       question    about the dead pig .

 7            MS. JOHNSTON:           Your Honor , certain ly I think

 8 when the Court hear s the circumstance s and why it 's

 9 relevant    --

10            THE COURT:       No .     make sure you -- the dead pig

11 stands    in a different       category       than the gun being

12 point ed at the dead pig .

13            MS. JOHNSTON:           Your Honor , perhaps       the Court

14 would also -- I'd like to              refer the Court to the Fourth

15 Circuit    decision     in United         States   versus    Grimmond    --

16            THE COURT:       Wait a minute .         You're    going too

17 fast for me.        All right .

18            MS. JOHNSTON:           G R I M M O --

19            MR. MITCHELL:           I'm sorry I can't hear .

20            MS. JOHNSTON:           I will give you the cite , Mr.

21 Mitchell .       It's at 137 F.3d 823 .            It's not about

22 photograph s, but it 's about evidence                that the defendant

23 had shot two individuals             --

24            THE COURT:       All right .

25            MS. JOHNSTON:           -- which was determine d to be




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 1 admissible .     It's 137 F.3d 823 .            The defendant 's la st

 2 name is Grimmond , G R I M M O N D, but we will explain

 3 the circumstance s to the Court .               The Court does n't have

 4 those circumstance s in front of it .

 5            THE COURT:      I already     have pull ed the Ham m case

 6 and the another      one I opened        up , the US v. Rose , which

 7 I have from the First Circuit                that's cited --

 8            MS. JOHNSTON:      Your Honor,        I would also suggest

 9 that the Court also look             at --

10            THE COURT :     You're     going too fast .

11            MS. JOHNSTON:      The Van Meter case , a Fourth

12 Circuit    case that goes to , I guess what counsel                 is

13 call ing this other crime s evidence,                 although   I don't

14 think this is another         crime necessarily           because   you may

15 be able to shoot a pig on your own property , but the

16 Powers case having         to do with limited           instruction s, the

17 case s that he cite d.

18            THE COURT:      All right .        We will look at the

19 case s that they've        cite d.

20            MS. JOHNSTON:      I may have        some other case s.

21            THE COURT:      All right .

22            MR. MITCHELL:      Another        issue,    Your Honor .      I

23 understand     that the government            intends    to bring this

24 evidence    in between      our cross-examination           of Detective

25 -- Sergeant     Sakala .




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 1           THE COURT :    Mr. Mitchell , Mr. Montemarano        is

 2 going to turn into a pumpkin         right in front of us .

 3           MR. MONTEMARANO :     I've got another      couple   of

 4 moment s, Your Honor .      I'd like to hear this .

 5           THE COURT:     All right .    I didn't    want to cut you

 6 off .

 7           MR. MITCHELL:      I would just note an objection         to

 8 that , because    I think it would draw --

 9           MS. JOHNSTON:      Mr. Mitch ell, let me interrupt

10 you .    I don't inten d to interrupt       the cross-examination

11 to put on the detective .        Had he been here when we

12 finish ed our direct , I would have put him on then .

13 Since you're     in cross-examination     , you're    going to

14 finish    your cross- examination , and so if that 's the

15 issue --

16           THE COURT:     Counsel , I will     see you at 2

17 o' clock .

18                  (Off the record       at 1:02 p.m. )

19                  (On the record      at 2:06 p.m. )

20           THE COURT:     Mr. Montemarano , are you and Judge

21 Blake all resolve d?

22           MR. MONTEMARANO :     Copasetic .

23           THE COURT:     All right .    Mr. Mitch ell , I have

24 your motion .     Your client    is charge d with a firearm s

25 violation ; correct ?




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 1            MR. MITCHELL:     That 's correct .

 2            THE COURT:     What is your objection        to these

 3 picture s?     I've got your motion , but do you want to add

 4 anything ?

 5            MR. MITCHELL:     Well , Your Honor , I don't want to

 6 add too much more to this , but the objection              is the

 7 un fair prejudice       that the picture s depict       depict ing the

 8 shoot ing of a pig is going to have on a jury when

 9 they're     eval uating   whether    Mr. Bynum is guilty      of the

10 drug offense     and also the felon in possession .            And in

11 addition     to that , it 's cumulative      evidence    because    they

12 already     have --

13            THE COURT:     Is not it power ful evidence        of the

14 crime with which he stands           charge d; i.e., possession        by

15 a felon ?     It does n't show the felon part , but it show s

16 the possession ; correct ?

17            MR. MITCHELL:     Correct .     So is the gun and the

18 ammunition     that they are going to introduce , and that

19 is all too power ful when they're           going to hold this big

20 gun up with     the ammunition       and perhaps   even put it near

21 or in the juror s' hands .          That 's extreme ly pow erful .

22            THE COURT:     How does the government        --

23            MR. MITCHELL:     This is un fair --

24            THE COURT:     How does the government        contend    with

25 an argu ment that you might make that , well , they may




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 1 have found this gun here , but he didn't           know it was

 2 there or it was somebody        else 's gun an d on and on and

 3 on ?    This is something     that connect s your client       to the

 4 gun ; isn't it ?

 5            MR. MITCHELL:     That argument     is going to be

 6 there irregardless       of the picture s, but the pictures

 7 create    an emotional     response   by the jury , not response

 8 of determini ng whether       or not the gun was actual ly in

 9 his house , but how dare someone         shoot a pig .

10            THE COURT:    Well , it is power ful evidence       of his

11 actual    possession    of a firearm ; isn't it ?      As opposed

12 to --

13            MR. MITCHELL:     Not necessarily .

14            THE COURT:    As opposed    to circumstantial

15 evidence    of possession     of a firearm .

16            MR. MITCHELL:     Not necessarily .      I don't know    if

17 you've    seen the picture s.

18            THE COURT:    Yeah , I have .    I have them right in

19 front of me .

20            MR. MITCHELL:     It does show him with an object

21 in his hand .      It does appear     to be a gun , but there 's

22 -- I don't know      that the government       is going to tie in

23 that object     in his hand to the gun in this case .

24            THE COURT:    Well , let me --

25            MR. MITCHELL:     They can't even tie that in to




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 1 this -- these picture s being taken after his conviction

 2 in 19 99 .     I think there 's a number     of issue s, but the

 3 biggest      issue that I have is a picture       of the dead pig ,

 4 which appear s to be a shotgun          wound to the head .

 5 That 's going to evoke a very emotional           response    by the

 6 jury , which is going to be un fair ly prejudicial            to Mr.

 7 Bynum .

 8           THE COURT:     All right .     Let me do one thing so

 9 we can all be talk ing on the same page .

10           Ms. Johnston , these picture s.        You 've again

11 given these to me .       Are those the originals       you int end

12 to offer ?

13           MS. JOHNSTON:      Those are the originals.         They

14 were re covered     from Mr. Bynum 's house on or about June

15 1st 2004 dur ing the execution          of the search   warrant , at

16 the same time as a 9mm Glock handgun           was re covered    from

17 that house .

18           THE COURT:     Before you go further , I want to

19 make sure the record       is clear .     I have in front of me

20 five picture s, and I'm going to put a little             mark on

21 the back of them and you can put them more

22 appropriately      when we're done , but I need to label

23 them .    How do you intend     to label these as exhibits?

24           MS. JOHNSTON:      Your Honor , we had labeled       them

25 Government 's Exhibit      Bynum -3 .




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 1           THE COURT:     It 's Bynum -3.    So it would be , like ,

 2 A, B, C, D, E?

 3           MS. JOHNSTON:      We could do it that way , Your

 4 Honor .

 5           THE COURT:     I'm going to label as A -- let me

 6 ask you this .     They appear     to be five picture s, two of

 7 which are duplicate s of each other .          So , this is really

 8 a grand total of three picture s.           Would you agree that

 9 that 's the case ?

10           MS. JOHNSTON:      I don't have     the original s in

11 front of me .     My copies    look as though     that may be the

12 case .

13           THE COURT:     What I would intend      to do , because       I

14 don't want to have potential ly cumulative            evidence   in

15 front of the jury , only one of these would be proper .

16 If there 's two of them , I think -- I think you should

17 only get one .     You have the agent testify         that there

18 were two copies      of it , but I don't want to let them

19 think that , oh my gosh , this guy took four picture s of

20 something    as opposed    to two .

21           MS. JOHNSTON:      I understand .

22           THE COURT:     The first thing I'm going to do is

23 I'm -- there 's a picture       from far away of him aim ing a

24 gun at a pig .

25           MS. JOHNSTON:      Yes , Your Honor .




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 1          THE COURT:      There 's two versions      of that .     I'm

 2 going to label them A and B.          Then C and D I'm go ing to

 3 label as the one s where it is just show s his shirt and

 4 the gun aim ed at a pig .

 5          MS. JOHNSTON:       I think I'm put ting them --

 6          THE COURT:      I'll make that C an d D.

 7          MS. JOHNSTON:       Okay .   I think I have     two of them

 8 on the screen , Your Honor .

 9          THE COURT:      Then E is the picture       of the dead

10 pig .

11          MS. JOHNSTON:       I have   the two here .     The bottom

12 one on the screen      would be the one the Court 's mark ed

13 as A and B, and the top one is the one the Court 's mark

14 as C and D; is that correct ?

15          THE COURT:      The top one I've labeled        C and D,

16 an d the bottom    one A and B.

17          MS. JOHNSTON:       Then the last one ?

18          THE COURT:      The last one of the dead pig is E.

19          All right .     Tell me why all of them are

20 appropriate    to be admitted .

21          MS. JOHNSTON:       Your Honor , as I said , these

22 picture s were re covered      from Mr. Bynum 's residence        at

23 the same time that a 9mm , load ed Glock handgun            was

24 re covered .   What is important      to note is the

25 government , in the picture , also appear s to be a




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 1 semiautomatic     weapon       consistent   with the appearance         of

 2 a 9mm Glock .     So, it 's --

 3            THE COURT:      Would there be testimony       to that

 4 effect ?

 5            MS. JOHNSTON:        It would be something     you could

 6 observe     if you saw the gun .       I don't know     that I'm

 7 going to ask the search           agent if it appear s to be a

 8 same or similar        gun .    There might be objection s to that

 9 question .     At any rate , Your Honor , the defendant            is

10 charge d with two gun violation s.            One is a possession

11 of the firearm        as a convict ed felon , and the sec ond

12 count is that he possess ed that firearm              in furtherance

13 of the drug conspiracy .

14            In this case DNA was done on that gun and there

15 was no DNA found that match ed Mr. Bynum 's .             Defense

16 counsel , I believe , intends         to argue there aren't        any

17 fingerprint s and there aren't          -- there isn't any DNA

18 found on the weapon .           Clear ly -- and we suggest ed to

19 defense     counsel    that the government      would be willing

20 not to ad mit pic ture s if the defendant          and his counsel

21 were willing     to stipulate       that he own ed and possess ed

22 that firearm     and knew how to fire it .         Counsel      and his

23 client     have every right to , and they've          refused    that

24 offer of a stipulation .           Therefore , it is the

25 government 's position          that these picture s are certainly




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 1 relevant    evidence     and extreme ly important       evidence    to

 2 show that Mr. Bynum possess ed a firearm           and, in deed ,

 3 that he knew how to operate         the firearm , which is

 4 important    in term s of the 924 (c ) count , which charge s

 5 that he possess ed it in furtherance           of the drug

 6 conspiracy .     It's certain ly evidence       that he knew how

 7 to dis charge    a firearm    is relevant    in term s of whether

 8 or not   he possess ed it in furtherance         of the --

 9            THE COURT:     Tell me about the     pig .

10            MS. JOHNSTON:     The pig ?   That show s he know s how

11 to use the gun .        You look at the picture s in sequence

12 and you can tell that Mr. Bynum , from           those picture s --

13 they establish     that he not only possess ed the gun but

14 knew how to use it , which is        extreme ly important      in

15 term s of the 924 (c) count .

16            Furthermore , the Court can give a curative

17 instruction     -- limiting    instruction     tell ing them that

18 they can -- what the limited         purpose    of the evidence          is

19 and that they should        not be influenced     by the nature          of

20 the picture .     The Court give s limiting       instruction s all

21 of the time .     We cite d the Grimmond       case to the Court ,

22 which was not a photograph         case but was a case where

23 evidence    of actual     shoot ing s was ad missible     to show

24 that the defendant        possess ed the firearm     in a 922 (g)

25 case .   The Court allow ed evidence        of actual     shoot ings




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 1 by the defendant       -- un charge d shoot ings by the

 2 defendant    on other occasion s, to show             that he possess ed

 3 a firearm    in violation        of 922 (g ) here .

 4            Here we don't have him pointing             the gun at any

 5 individuals .       Here we have him in photograph s depict ed

 6 using the firearm , which show s his knowledge               of

 7 weapon s, his possession          of a weapon    similar    in

 8 appearance     to the one that the jury is going to see ,

 9 which was seize d from his house , and also that he knew

10 how to use the weapon , which is significant                in term s of

11 the -- it might not be significant              in term s of the

12 922 (g) charge , but is certain ly significant              in provi ng

13 that he was possess ing a gun in furtherance                of a drug

14 conspiracy .

15            I appreciate    Mr. Mitchell 's concern .         We did

16 give them the alternative .            The Court can give a

17 limiting    instruction , which has work ed in case s with

18 more egregious -type evidence , such as Grim mond an d such

19 as United    States     versus    Van Meter where evidence          of

20 another    sexual    assault     was introduced .       The notion       of

21 the prejudicial        effect    of this picture       can certain ly be

22 cured and has repeat edly been cured in other case s by a

23 limiting    instruction     given by the Court .

24            We should    be able to refute       an argument       that

25 they didn't     find his fingerprint s on the gun .               They




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 1 didn't    find his DNA on the gun because            there will be

 2 evidence    that there was DNA found on , I believe , Ms.

 3 Dobie 's -- one of her firearm s.           We ought to be able to

 4 refute    it .    These are picture s from his house in his

 5 possession       an d we think it 's proper ly admissible .

 6            THE COURT:     All right .     Mr. Mitchell .

 7            MR. MITCHELL:     Simply     because    the government

 8 will have some difficulty        in provi ng their case does n't

 9 mean that they then have a blank check to bring in any

10 evidence    however     objectionable , however       prejudicial       to

11 what .    So what they're     suggesting     is , if they're       having

12 a little    trouble     or the defense     is going to raise some

13 argument , then they can bring whatever              they want .      As

14 far as    I know , there 's no case anywhere          that 's going to

15 suggest    that they have a right to do that .

16            These picture s are high ly prejudicial            because

17 they'll    evoke an emotional      response       by the jury which

18 will cause them to act in an ir rational              manner , not

19 look ing at the gun itself       and thinking        whether    or not

20 he has the ability        to fire it or possess        it .    They're

21 going to be thinking        about a dead pig as defense less ,

22 and who know s who on the jury is very emotional                 to

23 that .

24            There are a lot of people        who will find any

25 kill ing of an animal       very , very difficult       to deal with .




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 1 These picture s are just not simply           show ing my client

 2 knows how to fire a gun .        It 's to evoke an emotional

 3 response     in order    to get a conviction       and it has

 4 nothing     to do with whether      or not they have a good or

 5 bad case .

 6            MR. MARTIN:     Your Honor , I don't really         have a

 7 dog in this fight , but I'd like to make some comments

 8 on this .

 9            THE COURT:     Make them quick ly , because     I've got

10 other thing s to do between         now and 2:30 .

11            MR. MARTIN:     Really fast here .       I've look ed at

12 the motion .     I haven't    stud ied this     in de tail , but it

13 seem s to me , with respect      to the time frame , the

14 government     has a problem .      I don't know     how the

15 government     is going to prove that he had this weapon

16 prior to the conviction .

17            Second , with respect     to use .    I'm not sure use

18 is even relevant        under 922 (g) ; and third , this business

19 about a curing     in struction .     You know , whenever       I hear

20 the government     say that , I can't help but think of            the

21 Wizard of Oz when they finally          see the man be hind the

22 curtain     and he says ignore      that man be hind the curtain .

23 Nobody    is going to do that .

24            As a practical    matter , and to avoid an appellate

25 issue , I think the Court should         err on the side of the




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 1 defendant     on this one and certain ly not let in the last

 2 picture     of the   dead pig with the blood , because            that

 3 does n't do anything       but appeal    to the emotion s of the

 4 juror s.     I think Mr. Mitchell       has a good argument         on

 5 the evidence       as well , Your Honor :      Fairness    dictate s

 6 that that not come in .

 7            MR. MCKNETT :    Your Honor , if I may be heard very

 8 brief ly on behalf      of Ms. Ali .     I object    to these

 9 picture s, particular ly the last picture            of the   dead

10 pig , because      of the un fair spill over effect        that

11 picture     may have   on Ms. Ali and the other defendant s.

12            First , the government      has n't been able to

13 establish     it 's a real gun in the picture ; second , they

14 can't prove when the picture s were taken .               If the

15 picture s were not taken before          Mr. Bynum 's conviction ,

16 then they're       irrelevant   to the felon in possession

17 charge .     By allowing    the government      to bring the

18 picture s in now , the Court is allowing            the government

19 -- is not requiring        the government      to prove every

20 element     of the crime , which is possession         of a handgun

21 after a felony       conviction .    They're    now shifting       the

22 burden     of proof to the defendant        to show that the

23 picture s were taken before         the conviction     for a felony .

24 For those reason s, I believe          the picture s should        not be

25 brought     in .




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 1            MR. MONTEMARANO :    I join Mr. McKnett        in as much

 2 as my client     is on the phone with Mr. Bynum more than

 3 anyone    else , and I'm sure there will be evidence              that

 4 her daughter     was romantically        involve d with Mr. Bynum .

 5 I think the spill over effect           is all greater    with

 6 respect    to Ms. Martin .

 7            Furthermore , I don't think       the government       can

 8 meet the evidentiary        burden    that it has to sustain           to

 9 admit any photograph , and tha t is does this picture

10 fair ly represent       the event s in question       on the day and

11 time .    They can't place it time -wise .           They can't say

12 who fire d the gun .       It's a pose d photograph .       One only

13 needs to remember        the famous     photograph    of Pat ty

14 Hears t, which we later learn ed was her in a bank

15 carry ing an empty AK-47 .       Same problem .

16            THE COURT:     Ms. Johnston .

17            MS. JOHNSTON:     I think all the reason s why we

18 need the dead pig picture        is because     counsel    is now

19 argui ng we can't show that 's a real gun .             That 's what

20 these picture s show .       Whether     it happened    before    or

21 after his conviction        is irrelevant .     These picture s are

22 relevant    to show his knowledge , his possession , his

23 ability    to possess     a firearm .     It is particular ly

24 relevant    in this case because         the argument    is going to

25 be made no finger prints       or DNA on the gun .




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 1            Furthermore , this Fourth Circuit -- whether

 2 counsel    like s it or not , the Fourth Circuit          in much

 3 more egr egious    case s than this , have said that an

 4 instruction     -- a limiting     instruction      to the jury is

 5 adequate    to address     any potential     prejudice , and I cite

 6 the Grimmond     case which was ex -- more prejudicial              than

 7 these picture s, I think all the government 's evidence ,

 8 quite frankly , was prejudicial , but there was actual

 9 evidence    of shoot ings on other occasion s.

10            And in Van Meter , of other sexual          assault s -- of

11 a sex ual assault       on a different    occasion , and the Court

12 has repeat edly held that cautionary             instruction s

13 general ly obviate       any such prejudice       in reference     to

14 such evidence .      And counsel , quite frankly , has n't

15 cite d a case for the Court that says that a curative

16 instruction     was not sufficient .       So I would ask the

17 Court to ad mit the       photograph s as -is .

18            THE COURT:     All right .    Well --

19            MR. MITCHELL:     I prom ise to       be real brief .    The

20 government    cite s the Grimmond       case .    Grim mond case is

21 not applicable .        It does n't even deal with photograph s.

22 It 's 404 (b) evidence .

23            THE COURT:     It does deal with the same rule .

24            MR. MITCHELL:     It deal s with the same rule , but

25 it 's not photograph s the jury is going to look at .




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 1 There was no photograph s of dead people           that they were

 2 going to be using .        It was evidence    of 404 (b) prior

 3 act s.    So the Grimmond     case does not assist       the

 4 government     in any way .

 5           THE COURT:      All right .    With regard    to the five

 6 photograph s that are before        me , which I have labeled

 7 and we will follow        this label ing A, B, C an d D, and E,

 8 the A and B are duplicate s, so I will consider                them to

 9 be a single     picture    and deal with them as a single

10 picture .     The same thing with C and D.

11           The question     before   me require s application       of

12 Rule 40 3, and I conclude       that all of the picture s are

13 of prob ative value .       The fact is that all of these

14 picture s create     some prejudice .      The question    under the

15 rule is whether      the prejudice      is un fair , and I have to

16 make a bal ance between       the probative    value and whether

17 it 's substantially       outweigh ed by the danger      of un fair

18 prejudice .

19           I conclude   that with regard       to these picture s

20 that there is a danger        of un fair prejudice      that

21 outweigh s the prob ative value with regard            to the

22 picture     of the dead pig , and this could certain ly raise

23 passion s and emotion s about those who don't like

24 cruel ty to animal s and thing s of that nature .

25           I do not find that to be the case with the




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 1 photograph s A through        D, but I don't want the jury to

 2 be given four copies        of two picture s, so I will admit A

 3 and C, I guess , and hold back B and D.               Yeah , it will

 4 be A and C come in , B and D should              not come in in term s

 5 of these original        photograph s.

 6            With respect     to them , however , I won't preclude

 7 the government     from eliciting        testimony    from a seizi ng

 8 agent or whoever        -- however    these are going to come in

 9 that there were two copies           of them locate d.      There

10 should    be no reference      made to the picture       of the dead

11 pig .    So that is my ruling        on that .

12            Let me deal with the grand jury question .               I

13 have conduct ed my gatekeeper          function     of re view ing the

14 redact ed transcript s.        I'm not quite sure how best to

15 bring this about .        I have not found anything         in the

16 category    of a smoki ng gun that will sudden ly cause

17 somebody    to reject     all of Detective        Sakala 's testimony .

18 Nothing    close to that .      There are some redaction s that

19 I think should     be un- redact ed .      Do you all have your

20 grand jury transcript s in front of you ?

21            MR. SUSSMAN :     Will you refer to them by date ,

22 sir ?

23            THE COURT:      Yes , I'm going to .      The first I'm

24 referring    to is May 5th , 2004 .

25            MR. MITCHELL:      Your Honor , may I take a moment




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 1 to grab my --

 2            THE COURT:     Sure , go ahead .

 3            MR. MITCHELL:     You can continue .

 4            THE COURT:     I should   direct    your attention       to

 5 Page 65 .     There is language      at the top of that page

 6 that start s with someone 's mess ing with their car .               I

 7 think on further        reflection , the government     might have

 8 perhaps     want ed to redact   that as well , but just so you

 9 won't be in complete        suspense , it has to do with GPS

10 track ing , and there 's going to be no testimony             of that

11 in this case .

12            MS. JOHNSTON:     I don't anticipate      any .

13            THE COURT:     Nor was there any from Detective

14 Sakala , so I want you to know that was the last part of

15 some stuff that was redact ed that should            have been

16 redact ed as well , so I don't have           any problem    with

17 that .    That 's all I have in that volume .

18            The next one I have is May 19 , and I have no

19 concerns     with the redaction s in that volume .

20            The next volume    is in the volume      for January          19 ,

21 2005 .    This is the first time that a problem             occur s all

22 over the case in one of the later transcript s.                The

23 question     is delete d that ends on the top of Page 6, and

24 I see no way for the defense          to proper ly understand

25 these answer s without       get ting the question s.        Somebody




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 1 did a lot of deletion s of question s and put it this

 2 way .

 3            You recall   we had a debate        about Kevin Scott

 4 talk ing to   Paulette    Martin    and the government        very

 5 apt ly said , we have to have context            from the two sides

 6 of the conversation .       I don't see how you cannot            have

 7 the question s, so the question , if counsel              want s to

 8 listen   to me , which begin s --

 9            MR. MONTEMARANO :      Excuse     me , Your Honor .

10            THE COURT:    -- bottom        of Page 5.

11            MR. MONTEMARANO :      What page are we on ?

12            THE COURT:    Bottom    of Page 5, top of Page 6.

13 You will see that your redact ed version               at the top of

14 Page 6 has , "traffic king offense s? "           C orrect?

15            MR. MONTEMARANO :      Yes .

16            THE COURT:    You don't have the question .            The

17 question    begin s on the previous         page , and it is --

18 listen   care fully -- and wh at I'll probably            need to have

19 the government     do is to supply         these page s without

20 these redaction s that I'm put ting back in .

21            MR. MONTEMARANO :      Your Honor , I don't see your

22 reference .     You're on Page 5, going on to Page 6?

23            THE COURT:    Page 5 should        be blank in your

24 version , all right ?

25            MR. MONTEMARANO :      Which date is this again ?




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 1            THE COURT:     The date is January          19 , 2005 .

 2            Are you with me now ?

 3            MS. JOHNSTON:       The Court is refe rring to            the

 4 question     at the   bottom    of the page .

 5            THE COURT:     The bottom       of Page 5 has the

 6 beginning     of the question      that ends , and you do see the

 7 en ding of it on the top of Page 6; correct ?                 The

 8 question     is -- I'll read you the question             so it will

 9 now make sense .

10            Question :    In connection       with your train ing and

11 experience , do you have experience                in narcotic s?

12            And then it goes to next page where you have ,

13 trafficking     offense s?

14            All right .    Later on Page 35 , for some reason ,

15 part of a question        is in here but not the rest of it .

16 What you have begin s on Line 12 with other agent s in

17 this case .

18            MS. JOHNSTON:       What page are you on ?

19            THE COURT:     Page 35 .    The rest of the question ,

20 which is not terribly          momentous    is :     Now , jumping    ahead

21 to the for feiture       allegation s in the indict ment .            Did

22 you , along with the other agents in this case , estimate

23 how much in dollar        value the proceeds          of the drug s

24 which you believe d -- and that 's the rest of the

25 question .     All right ?      I have nothing        else in that




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 1 volume .

 2            In the transcript       of September   21 , 2005 , there

 3 are some page s from my transcript            that are complete ly

 4 miss ing .     I don't know      whether   they -- it was just a

 5 bad copy job or whether           they were delete d, but the

 6 page s that I do not have at all , and I don't know

 7 whether      defense   counsel    has them at all are 25 , 27 , and

 8 31 .   If you have them --

 9            MR. MONTEMARANO :       No .

10            THE COURT:     I don't .

11            MR. MITCHELL:      No , we don't .

12            THE COURT:     Ms. Johnston .

13            MS. JOHNSTON:      Did the Court have them in the

14 original ?

15            THE COURT:     Yes .    So I don't know .    And whether

16 they -- whether        you intend ed to redact     the whole page

17 --

18            MS. JOHNSTON:      Yes, sir .

19            THE COURT:     You did ?

20            MS. JOHNSTON:      Yes, sir .

21            THE COURT:     Well , then , I may need to take a

22 look at those page s then .          Wait a minute .   What was the

23 pages of redaction        of all of Page 25 ?

24            MS. JOHNSTON:      Your Honor , because     they don't

25 concern      charge s against     any of these defendant s.     It's




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 1 discussing     the evidence        as to Ms. Levi and Ms. Johnson .

 2            THE COURT:      All right .       Page 27 .   Let me take

 3 look at that .

 4            MS. JOHNSTON:       Again , Page 27 is not an event

 5 that Detective        Sakala   gave testimony      about .   That was

 6 evidence     about Mr. Martin        provided    by somebody      else .

 7 Detective     Sakala    didn't     testify   concern ing that

 8 incident .

 9            THE COURT:      All right .       And the basis for the

10 government 's deletion         of Page 31 ?

11            MS. JOHNSTON:       Your Honor , I don't have          any

12 problem     with dis closi ng Page 31 , given the bottom

13 portion     that talk s about Mr. Bynum .          That should      have

14 been included .        I think it 's redundant        to what's     said

15 later , but we will provide           them a copy .

16            THE COURT:      Page 31 , just so you can be re ady to

17 continue     your -- I'll read it to you .            It's not that

18 long .    It begin s at the top with that Ms. Levi was

19 bring ing ticket s/heroin          for Mr. Martin .      Excuse    me .

20 Ms. Levi was bring ing the heroin             for Mr. Martin .

21            Question :     Okay .    And again , the reference           was

22 to 12 ticket s; is that correct ?

23            Answer :     That 's correct .

24            Question :     And the ticket s, again , would refer

25 to what ?




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 1            Answer :     That would be 12 grams of heroin .

 2            Question :     Now , if we could turn to Count 18 and

 3 Defendant     Claude     Arnold   on April 7, 2004 , and the

 4 telephone     number .     Is that the same residential

 5 telephone     land line for Mr. Martin ?

 6            Answer :     Yes , it is .

 7            Question :     What cause does that refer to ?

 8            Answer :     Around this date , we had intercept ed

 9 call s between    Ms. Martin       and another   customer     name d

10 Derrick     Bynum , and Mr. Bynum was complain ing about the

11 quality     of cocaine .       Crack cocaine   that he had received

12 from Ms. Martin        that he could n't sell it , it was of low

13 quality .     Mr. Bynum return ed the crack cocaine            to Ms.

14 Martin , and then Ms. Martin , instead           of return ing it to

15 her suppli er , turn ed around          and gave it to Mr. Arnold

16 to sell two eighth s of a kilo at $3,300 each.                 He

17 subsequent ly also complain ed about the -- and that 's

18 the end of the        page .

19            All right .     That 's all I have to ad dress in that

20 volume .

21            On February     1, 2006 , Page 12 , there 's a answer

22 with no question , so the question , counsel           is :

23            Question :     And why would n't you want him to know

24 he was under investigation           at that stage of the

25 investigation ?




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 1            That 's what's    miss ing , and I would ask that the

 2 government , when I'm finish ed with this , supply               re vis ed

 3 copies    of these page s to counsel       for the defense .

 4            All right .     The next page , Page 20 .        All the

 5 question s need to be put back in on this page .                 The

 6 question    on Line 11 of Page 20 is :           Question :    And if

 7 we could go to Count 6 and Count 7.               Are those -- are

 8 those also a call and a distribution              that are

 9 associate d with each other ?

10            On Line 20 , the question      is :    And what happen s?

11            On Line s 24 and 25 , the question        is :     Now , if we

12 could look at Count 8 and Count 9.               Are those count s

13 related    as well ?

14            On Page 21 --

15            MR. MCKNETT :     Your Honor , I apologize         for

16 interrupt ing , but I think at the top of Page 20 there

17 is a question     mis sing as well , Line s 1 and 2.

18            THE COURT:      Top of Page 20 ?      You're correct .

19 Yeah .    The question      is :   And if you could de scribe          the

20 call s that were inter cept ed that form the basis for

21 Count 4.

22            On Page 21 , at the top of the page , the question

23 on Line s 2 and 3 is :

24            Question :    If you could de scribe      for us the

25 evidence    in term s of Count s 8 and 9.




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 1            On Page 24 , there are -- the question                on Line 6

 2 is :     Count 11 ?     That 's the question .

 3            MR. MITCHELL:       Count 11 ?

 4            THE COURT:      On Line 9, the question          is :    Are you

 5 on Count 12 or Count 11?

 6            Answer :     Oh, I'm sorry .         There 's not much there .

 7            Line 16 goes on , and there 's just a colloquy

 8 about , where are you ?

 9            Question :     Okay .   Go to Count 12 .        I'm sorry .

10            MS. JOHNSTON:       Does the court want us to provide

11 an un- redact ed copy of that ?

12            THE COURT:      Yes .   Un -redact      that page .

13            MS. JOHNSTON:       Excuse    me ?

14            THE COURT:      Un-redact     that page .      That 's fine .

15 That 's fine .        See I'm pro ving to       you all   that I

16 actual ly did look at this .

17            All right .     On P age 33 there 's a question

18 miss ing at the        beginning   on Line 16 .

19            Question :     Now , if we could go to Count 16 ,

20 which , again , is a count from the previous                indict ment ,

21 and if you could summarize            Count 16 and Count 17 , which

22 go together .         I think you sort of touch ed on that , but

23 if you could discuss         those in a little         more de tail .

24            That 's the    redaction     that I think you ought to

25 have .




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 1            The next area is Page 42, beginning                on Line 3.

 2 There 's a question , answer , and question .              I'll read

 3 those to you :

 4            Question :       And the   next count , Count 24 , that

 5 happen s on May 11 between            Mr. Rile y and Mr. Mangual ?

 6            Answer :     Yes .

 7            Question :       Can you de scribe   that conversation ?

 8            On Line s 16 and 1 7, the question          is :     And Count

 9 25 , between    Mr. Mangual       and Donnell    Barry .

10            On Page 43 , the redact ed question          on Line 5 is :

11 And Count 26 , the May 13 contact            between    Mr. Mangual

12 and Mr.     Barber .

13            On Line 22 , the redact ed question          is :     And Count

14 27 .

15            On Page 49 , you were given part of a question ,

16 and the miss ing part that you did not get is this .                   The

17 question    was :     So that corroborate d his information ,

18 which is part of the information             that I have approve d

19 the redaction        of ?

20            Answer :     Yes .

21            Now , if we could turn to the for feiture

22 allegation s, and then it goes on in this instance.                    It

23 look s like the answer          there really    is a question .

24            MS. JOHNSTON:        I think , Your Honor , they add ed

25 the question        to the answer , yes , rather       than --




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 1           THE COURT :    That 's more of the question ?           Okay .

 2 So now you have all of t he question .           That 's all I have

 3 in that volume .

 4           I then run into a real train wreck with the next

 5 transcript .     April 12 has virtually       every question

 6 omit ted , and I can spend the rest of the afternoon                with

 7 the jury reading       those question s to you , but I did not

 8 see -- I saw a couple       of redaction s -- no .      I mean ,

 9 this is the transcript       I believe , Ms. Johnston , that

10 was the basis for the last sup erceding           indict ment that

11 relate s to this trial group ; correct ?

12           MS. JOHNSTON:      That 's correct , Your Honor .

13           THE COURT:     I didn't   see any -- let me take a

14 look .    It was almost    100 percent    was redaction      of

15 question s.

16           MS. JOHNSTON:      That 's correct , Your Honor ,

17 because    it 's the government 's position       that the

18 government 's question s, particular ly when they say ,

19 call ing your attention      to count such and such , was that

20 count such and such in the previous           indict ment has

21 nothing    do with --

22           THE COURT:     I know .

23           MS. JOHNSTON:      -- the detective 's answer s.          Nor

24 does it put it in context , quite frankly .

25           THE COURT:     I think it 's really     necessary       for




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 1 these people      to be fish ing anything       other than blind to

 2 know what the question         is that they're     reading    the

 3 answer s to .     I'll take one more look at this , but I

 4 don't believe      that there 's anything       in this transcript

 5 that was redact ed other than question s.

 6           MS. JOHNSTON:        Your Honor , that 's not correct .

 7 We redact ed Page 70 in this .

 8           THE COURT:     Let me take a look -- Page 70 ?

 9           MS. JOHNSTON:        Page 7-0, your Honor .

10           THE COURT:    T hat redaction       is okay .    I'm sorry .

11 That one is okay .

12           MS. JOHNSTON:        I don't know    about the rest of

13 them --

14           THE COURT:     It begin s on the bottom         of Page 69 ,

15 and that redaction      is approve d.

16           MS. JOHNSTON:        I just apologize .    I'm look ing at

17 our original      transcript , some of which still have the

18 redaction s in and some of which they 've re move d them to

19 make a copy for the Court yesterday .             The bottom    of

20 Page 69 was also redact ed .

21           THE COURT:     Yes -- no .       I said that was all

22 right .   If you let me know any other --

23           MS. JOHNSTON:        Page 64 .    There 's a redaction     at

24 the bottom      of Page 64 .

25           THE COURT:     Let me take a look .       Wait a minute .




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 1 That 's a question ?

 2          MS. JOHNSTON:       Yes, sir .

 3          THE COURT:      On 64 ?

 4          MS. JOHNSTON:       Sixty-four       look s to be a question

 5 at the bottom .

 6          MS. JOHNSTON:       Sixty-three,       we redact ed .

 7          THE COURT:      It 's a question ?

 8          MS. JOHNSTON:       Sixty-three,       we redact ed .    Has to

 9 do with Mr. Bynum 's criminal         history , which Detective

10 Sakala   didn't   testify   about here on Page 63 , so that

11 was redact ed .

12          MS. JOHNSTON:       Page 58 , we've redact ed .

13          THE COURT:      I think they -- it may be a close

14 call , but I think the redaction          on 63 should     be

15 un-redacted .

16          MS. JOHNSTON:       Excuse    me ?

17          THE COURT:      I think you should        give them Page

18 63 .   What was the other page ?         Page 58 ?

19          MS. JOHNSTON:       Page 58 , there 's a redaction         on

20 -- Your Honor , that , again , is the question            for sure on

21 Page 58 .

22          THE COURT:      It's what ?

23          MS. JOHNSTON:       It 's try ing to get to the same

24 spot in term s of the previous         transcript     that we were

25 referenci ng .




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 1           THE COURT:     I think they should      get the full

 2 page .

 3           MS. JOHNSTON:      You want them to have the whole

 4 page ?

 5           THE COURT:     Yes .   Are there any other areas of

 6 redaction     other than just question s being delete d?

 7           MS. JOHNSTON:      I don't know .     I don't know , Your

 8 Honor , because      -- let me look at Page 36 .       My paralegal

 9 is try ing to      find the redaction s in the redact ed copy ,

10 because    as I said --

11           THE COURT:     Page 36 .     I show that should      be

12 given to them , the redaction        on that page .

13           MS. JOHNSTON:      There 's a redaction     on that page ?

14           THE COURT:     Let me take a look at it again then .

15 I've look ed at it before .

16           MS. JOHNSTON:      That 's fine , Your Honor .       It goes

17 nothing    to the substance      of Detective    Sakala 's

18 testimony .

19           THE COURT:     All right .     If you can prepare         a

20 correct ed redact ed version       of this transcript        and

21 provide    it prompt ly to counsel      for the defense .

22           MS. JOHNSTON:      You want them to have everything

23 except    for --

24           THE COURT:     The ones I just told you were okay

25 to be redact ed .      They were the one s later on .




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 1            MS. JOHNSTON :    The last few page s that we

 2 discuss ed .

 3            THE COURT:     Near the end .      It was -- wait a

 4 minute .

 5            MS. JOHNSTON:     Just so the record      is clear , the

 6 Court didn't      find any substantive        materials    that were

 7 not redact ed .

 8            THE COURT:     No , no .     I don't find anything

 9 terribly    substantive     about what was done .         As I said , I

10 don't think     there 's any smoki ng gun s that I found , but

11 I did feel , in fairness , that to be reasonably

12 consistent     with what I said before         about the Kevin

13 Scott and Paulette       Martin    conversation , that they at

14 least ought to know what on earth the question                is .   But

15 all the other redaction s are approve d.

16            All right .    Are we      ready for the jury ?

17            MR. WARD:     If I may say something      on behalf       of

18 all counsel ?

19            THE COURT:     I can't hear you , sir .

20            MR. WARD:     Just say on be half of all counsel , we

21 thank the Court for the time it spent , and we

22 appreciate     the Court 's effort .

23            THE COURT:     Can you write me a note for me to my

24 wife ?

25            MR. WARD:     Yes, sir .      I just want to say that if




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 1 the government 's had any rationale             for its great bulk

 2 of its redaction s, they entire ly escape             me , but perhaps

 3 Ms. Johnston      could explain      to Your Honor .

 4            THE COURT:    I have every --

 5            MS. JOHNSTON:        Your Honor ?

 6            THE COURT:    We're not going to get into that .                  I

 7 have re view ed the redaction s.            I fin d where there were

 8 substantive      redaction s, they were very appropriate .               I

 9 had no difficulty       with it , because       there 's a large

10 number   of redaction s I haven't           mention ed here .    What

11 I'm asking      to put back are for the most part question s,

12 and I have      re store d that and you've       got that .

13            MS. JOHNSTON:        Thank you very much .

14            THE COURT:    Don't succumb         to the temptation .

15            MS. JOHNSTON:        Your Honor , I just want ed the

16 record   clear , because      I don't want there to be

17 allegation s that the government             did anything     that was

18 not proper .

19            THE COURT:    No .     No .    I don't think     that there

20 was anything      they did that was im proper .           I find the

21 redaction s to be appropriate .             I've exercise d my

22 function      under the Jenks Act to re view it .           I have done

23 so , and I'm going to direct             that the -- I have     read to

24 you , for the most part , the one s that have been

25 redact ed .     The balance     of them are simply        question s




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 1 that we can provide        you reasonably        prompt ly .

 2            MR. SUSSMAN :     Judge , if I might .         While I was

 3 draft ing a note to your wife , I didn't                hear whether      you

 4 mention ed October      24 , 2005 .      That was clean , or --

 5            THE COURT:      October     24 ?

 6            MR. SUSSMAN :     27 , I'm sorry .

 7            THE COURT:      October     -- wait a minute .        There

 8 were some transcript s that had no problem s with the

 9 redaction s at all .       If I didn't        mention    it , I had no

10 problem s with the redaction .

11            Counsel , any problem s?

12            MR. MITCHELL:       Two minute s.

13            THE COURT:      Sure .    We'll take two minute s right

14 now .

15                   (Off the record         at 2:50 p.m. )

16                   (On the record        at 2:56 p.m. )

17            THE COURT:      Bring them in .

18            (Witness   Sakala    resume s the stand at 2:56 )

19            (J ury return s at 2:57 p.m. )

20            THE COURT:      All set ?     Mr. Montemarano , you may

21 resume .    Before    you do so , ladies and gentlemen            , I

22 want ed to re mind you , as I think I told you earlier

23 this week , we are going to do the early Friday

24 departure     drill tomorrow.         I have moved a 9 o'clock

25 matter to 8 o'clock.           I'll have you in here           at 9:00,




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 1 and we will get you out of here by 2:00.               If you don't

 2 get out , I will     be tram pling you as you get out the

 3 door , because     I have     plan s to leave town as well .       So ,

 4 we will do the 9:00 to 2:00 drill tomorrow .

 5          Mr. Montemarano , you may pro ceed .

 6          MR. MONTEMARANO :         Thank you , Your Honor .

 7          BY MR. MONTEMARANO :

 8 Q.       Sergeant     Sakala , could I ask you please         to pick

 9 up Transcript      Book 3 and     turn to Page 563 ?      Let me know

10 when you're      there .

11 A.       Okay .

12 Q.       Do you recall        that telephone     call being play ed

13 yesterday ?

14 A.       Yes .

15 Q.       This is the call between            Ms. Ali an d Ms. Martin ,

16 and you de scribe d the conduct         of the call er s relating

17 to a concern      about Ms. Terrell      being suspicious ;

18 correct ?

19 A.       Yes .    That 's reference d to girlfriend        at the

20 bottom   of Page 563 .

21 Q.       Girlfriend        upstairs , that would be Jackie

22 Terrell ; correct ?

23 A.       Jacqueline        Terrell , yes .

24 Q.       She live s at 810 Hayward           as well ; correct ?

25 A.       That is correct .




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 1 Q.        Then you , in response     to a question     from Ms.

 2 Johnston , I believe , discuss       something    about not

 3 want ing to have drug deal er s -- not want ing to have

 4 attention    drawn to their affair s or anything          like that .

 5           Does that seem like a fair statement ?

 6 A.        I don't recall      say ing that , but that 's certain ly

 7 an accurate     statement .

 8 Q.        Okay .    Could you now turn to Page 599 ?         Are you

 9 there ?

10 A.        Yes, sir .

11 Q.        Thank you .     Don't tall call me , sir .      It make s

12 me feel old er than I already        am .

13           On Page 599 , that 's another      call that 's a few

14 day s later .      That 's on the 26 th of May ; is that

15 correct ?

16 A.        That is correct .

17 Q.        In the earlier      call , we didn't   tell the jury --

18 so the record       is clear .   That earlier    call would have

19 been -- the one on 563 w ould have been on the 19 th ,

20 just one week before ; correct ?

21 A.        That 's correct .

22 Q.        At the bottom     of Page 599 , this is Ms. Martin

23 and Ms. Ali again ; right ?

24 A.        Yes , it is .

25 Q.        The third statement      from the bottom -- the third




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 1 separate    part from the bottom      of the page , Ms. Martin

 2 is speak ing ; correct ?

 3 A.         That 's correct .

 4 Q.         She says , okay .    Now , look .     I may not be here ,

 5 but I'm going to leave it -- if I leave , I'll leave it

 6 out for y'all to get here .         I will leave it with

 7 Jackie .

 8            Is that correct ?

 9 A.         That 's correct .

10 Q.         And Jackie     Terrell , who live s at 810 Hayward , is

11 the only Jackie      you're    aware of to this case relating

12 to this in vestigation;        is that correct ?

13 A.         That 's correct .

14 Q.         So a week later , Ms. Martin is         leavi ng thing s

15 with Ms. Jackie .       Is that what she 's say ing ?

16 A.         I don't know     the rationale , but it indicate s she

17 is going to leave something         with Jackie      for Ms. Ali .

18 Q.         Call ing your attention     to earlier     call s during

19 the wiretap     on , let 's say , Ms. Martin 's cell phone .

20            For example , do you recall         there being repeat ed

21 conversation s with Ms. Martin        -- between      Ms. Martin     and

22 other individuals       including   Ms. Ali concern ing Ms.

23 Terrell 's drinking ; correct ?

24 A.         Ms. Terrell 's drinking ?

25 Q.         Drinking .




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 1            MS. JOHNSTON:        Objection .

 2            THE COURT:        What 's the basis ?

 3            MS. JOHNSTON:        Your Honor , may we approach          the

 4 bench ?

 5            THE COURT:        You may .

 6                      (At the bar of the Court.)

 7            MS. JOHNSTON :       Your Honor , I'm going to object

 8 to reference s to call s that are not in evidence ,

 9 because    they're     not before     the jury .    Counsel    made some

10 general    reference s before       lunch to "entertain ment

11 attorney ."     The government        didn't    object    to those , but

12 if counsel     --

13            THE COURT:        Those were in the transcript s.

14            MS. JOHNSTON:        There were some in the

15 transcript s.        He also reference d some in the logbook ,

16 but I didn't        object    to that .

17            The government       is object ing to reference s to

18 call s that are not in evidence , because                there 's -- I

19 mean , your question          -- it 's not relevant       what's   not

20 before    this jury .        Certain ly , if counsel      want s to

21 question    him about , didn't        you hear such and such in

22 this call and that didn't           change     your opinion , they

23 could use some call s to establish              that .    But to try to

24 introduce     hearsay    evidence     not about what witness es

25 said or what person s said in call s on other occasion s




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 1 -- those conversation s are not admissible            unless

 2 there 's some basis under the law to admit them .               But

 3 the conversation s that the government           has introduced

 4 have all come in as admission s of parti es or as

 5 co -conspirator 's statement s or to put in context             the

 6 statements     of co -conspirator s.     So , that 's the

 7 government 's objection .

 8          I don't think     it 's a proper    way to cross -examine

 9 this witness , to question       him about call s that are not

10 in evidence , unless      he 's going to reference      particular

11 call s an d say , well , does n't this call affect          your

12 opinion .    Then it would not be being use d for the truth

13 of what's    in it but how it affected        -- whether     it has

14 an effect    on his opinion .      But to make general

15 statement s about what 's in other call s?           The government

16 does not think that is appropriate .

17          THE COURT:      And ?

18          MR. MONTEMARANO :       And I think Ms. Johnston 's

19 point s regard ing the potential        use of the call s are

20 well taken .     Had she wait ed a couple      or three question s

21 -- not that she 's obligate d to , but had she wait ed for

22 a couple    or three question s, her concerns         might well

23 have been allayed .

24          THE COURT:      Where are you going ?       You're not

25 going to go much farther .




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 1            MR. MONTEMARANO :     I understand    that .     The simple

 2 fact is that I would proffer          to the Court -- there are

 3 numerous     call s concern ing concerns     evinced     by Ms.

 4 Martin   relative    to Ms. Terrell 's health , her drinking ,

 5 et cetera .     I am going to simply      ask the sergeant          if he

 6 recall s that .     If he does not , then I will take his

 7 answer , an d when we recall        him as our witness , there

 8 are call s we intend      to play relat ing to     this .

 9            I am seek ing to    set a foundation     here and now .

10 If he does remember , I can inquire          further .      I am not

11 going to reference      date s --

12            THE COURT:    Why is that appropriate          to do ?

13            MR. MONTEMARANO :     Just like the    entertain ment

14 attorney .     I'm try ing to   differentiate .      I think Ms.

15 Johnston     -- where the entertain ment attorney           came up

16 here in this -- in the call , the bodi es of call s, what

17 we will call the government          call s, the ones     they've

18 re lease d, refer to other entertain ment attorney s.                If

19 he had not remembered , I would not have reference d

20 them .   He said he did .

21            Here is a similar     situation .    I am referenci ng

22 reference s to Ms. Terrell .         If he do esn't remember

23 them , I stop there .      I will    play the call s on my dime .

24 If he does remember , then we'll go further , but I

25 certain ly -- it is not in appropriate          to inquire .        We




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 1 have certain ly laid the foundation .           Indeed , Ms.

 2 Johnston    has done it for us with his familiarity              with

 3 the call s and the number         of time s he has listen ed to

 4 them , and I am entitle d to inquire         of this witness       of

 5 his recollection .      He is , after all , the case agent .             I

 6 would not go so far as to get into thing s he does n't

 7 know because     he does n't know them .

 8            THE COURT:    Let me hear from Ms. Johnston .

 9            MS. JOHNSTON:     Your Honor , first of all , his

10 recollection     of other call s that are not in evidence               is

11 not relevant     in term s of what he is say ing here .

12 Counsel is     going to say , don't you recall        call such and

13 such?    Whether   there was a discussion        about Ms.

14 Terrell 's health , does that affect         your opinion ?       WE

15 did not call this detective          and put in call s that are

16 hearsay .    If that 's what counsel's       plan ning to    do in

17 this case --

18            THE COURT:    We haven't    gotten   to that bridge

19 yet .

20            MS. JOHNSTON:     I want it clear on the record             now

21 so we don't have an issue about , well , then I would

22 have cross -examine d the witness        this way if I had known

23 that .

24            THE COURT:    You've    put them on notice     that

25 you're   going to make that objection .




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 1           MR. MCKNETT :       Your Honor , I'd like to be heard

 2 on this as well .        The witness    is testify ing , as the

 3 Court recall s, as a fact witness            and as an ex pert

 4 witness .      These question s go to his basis of his

 5 opinion     as an ex pert .

 6           He has testified       that his opinion     -- Ms. Martin

 7 is leavi ng a package         of cocaine    with Ms. Terrell     for my

 8 client    to pick up .     That 's his opinion .      He is not

 9 testify ing as a fact witness          in that case .    Everything

10 he testifi ed about,       he has re view ed all the

11 transcript s, all the call s and all the information

12 that 's been obtain ed during         the course    of this trial as

13 the basis for his opinion .           These question s go to the

14 weight    that the government       -- the jury should     give in

15 eval uat ing his opinion        as an ex pert .

16           MS. JOHNSTON:        I'm not object ing if counsel

17 want s to ask him, well , you've           given this opinion .

18 You're    aware that there were call s where Mr. Terrell             is

19 discuss ed as an alcohol ic , and that does n't affect             your

20 opinion .      We're still going to say this to make it

21 clear that that is being use d to go to the basis of his

22 opinion     and not to be introduced         as sub stantive

23 evidence , because       if they're    try ing to   intro duce it as

24 substantive      evidence .     It 's hearsay , and it 's not

25 comi ng in .




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 1            MR. MONTEMARANO :           I will    be glad to , if that 's

 2 how to    make Ms. Johnston            happy .

 3            THE COURT:         Your objection       is sustained .     She 's

 4 just give n you a       road map .

 5            MR. MCKNETT :        I don 't believe      that the question

 6 goes to whether        or not the people          who are talk ing about

 7 -- in this example , Ms. Terrell 's drinking                problem s --

 8 is a question        of entering        it for the fact of her

 9 drinking    problem .         It 's being introduce d for the fact

10 that these people            talk ed about it .      They thought    she

11 had a drinking        problem .

12            MS. JOHNSTON:         That would be ad missible          hearsay .

13            THE COURT:         I sustain ed the objection .

14            Mr. Montemarano , you have a road map of how to

15 do this without        get ting in trouble          with Ms. Johnston .

16                     (Back in open court .)

17            MR. MONTEMARANO :           A moment , Your Honor , please .

18            THE COURT:         You may proceed .

19            MR. MONTEMARANO :           Thank you .

20            Your Honor , may we approach ?

21                       (At the bar of the Court.)

22            THE COURT:         You're    going to put this jury to

23 sleep .    Yes ?

24            MR. MONTEMARANO :           I wish I would have gotten

25 here before        lunch .     I would have found those call s.            I




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 1 cann ot put my finger s on them right now .             I am not

 2 going to ask the jury to sit there while I riffle

 3 through    2,500 page s of log s.         What I am going to do is

 4 dig them up between         now and when Mr. McKnett

 5 cross -examine s him , and I think Mr. McKnett            will be

 6 more than happ y to go into those question s.

 7            Is that   a fair statement , Mr. McKnett ?

 8            MR. MCKNETT :      It 's a fair statement , but I would

 9 need to have time to meld that information               into my

10 cross-examination       .

11            MR. MONTEMARANO :         Certain ly .

12            THE COURT:       Start meld ing .

13            MR. MCKNETT :      Your Honor , I don't know     what Mr.

14 Montemarano     is going to be asking           me to put in there .

15            THE COURT:       Are you finish ed ?

16            MR. MONTEMARANO :         Oh , no.   I've got a bit more

17 to do .    Wh at I'm saying      is , I don't think     Mr. McKnett

18 is going to be do in g it today .            He and I can talk , and

19 I will find those thing s.

20            THE COURT:       Okay .

21                  (Back in open court .)

22            BY MR. MONTEMARANO :

23 Q.         Let me ask the question          this way , Sergeant

24 Sakala .    Do you recall       that prior to these two call s we

25 just discuss ed that are on Page 560 to 590 of the




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1 transcript      book , the third transcript       book , prior call s

2 during   the wiretap     where Ms. Terrell 's drinking             was

3 discuss ed by Ms. Martin       an d anybody   else ?

4 A.       Yes .

5 Q.       Would that affect        your opinion    relative     to a

6 need or a de sire to be secretive         regard ing Ms. Terrell ?

7 A.       No .     I don't think    her drinking    had anything          to

8 do with that .

9 Q.       You've     testifi ed that in your view you could

10 determine    code words within      the context    of this wiretap

11 based upon words that don't make sense in the context

12 of the conversation ; is that correct,           sir ?

13 A.      Yes , that 's one indication .

14 Q.      And where they do make sense to you , you have

15 therefore    determine d that the use of a particular               word

16 that might have been a code word in another               situation

17 actual ly does n't deal with drug s?

18 A.      I'm sorry .     Could you say that one again ?              I

19 lost you .

20 Q.      Sure .     Let 's use the word "suit ."          You've

21 testifi ed that is a code word for drug s on certain

22 occasion s; correct ?

23 A.      On certain     occasions,    yes .

24 Q.      It 's over here on your list .          I don't know        ho w

25 many time s, but a few time s more than once ?




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 1 A.       Yes .

 2 Q.       Yet earlier      -- no , ye sterday,    I believe , at Page

 3 489 , there is the discussion           of a suit .     If you could

 4 turn to that .      So the record is clear, the call

 5 beginning on      Page 487.    It 's from the B line on May 11 ;

 6 correct , sir ?

 7 A.       Yes .

 8 Q.       I must have the wrong page number .              I'll have to

 9 come back to it.         I'm sorry , Detective        -- I mean ,

10 Sergeant .

11          Let me ask you a few other question s concern ing

12 our discussion      earlier   today .     Do you remember     our talk

13 about -- oh , okay .       Can you go to the first transcript

14 book on Page 64 ?        Remember    that call between      Ms. Martin

15 and Eugene      Bird ?

16 A.       Yes .

17 Q.       It's very early in the wiretap           on the 13 th of

18 March , correct?

19 A.       Yes .

20 Q.       You determine d that the discussion             of clothe s in

21 this call did not involve           drug s; correct ?

22 A.       That 's correct .     Nothing     to do with drug s.

23 Q.       But Estelle      Brim, that 's Steve Brim 's wife ;

24 correct ?

25 A.       No .




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1 Q.       Ex-wife ?

2 A.       Ex- ex-wife , yes .       His first wife , I believe .

3 Q.       A former    wife of the late Steve Brim ?

4 A.       Correct .

5 Q.       The mother     of Nathan     King , I believe ?

6 A.       I believe    so , but it would n't surprise       me if she

7 was a stepmother .

8 Q.       Stepmother .     Related     by blood or close to it --

9 A.       Correct .

10 Q.      -- to Nathan     King .     There 's a family

11 relationship .

12 A.      Yes .

13 Q.      But 29 1 doesn't      make any sense in term s of your

14 train ing and experience      relat ing to   drug s.    It's not

15 like 125 ; correct ?

16 A.      The number     29 1 would have no significance        in a

17 drug transaction     normally .     That 's correct .

18 Q.      You remember     all these ledger s; correct ?

19 A.      Which ledger s?

20 Q.      I'll name them .       There 's Mr. Uriarte 's; correct ?

21 A.      Yes .

22 Q.      There 's the one s set out in Hayward -7 ; correct ?

23 A.      Yes .

24 Q.      These are all , in essence , what are call ed in

25 the trade , tally sheet s; correct ?




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 1 A.        Tally sheet s, yes .

 2 Q.        And what it mean s is , I have a certain            amount    of

 3 money that I'm owe d; I am paid some money ; the

 4 remain ing amount      owe d.     It 's like balanc ing a

 5 checkbook ; right ?

 6 A.        That 's correct .       Keep ing track of who owe s you

 7 what .

 8 Q.        If somebody    doesn't      pay all the money they owe

 9 you for whatever       purpose , you get odd number s; correct ?

10 A.        You can , yes .

11 Q.        So this 29 1 could be a drug transaction ;

12 could n't it ?

13 A.        No , it cannot .

14 Q.        Not under any possible          --

15 A.        Not under any circumstance s would I classify                the

16 conversation       on Page 64 as drug conversation .

17 Q.        Okay .    Ms. Johnston      has kind ly hand ed me , once

18 again , Hayward -7.      Remember      this ?

19 A.        Yes .

20 Q.        I'd like you to        look at the monitor , if you

21 could .    I'd like to show you some page s that I've

22 posted    with my purple        Post -I ts.     See this page ?

23 A.        Yes .

24 Q.        Is there a name of a person             at the top of this

25 page ?




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 1 A.      It says :      Bop , clothe s.

 2 Q.      Clothe s, and then the number s there ?           That 's a

 3 tally ; correct ?

 4 A.      It look s like they're      add ing up number s.          I

 5 would n't refer to it as a tally.          It look s like they're

 6 add ing up number s on the left and right side .

 7 Q.      On the flip side of the same page --

 8 A.      Yes .

 9 Q.      -- is there a name there ?

10 A.      Bop .

11 Q.      On 4/9/04, the wire was up ; was n't it ?

12 A.      Yes .

13 Q.      Going back further .       Do you see the name next to

14 the purple   Post -I t?

15 A.      No , I don't see where you're         referring    to .

16 Q.      Right there .

17 A.      Gilbert     Williams .

18 Q.      Do you know who Mr. Williams          is ?

19 A.      Yes , I do .

20 Q.      He's a    concert   promoter     in North Carolina , is he

21 not ?

22 A.      I don't know      if he 's a concert    promoter , but I

23 know he was someone       connect ed with them in the concert

24 business .   I don't know     his official     occupation .

25 Q.      Someone     relate d to the entertain ment business




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 1 involve d in some way , shape or form ?

 2 A.       He was somehow      involve d with Ms. Martin , yes .

 3 Q.       In fact , he was involve d with Ms. Martin          to the

 4 degree   that she gave him $150,000        with regard    to the

 5 pro motion   of a tour for a band call ed Levert ; correct ?

 6 A.       The band call ed what ?

 7 Q.       Levert , L E V E R T.

 8 A.       I don't know      what the band was call ed or the

 9 exact contract .     I know there was a wire transfer          and

10 I'm not sure you're        right on the amount    for the amount

11 of money .

12 Q.       You think it was more than 150 ?

13 A.       My recollection      is it was $100,000 , but I would

14 have to go and look at the wire transfer .

15 Q.       Okay .   You've    told us this Bop or Bot or Box ,

16 and it 's pretty    clear from these other writing s that

17 that first thing Ms. Johnston        show ed you probably      is

18 Bop .

19 A.       That 's what I thought , Bop .

20 Q.       That 's what you thought      and this is one of the

21 reason s because    this is in the same book .        It 's Bop

22 again , right ?

23 A.       That is one reason , yes .

24 Q.       You've   not track ed down Bop yet ; have you ?

25 A.       Bop is -- no , we have not identifi ed him or her .




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 1 Q.         Can you tell us what it says here in the oval ?

 2 A.         It says , Bop , and it look s like a telephone

 3 number .

 4 Q.         That 's a 240 area code ?

 5 A.         It would appear     to be , yes .

 6 Q.         Thank you very much for your time , Sergeant .

 7            MR. MONTEMARANO :     Pass the witness , Your Honor .

 8            THE WITNESS:     Th ank you .

 9            THE COURT:     Thank you .

10            MR. MARTIN:     Court 's indulgence .

11                           CROSS-EXAMINATION

12            BY MR. MARTIN:

13 Q.         Good afternoon , Sergeant       Sakala .

14 A.         Good afternoon .

15 Q.         Sergeant   Sakala , it would be fair to say that

16 during     your 18 year s as a police officer , that during

17 your time as a narcotic s investigator , that you have

18 become     familiar   with a broad array of investigative

19 tool s; right ?

20 A.         I've actual ly been a police officer        about 25

21 year s, but I would agree with that statement , yes .

22 Q.         Well , I stand correct ed .

23            Some of those tool s include        wiretap s?

24 A.         Yes .

25 Q.         Wired cooperator s?




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 1 A.       Wire d cooperator s?

 2 Q.       In other words , you place a wire on somebody

 3 during   a controlled      buy ?

 4 A.       Consensual       monitoring , yes .

 5 Q.       Electron ic bug ging de vice s that you might place

 6 in side of a car ?

 7 A.       GPS track ing de vice s, yes .

 8 Q.       You would also have the ability           to place a

 9 camera   in side of a car , too ; would n't you ?

10 A.       I have not done that , but I know it can be done .

11 Q.       And you 've seen that done in other case s?

12 A.       Not in case s I've been personally          involve d in ,

13 but I know .

14 Q.       You're   familiar     with it ?

15 A.       Yes , I am .

16 Q.       You're   also familiar , of course , with pole

17 cam eras ?

18 A.       Yes .

19 Q.       Cam cord er s?     Hand held --

20 A.       Yes .

21 Q.       You're   also familiar        with -- you've     already

22 talk ed about controlled           buy s and all of these tool s are

23 available    to you and they were available          to you during

24 the course     of this investigation ; right ?

25 A.       Some are available          and some are not .




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1 Q.          Well , you were part of a federal       task force ;

2 were you not ?

3 A.          That 's correct .

4 Q.          Certain ly you could have asked the federal

5 government      to provide    you with anything     that you

6 thought     you might have need ed to make your

7 investigation      more effective ?

8 A.          I don't know    that the federal     government    could

9 have provided      a person     who could make a controlled        buy .

10 That person     does n't exist , the person     does n't exist .

11 The federal     government     has no ability   to create     a

12 cooperator     where there is none .

13 Q.         Well , Luis Mangual , at some point , was

14 cooperating     with you ; was he not ?

15 A.         Luis Mangual    has never cooperate d with us .

16 Q.         I thought   your -- what about Juan Encarnacion ?

17 Was n't he cooperating       with you at some point ?

18 A.         He has cooperate d, yes .

19 Q.         If I recall    your testimony , he was arrested

20 sometime    in November     of the year precedi ng his

21 cooperation ; correct ?

22 A.         No, 2001 he was arrested .

23 Q.         When did he start cooperating ?

24 A.         At the end of 2002 .     I think we've -- near the

25 end of that year .




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1 Q.         So is it your testimony        that none of the people

2 who were on any of the indict ment s that might have been

3 related     to this investigation       were at your disposal         or

4 potential     use as cooperating       witness es ?

5 A.         No .   We were talking      about controlled    buy s.

6 Certain ly some of them could be inter view ed and provide

7 information , but Mr. Encarnacion           was not in a position

8 to make a controlled        buy .

9 Q.         Let me ask you    this :     Were there any people

10 involve d in the investigation         who early on decide d to ,

11 as they say in the street , flip ?          That is , cooperate

12 with the government .

13 A.        You'd have to talk about specific           individuals

14 because    there 's been quite a few cooperator s throughout

15 this case , so I'm not sure who you're            referring   to .

16 Q.        I'm not sure either .        You're   the ex pert , and

17 you're    involve d in the investigation        , and I thought      you

18 might remember .     You don't recall       that ?

19 A.        Mr. Encarnacion    was the first cooperator         we had .

20 As thing s progress ed to this day , other cooperator s and

21 witness es have come to our attention            that we've use d.

22 Q.        Let me get straight        to the point .    At no time

23 did you try to do a controlled           buy with Learley

24 Goodwin ; isn't that correct ?

25 A.        If you mean by me personally , that is correct .




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 1 If you mean by the investigators , that would be

 2 in correct .

 3 Q.        You or any of the       investigator s who were

 4 involve d in this particular           investigation        never

 5 attempt ed to do a controlled           buy with Learley        Goodwin ;

 6 isn't that correct ?

 7 A.        Again , we would have to de fine what the

 8 investigators      are .    If we 're talk ing about November ,

 9 2003 , that would be in correct .             If we're not talk ing

10 about those investigator s, that would be correct                    then .

11 Q.        Thank you .       In addition       to that , at some point ,

12 it 's fair to say during         the course       of this

13 investigation , you became         aware of where Learley

14 Goodwin   live s, right ?

15 A.        Yes .

16 Q.        And that was 1351 Constitution             Avenue ; right ?

17 A.        No , I do not believe        so .     I think we had his

18 residence      as Far rag ut Place .

19 Q.        Well , Mr. Goodwin , you will admit , own ed several

20 build ings ; right ?

21 A.        He did own several       build ings , yes .

22 Q.        You did , at some point , arrest           him .    Well , maybe

23 not you , but one of the other agent s involve d in this

24 investigation      arrested    him ; right ?

25 A.          I believe      he was arrested       at his residence      on




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 1 Farragut , that is correct .

 2 Q.        That was n't the question .           He was arrested ;

 3 right ?

 4 A.        Yes .

 5 Q.        At the    time of his arrest , I take it that his

 6 wall et and other identification            paper s were taken from

 7 him ; correct ?

 8 A.        I don't know , but that would be normal                practice ,

 9 yes .

10 Q.        Do you recall        whether   or not in his wallet         there

11 was a driver 's license ?

12 A.        I don't even know if he had a wallet                 on him when

13 I know    he was arrested .

14 Q.        I'm sorry , sir .       I co uldn't     hear you .

15 A.        I do not know what was on him .             I don't know      if

16 he had wallet       on him .    I certainly       don't know if he had

17 a driver's     license   on him .

18 Q.        Let me ask you this :          You're    familiar     with this

19 investigation , as you demonstrated               over these last few

20 day s before      the ladies and gentlemen of the jury            .   You

21 know that Mr. Goodwin          own ed a house on Constitution

22 Avenue ; correct ?

23 A.        I belie ve this 's correct , yes .

24 Q.        And you also know that he own ed the build ing

25 over in Anacostia .




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 1 A.       No , I don't know      that I know that .     I know he

 2 own s a bunch of properti es .       Constitution     Avenue sounds

 3 familiar ; the other s, I could n't tell you where they're

 4 at .

 5 Q.       Well , did you place a surveillance          at any of

 6 these different      resident s to see which one he actual ly

 7 live d at ?

 8 A.       I'm sure we did the surveillance           on Farragut     or

 9 follow ed him to there .       I don't think     we put

10 surveillance s on particular        residence s look ing for him ,

11 no .

12 Q.       Would n't that be something        that would be very

13 important     in term s of do ing an investigation , find ing

14 out exactly     where someone    live s?

15 A.       We knew where he live d on Farragut .

16 Q.       You believe     that 's where he live d?

17 A.       That's   where he was arrested .        That 's where we

18 did the search     warrant .    The other place s, I just don't

19 know about .

20 Q.       All right .     I'm not going to argue with you .

21          So you go into Farragut , and when you go into

22 Farragut , you see some item s; correct ?

23 A.       I was not present       at these search     warrant s at

24 Farragut .

25 Q.       You're   familiar     with the item s that were seize d




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 1 out of the residence        at Farragut ?

 2 A.        Some of them , yes .

 3 Q.        Did you have a chance      to re view the evidence        in

 4 this case prior to your testimony ?

 5 A.         I've looked      at some of the evidence;      certain ly

 6 not all of it .

 7 Q.        You would be familiar      with those item s that were

 8 taken out of Farragut        and sent to the forensic       lab ,

 9 right ?

10 A.        Some of the item s, yes .

11 Q.        With respect      to the items    that were taken out --

12 let me ask you specifically .         There was a bag that

13 contain ed what the government        de scribe d as cocaine .      I

14 think it 's Drug s 31 .      Do you have a copy of the exhibit

15 list ?

16 A.        No , I do not .

17           MR. MARTIN:       Ma dam Government , could we give him

18 a copy of that ?

19           MS. JOHNSTON:       You can certain ly give him your

20 copy , Counsel .     If you need a copy , at the end of our

21 document s --

22           MR. MARTIN:       I don't need a copy .     I thought     it

23 might be easier      for him during     his testimony .

24           BY MR. MARTIN:

25 Q.        Do you remember      a bag of cocaine     being taken out




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 1 of Farragut     Place ?

 2 A.         I remember     a large amount    of cocaine .     I don't

 3 know if that 's the bag you're           talk ing about .

 4 Q.         Okay .   Well , with respect     to that bag or any of

 5 the other item s that were taken out of Farragut               Place ,

 6 do you recall       any of that being sent to forensic s for

 7 finger print s?

 8 A.         Yes , I'm sure it did .       I think we've sent -- I'd

 9 have to look at the latent           analysis , but I think we've

10 sent hundreds       and hundreds     of item s to our lab for

11 latent     evidence .     Latent   examination , I'm sorry .

12 Q.         None of the item s, as far as        you can recall

13 today , that were taken out of Farragut            had Mr.

14 Goodwin 's fingerprint s on it ; did it ?

15 A.          We re covered    no usable    latent   print s out of the

16 hundreds     and hundreds , no matter       what , from what

17 location , there were no usable           late nt s re covered .

18 Q.         Some of the thing s that you would look for were

19 scale s and ledger        book s and some of the other thing s

20 that you testifi ed to earlier , I think in your

21 testimony     last week .

22 A.         I think that 's what all the search         wa rra nt

23 agent s -- officer s would look for .

24 Q.         Did you fin d any scale s in Farragut , if you can

25 recall ?




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 1            MS. JOHNSTON:      Objection .      Your Honor , the

 2 witness    has already     testifi ed he didn't      do the search

 3 at Farragut .

 4            MR. MARTIN:      Your Honor , I think the witness          has

 5 also testifi ed he re view ed the evidence in             this case

 6 and he was proffered         as an ex pert an d he sat in here

 7 during    everyone   else 's testimony .

 8            THE COURT:      I will over rule this objection , but

 9 I think you can go too far with this witness , if he

10 didn't    do the seizure .

11            MR. MARTIN:      May I approach      the witness , Your

12 Honor ?

13            THE COURT:      Yes , you may .

14            MR. MARTIN:      Let the record      reflect   I'm

15 approach ing the witness        and I'm giving      him a copy of

16 the government 's exhibit        list .

17            BY MR. MARTIN:

18 Q.         Now , you went into a number         of different    place s.

19 If you look at the exhibit         list on Page 2.

20 A.         I don't think     I participate d in any of the

21 search    warrant s in this case .        I'm sorry .     No , I don't

22 think I did .

23 Q.         Did you have opportunity          to look at any of the

24 evidence    taken out of --

25 A.         That I did do , yes .




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1 Q.         That you did do .     Well , let me ask you this :         Is

2 it fair to say that Mr. Goodwin          did not have a

3 residence     at 9002 Bexhill    Court in Adelphi ?

4 A.         I think that 's fair to say , yes .

5 Q.         Is it also fair to say that there 's no

6 indication     that Mr. Goodwin      ever live d at 1513 Ray Road

7 in Hyattsville ?

8 A.         I think that 's fair to say , yes .

9 Q.         Is it also fair to say that Mr. Goodwin           didn't

10 live at 85844 Digger 's Lane in Elk Ridge , Maryland ?

11 A.        I think that 's fair to say , yes .

12 Q.        And he didn't   live at 7427 Ninth Street NW,

13 Washington , D. C.

14 A.        No , he did not .

15 Q.        You said that he live d at 38 -- at 36 Farragut

16 Place , and you're    certain   of that ; correct ?

17 A.        I think that 's my recollection       what the search

18 warrant   affidavit , I think that 's what we as serted,          and

19 I believe    that 's true , yes .

20 Q.        Well , you say that .     But at the same time , you

21 say you didn't    do any of the search es or you didn't

22 execute   any of the warrant s; correct ?

23 A.        That 's true , but that 's certain ly not the only

24 way to establish     residency .

25 Q.        Well , you never went in there and saw any




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 1 picture s of his clothing          in there ; did you ?

 2 A.         I didn't    go into any of the search       warrant s, so

 3 I certain ly did not see any clothi ng in Mr. Goodwin 's

 4 residence .

 5 Q.         And you don't recall       see ing the driver 's license

 6 at the time of his arrest           or any picture s of that

 7 driver 's license ?

 8 A.         As I said , I was n't there when he was arrested .

 9 I don't know     if he had a driver 's li cense or a wallet

10 or what he had on him at the time of his arrest .

11 Q.         So that in all fairness , Sergeant         Sakala , you

12 can't say to any degree           of any certainty    to the ladies

13 and gentlemen of the jury           that he live d at Farragut

14 Place ; isn't that a fact ?

15 A.         I would not agree with that .

16 Q.         You can say to a degree        of certainty ?

17 A.         That 's my belief , yes , and I think you will he ar

18 evidence     of that .

19 Q.         That 's your belief , but that 's not what I asked

20 you .     I asked you if you could say to any degree           of

21 certainty .

22 A.         In my mind , yes , I believe        that 's where he

23 live d.

24 Q.         Would you believe       that if you saw a driver 's

25 lice nse with a       different    address ?




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1 A.          No .   In fact , his driver 's license        would mean

2 absolute ly nothing        to me .

3 Q.          Would the absence        of clothe s mean nothing      to you

4 as well ?

5 A.           No.    No , I didn't     say that .     I said the

6 driver 's lice nse, and the absence           of clothe s -- if he

7 does not have clothe s at a residence , that would mean

8 something , but I don't know           that that 's the case with

9 Mr. Goodwin .

10 Q.         You don't know that because            you didn't   go in

11 Farragut     Place ; correct ?

12 A.         That 's correct .

13 Q.         Now , with respect       to the November     25 , 2003 ,

14 arrest   of Mr. Goodwin .        You weren't      there for that ,

15 were you ?

16 A.         No , I was not .

17 Q.         The only thing you know about that            is what you

18 heard Detective       Martini   -- I can't remember        if he 's a

19 patrolman , but the agent who came in .

20 A.         I did not hear Detective        Martini     testify , but I

21 am familiar       with the incident .

22 Q.         And you heard Sergeant        Grant testify     as well ?

23 A.         No , I did not .

24 Q.         You didn't ?    There were -- let me ask you this:

25 Based on your train ing and experience , is it easier                  to




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1 take fingerprint s off of a smooth            surface      like glass

2 than it is off of a rough surface             like a gnarl ed handle

3 of a gun ?

4 A.          The gnarl ed handle       of a what ?

5 Q.          Gun .

6 A.          I would say the glass would be easier , the

7 glass .

8 Q.          The glass would be easier .         Would it also be

9 easier    to take finger print s off of a plastic             bottle , as

10 oppose d to the gnarl ed hand le of a gun ?

11 A.         I don't know      about plastic .       I don't think     I've

12 had much success        with plastic , so probably         neither   one

13 of them are very good .

14 Q.         I'm sorry , sir .     I didn't   hear .

15 A.         Probably    neither   one of those surface s are very

16 good for latent s.

17 Q.         You're    not a fingerprint s ex pert .

18 A.         I am not , no .     You had nothing       to do with the

19 November     25 , 2003 , arrest ?

20 A.         Nothing    do with it .

21 Q.         Now , going back to the Farragut           Place address .

22 If you would        look at Page 34 , Sergeant        Sakala , at the

23 very top of what's        mark ed as Goodwin       13 .

24 A.         Oh, on the ex hibit list ?

25 Q.         Yes , please .     Page 34 , if you would .       At the




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 1 very top , it says , Goodwin           34 - money wrapper s?

 2 A.         Yes .

 3 Q.         Again , understand ing that you're               not an ex pert

 4 with forensic s, but as an ex pert in narcotic s

 5 investigation s, would you agree with me that paper

 6 item s are the kinds of thing s that often would be sent

 7 to a forensic      lab because        fingerprint s can be lift ed

 8 off of that ?

 9 A.         I would not agree with that .

10 Q.         So it is your testimony that paper is not a good

11 medium to find       fingerprint s?

12 A.         That would be my testimony, yes.

13 Q.         Have you had any train ing in fingerprint

14 analysis ?

15 A.         Fingerprint      analysis ?     No .

16 Q.         And look ing again on Page 34 of the exhibit

17 list , Goodwin     23 .     In the house , you found three --

18 well , it says here that three box es of baki ng soda was

19 found ; right ?

20 A.         Yes .   Oh , wait a minute .           Yes .

21 Q.         There 's no indication         that that was sent to a

22 forensic     lab for fingerprint         analysis         either ; right ?

23 A.          It may have      been .     I'd have to look at the

24 latent   request .        Off the top of my head , I don't know .

25 Q.         Let me ask you      this .     You sat in this courtroom




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1 through    a great portion     of this trial .     You didn't     see

2 any fingerprint       exhibit s with Mr. Goodwin 's

3 finger print s on it admitted       to date ; have you ?

4 A.        Yeah .    As I think I said , we got no latent s in

5 any of the thing s we submit ted .

6 Q.        You also did a search of -- strike          that .

7           Did you re view the evidence       in the October 17,

8 2002, search       of Lobo 's Dis count Auto ?

9 A.        No, I did not .

10 Q.       Did you have anything      to do with that search ?

11 A.       No , I did not .

12 Q.       And you would n't know , then , whether        or not    the

13 am mo and scale or any of those item s were sent to

14 forensic s for fingerprint s?

15 A.       I've never seen anything       from that search .        I

16 have no idea .

17 Q.       You would agree that Mr. Goodwin          does n't live at

18 810 Hayward   avenue ; would you not ?

19 A.       I would agree with that , yes .

20 Q.       You would    also agree that there weren't           any pole

21 camera   video s of Mr. Goodwin     entering    and lea ving 810

22 Hayward ; would you not ?

23 A.       I would dis agree with that .

24 Q.       None were shown here in court , were they ?

25 A.       I don't know     what was shown with other




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 1 witness es .      There were none shone by mine , but I know

 2 they exist .

 3 Q.        Those that exist , were they -- they were give to

 4 the government ?

 5 A.        What do you mean given to the government ?

 6 Q.        Well , you were the lead agent on this case ,

 7 right ?

 8 A.        Yes .     Well , no , I was one of the three , yes .

 9 Q.        You were one of the three ?

10 A.        Right .

11 Q.        You would give the government          whatever    evidence

12 you'd gather in this case ; right ?

13 A.        I'm a little     confused .    I mean , I am part of the

14 government , so I'm not giving          it to myself .      The tape s

15 are in discovery .        There 's copies .

16 Q.        Let me be more precise        with my question .      Did

17 you hand the video s, all the evidence           that you got in

18 this case , to the prosecutor s for re view ?

19 A.        Yes .

20 Q.        That includes     the 10 ,000 plus call s that we've

21 discuss ed here ; right ?

22 A.        All the call s are in discovery , yes .

23 Q.        So that also would include          the video that you

24 say exist s show ing Mr. Goodwin         entering   and leavi ng 810

25 Hayward ; right ?




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 1 A.        Yes .

 2 Q.        And you would agree with me that none of those

 3 video s are listed      here on this exhibit         sheet ; right ?

 4 A.        I have not been through           the exhibit   list , but I

 5 will take your word for it .

 6 Q.        Why don't you take a minute            and look .     When you

 7 finish , you can look up .

 8 A.        (Witness    indicati ng .)       Under the description s of

 9 video s start ing on Page 55 continui ng on to 56 and

10 continui ng to 57 of Video 1, 3/28, I do see it listed ,

11 Video 27, with       Learley   Goodwin being at       Hayward.     I

12 would also say that       without     look ing at the     logbook ,

13 it 's entire ly possible       that Mr. Goodwin       is contain ed in

14 other videos , but the government            chose not to play

15 those portion s for whatever          reason .

16 Q.        How long did this investigation            take place ,

17 Sergeant ?

18 A.        We began , I think I said , at -- near the end of

19 2002 .

20 Q.        2002 .    And the arrest     took place in June , 2004 ;

21 right ?   That 's two year s.

22 A.        One and a half .        Almost    two year s, yes .

23 Q.        Almost    two year s.     So in two year s, there is one

24 video that is listed       show ing Mr. Goodwin        going to

25 Hayward   place ?




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 1 A.         Mr. Goodwin 's name is listed .         The video -- he

 2 may be on the other video s.

 3 Q.         Now , Mr. Goodwin , I take it from your testimony ,

 4 is also known by various         name s, right ?

 5 A.         Yes .

 6 Q.         He 's also known as Goody ?

 7 A.         Goody , yes .

 8 Q.         And the government      share d with -- or you're

 9 familiar     with the item s seize d at Digger 's Lane ?

10 A.         I'm sure I've seen most of them , yes .

11            MR. MARTIN:      May I approach    the witness , Your

12 Honor ?

13            THE COURT:      You may .

14            BY MR. MARTIN:

15 Q.         Show ing you what 's been mark ed as Government

16 Exhibit    No. Digger 's Lane 10 .       Specifically , I'm on

17 April 2000 .       I call your attention      to April 5th .      Can

18 you see that there ?

19 A.         Yes .     Wednesday , the 5th , at the    bottom ?

20 Q.         Right .     Can you see the phone number        there ?

21 A.         Yes .

22 Q.         Whose name is above that phone number ?

23 A.         Goody .

24 Q.         Just read the number        into the record ?

25 A.         546 -5429 .




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 1 Q.         Did you have occasion     to see this prior to the

 2 trial start ing ?

 3 A.         I'm sure I probably     have .

 4 Q.         Did you call that number         to see if that was

 5 Learley     Goodwin 's number ?

 6 A.         No .

 7 Q.         But there are other people         in this investigation

 8 be sides Learley      Goodwin   who have the last name Goodwin ,

 9 right ?

10 A.         His ex- wife .    Though , I don't know    if you say in

11 the investigation       he r name came up , but I don 't believe

12 she was a target .        That 's Constance    Goodwin .   If there

13 are other other s, they're        escapi ng me right now .

14 Q.         Was there a Tony Goodwin         that you recall ?

15 A.         I think a Tony Goodwin     was mention ed in a call

16 that we play ed in court here .        He certain ly was n't a

17 target .     I don't know    who that is .

18 Q.         Was there a Eugene     Goodwin     that you recall ?

19 A.         Not that I recall .

20 Q.         These are the phone number s with the name

21 "Goody " that might have appear ed in that phone book or

22 any other .       You never made any attempt       to call those ;

23 right ?

24 A.         We did not call that number , no .

25 Q.         With respect     to Mr. Goodwin 's phone s.     You




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 1 didn't   have a Title III wiretap        put on his phone s; did

 2 you ?

 3 A.       We did not .

 4 Q.       Going back to the videotape s for a moment .

 5 Sergeant , bear with me .

 6          You don't have any videotape s with Mr. Goodwin

 7 and this mysterious       Cuba , do you ?

 8 A.       I believe    that 's true .

 9 Q.       And you don't have any videotape s of Learley

10 Reed Goodwin     receiving   drug s from Michael      Thurman ; do

11 you ?

12 A.       No .

13 Q.       And you don't have any videotape s of Learley

14 Reed Goodwin     pick ing up drug s from Xavier       Moor e, do

15 you ?

16 A.       No .

17 Q.       And you don't have any videotape s of Learley

18 Reed Goodwin     pick ing up drug s from Gwen Levi ; do you ?

19 A.       I believe    that 's accurate , yes .

20 Q.       Now , there was also a reference         to Tiffany

21 Vessel s.    Do you recall     that ?

22 A.       There have been several         reference s to her , yes .

23 Q.       Who is Tiffany      Vessel s?

24 A.       She is a girlfriend       of Mr. Goodwin .

25 Q.       Do you remember      you going through      one of the




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1 phone call s, I think it was B2790 on Page 29 1?             I'm not

2 sure which volume       that 's in , but you could look and I

3 may -- I may be able to give you , I think , it 's Page

4 29 1.

5 A.        It 's in the second     volume .

6 Q.        Have you found that ?

7 A.        Yes .

8 Q.        This conversation     was just an excerpt       of a much

9 larger    conversation ; is that correct ?        A much long er

10 conversation .

11 A.       It's an excerpt     of a six -minute    conversation , so

12 it 's four minute s of the six -minute       conversation , if

13 this is correct .

14 Q.       In that conversation      there , who 's speak ing ?

15 A.       Paulette   Martin   and Tiffany     Vessel s.

16 Q.       Just give me a moment      to go over there .       Would

17 you agree with me -- what was this conversation             about ?

18 A.       If I recall    correct ly , Ms. Vessels     is search ing

19 for something    while she 's on the phone with another           --

20 she 's on the phone with Ms. Martin , but she 's on a

21 second   phone with Mr. Goodwin .       She 's direct ing her to

22 some location    in side the residence      to pick up something

23 and take it to Ms. Martin       on Hayward .

24 Q.       I might have mis understood        you when you

25 testifi ed to this .     Was your testimony      that Ms. Vessel s




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 1 was going to 810 Hayward ?

 2 A.      Yes .

 3 Q.      You didn't     call for a surveillance       to see if Ms.

 4 Vessel s actual ly show ed up at 810 Hayward , did you ?

 5 A.      I don't know     if we did have surveillance           out

 6 that day .     My recollection     -- I don't recall       if we had

 7 surveillance     out there or not .

 8 Q.      Ms. Vessel s was n't stopped       for speed ing or a tag

 9 violation    or anything   like that after leavi ng 810 , was

10 she ?

11 A.      She was not stopped        as far as   I know , no .

12 Q.      You don't know if she ever went there ; do you ?

13 A.      I could look at the        pole cam , but off -- sitting

14 here , as I said , I do not know .

15 Q.      You don't know , and that 's because         you've     got

16 the conversation , but without        the video , all you can do

17 is make an assumption ; right ?

18 A.      No .    I think the reason     we didn't    put

19 surveillance     out there , if we didn't , or I haven't

20 look ed at the pole cam , is because        the action      happening

21 here was indeterminate .         It just was n't that important .

22 Q.      Now , you also testifi ed that in many of these

23 conversation s, there was a discussion          concern ing

24 ticket s.    Is it your testimony      that all of those

25 conversation s regard ing ticket s are bogus ?            That is ,




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 1 not relating       to any specific   performance s?

 2 A.        Only the ones that we've talk ed about here .

 3 There are conversation s about real ticket s that took

 4 place during       the wire .

 5 Q.        In fact , there were legitimate       conversation s

 6 regard ing the entertain ment industry , would n't you

 7 agree with that ?

 8 A.        That would depend       on your definition    of the word

 9 "legitimate ," but there were conversation s about the

10 entertain ment industry , yes .

11 Q.        Let 's break this down .      You said that there were

12 over 10 ,000 phone call s; right ?

13 A.        There were over 10 ,000 activation s, yes .

14 Q.        And we've got about -- I count ed about 38 1 phone

15 call s here , and my count could be off , but would you

16 agree with me that it 's somewhere         between    38 0 and maybe

17 500 phone call s?

18 A.        Yeah .    I think the count should     be around    450

19 something , but that would fall within          the range , yes .

20 Q.        Around    450 .   I'm not very good with math , but of

21 the 450 , if you count this index here , 43 phone call s

22 involve   Learley     Goodwin .   That 's 43 phone call s either

23 made to him or that he made .         Would you agree with

24 that ?

25 A.        That he was -- that I would agree that that




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 1 sounds     like a number .     I haven't    done the math that he

 2 was a participant        in the conversation , but I would

 3 agree there are other conversation s that involve                 him .

 4 Q.         Right .    There are other conversation s where he 's

 5 reference d, right ?

 6 A.         That 's correct .

 7 Q.         So assuming      that they're    somewhere   between    450

 8 phone call s, you would agree that 50 phone call s is a

 9 minuscule     amount    of call s in relation     to 10 ,000 ; would

10 you not ?

11 A.         I would not term Mr. Goodwin 's interception s as

12 being minuscule , no , not in relation           to anything      in

13 this case .

14 Q.         We're talk ing about the quantity        of call s, the

15 number ?

16 A.         There are far more telephone         call s that -- where

17 he was intercept ed that are not in these book s, so I

18 don't know     what that number      is .

19 Q.         Those call s are not in book s because         those call s

20 were not germane        to the drug investigation ; isn't that

21 a fact ?

22 A.         That 's true .     The re were also redundant     call s

23 that were eliminate d.

24 Q.         During    your in vestigation     and your listening

25 into these phone conversation s, you became             familiar




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1 with one Ron Hood ; isn't that true ?

2 A.         Which Ron .

3 Q.         Ron Hood ?

4 A.         Yes .

5 Q.         You also became     familiar    with Ron Hayes ; right ?

6 A.         Yes .

7 Q.         Ron Hood is involve d in the enter tain ment

8 industry ; is he not ?

9 A.         I don't know .     The phone call s were about the

10 entertain ment business       with Ron Hood or about Ron Hood .

11 What he really       does , I have no idea .

12 Q.        You've   never had occasion      to talk to Mr. Hood ?

13 A.        Somebody     may have   inter view ed him ; I did not .

14 Q.        What about Ron Hayes ?       Did you have a chance        to

15 check out whether       or not    he 's involve d with the

16 entertain ment industry ?

17 A.        I have not .     Again , as an investigator       or

18 someone   may have     talk ed to him .   I have    not .

19 Q.        But you did agree this morn ing during

20 cross-examination       with Mr. Montemarano       that there was

21 an entertain ment attorney         who was contact ed by Ms.

22 Martin ; isn't that a fact ?

23 A.        That is correct .

24 Q.        I presume     that you check ed out his credentials

25 to see if , in fact , he was really         a lawyer ?




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 1 A.        I don't know     that we did , but I have       no doubt

 2 that he was .

 3 Q.        It would be fair to say that Mr. Goodwin            was

 4 pursui ng commercial      activity    or a joint venture , if you

 5 will , in the entertain ment industry .

 6 A.        I would agree with that statement , yes .

 7 Q.        And he had in vested       money in that regard ; had he

 8 not ?

 9 A.        I would agree with that , yes .

10 Q.        Do you also recall     in these many conversation s

11 whether   or not    there was a discussion      about the

12 cancellation     of show s?

13 A.        I remember     that Ms. Franklin    got sick .     They saw

14 it on the news , and they saw it on the news that she

15 had cancel led show s.

16 Q.        As a result     of the cancellation        of show s, there

17 was a dispute      over money ; was n't there ?

18 A.        I don't think     -- I don't believe        the dispute

19 over money was related        to the cancellation        of show s,

20 no .

21 Q.        So it 's your testimony       that -- well , let me ask

22 you this :     Do you recall    whether    or not Mr. Goodwin

23 actual ly in vested     money toward     the Aretha    Franklin

24 tour ?

25 A.        No , I do not recall       that at all .




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 1 Q.        Did you ever look into whether           or not   Ms.

 2 Franklin , in fact , had a tour scheduled           at the     time ?

 3 A.        The money they in vested        had nothing     to do with

 4 the Aretha     Franklin   tour .     What I was referenci ng , they

 5 had saw on the news that she had gotten             sick and she

 6 had cancel led her show s.          The money they in vested        had

 7 been wire d to a Gilbert          Williams .   What exact show or

 8 show s was never clear that that investment              was going

 9 towards .

10 Q.        Did you investigate        Mr. Will iams ?

11 A.        We inter view ed Mr. Williams .

12 Q.        It was determine d that Mr. Williams            really     was a

13 pro moter , was it not ?

14 A.        I don't know .     I would not agree with that

15 assessment , no .

16 Q.        Well , would you agree that Mr. Williams             was

17 involve d in the performance          industry ?

18 A.        I would agree that Mr. Williams           received      money .

19 Whether     he received   it under false pre tense s or was

20 actual ly part of the entertain ment business , I don't

21 know .

22 Q.        Mr. Goodwin     sought    to get his money back from

23 Mr. Williams , didn't      he ?

24 A.        I don't know .     I know Ms. Martin         was very angry

25 and want ed her money back .




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 1 Q.       It 's also been establish ed by the government

 2 that Mr. Goodwin      had a dis count auto business .

 3          Do you remember      Lobo 's Dis count s?

 4 A.       Yes .

 5 Q.       Did you ever have occasion         to investigate      Lobo 's

 6 to see whether      or not it was a legitimate          business ?

 7 A.       I'm sure we have , but I did not personally.

 8 Q.       You did not .     So you don't know whether          or not

 9 there was any records       at the Department         of Regulatory

10 Affair s in D. C. concern ing Lobo 's ?

11 A.       I have no idea .

12 Q.       You don't know who the president             of Lobo 's is ?

13 A.       I do not .

14 Q.       Or the vice president ?

15 A.       No, I do not .

16 Q.       Or the treasurer ?

17 A.       No , I do not .

18 Q.       You are aware , though , that on the day that the

19 government    went there back in October , I believe            it was

20 2002 , Mr. Goodwin     was not present      there .

21 A.       I am not aware of that .

22 Q.       You're   not aware of that .

23          Did you re view the evidence        related     to Lobo 's ?

24 A.       I think I said previous ly , I've never seen any

25 of the   evidence    from Lobo 's .




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 1 Q.       You also testifi ed that Ms. Martin            referred   to

 2 Mr. Goodwin      as her brother     in various     conversation s; is

 3 that correct ?

 4 A.       That is correct .

 5 Q.       But Ms. Mart in didn't        only refer to Mr. Goodwin

 6 as her brother , she refer red to many people             as her

 7 brother ; didn't     she ?

 8 A.       She referred        to two other individuals , Reece

 9 Whiti ng and Claude        Arnold , as her brother .

10 Q.       And let me ask you this :            You said 25 year s

11 you've   been a police officer ?

12 A.       Twenty-five       year s in August , yes .

13 Q.       Twenty-five       year s in August .     So that take s you

14 back to 19 81 ?

15 A.       Yes .

16 Q.       And during    that period      of time , you've     had

17 substantial      contact     with different     communiti es ; right ?

18 A.       With different        communiti es ?

19 Q.       Yeah , different       communiti es , different     ethnic

20 communiti es ?

21 A.       Sure .

22          MS. JOHNSTON:         Objection   on relevance .

23          MR. MARTIN:         Your Honor , if I have to approach

24 on thi s, I will , but I think if she bear s with me , she

25 will see where I'm going .




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 1            THE COURT:     Over ruled .

 2            We'll see where you go .

 3            BY MR. MARTIN:

 4 Q.         Isn't it common     in African-American      communit ies

 5 to refer to one another         as "brother " and "sister ?"

 6 A.         I believe    so , yes .

 7 Q.         So you will admit that the term "brother " is not

 8 something     that is use d ex clu sively      by Ms. Martin    when

 9 she 's referring       to Learley    Reed Goodwin ?

10 A.          Yes , but the way I -- I would not agree with

11 the characterization        that that is part of the ethnic .

12 She would tell pe ople that is her brother .

13 Q.         Did you have occasion         to talk with Raynard

14 Dorsey ?

15            MS. JOHNSTON:      Objection .

16            MR. MARTIN:     I'm asking --

17            MS. JOHNSTON:      Objection .

18            THE COURT:     What 's the     basis ?

19            MS. JOHNSTON:      Your Honor , if we can approach

20 the bench .

21                    (At the bar of the Court.)

22            MS. JOHNSTON:      Your Honor , cross-examination        is

23 not to be a fish ing expedition           into what the

24 government 's case is or what the government              has or

25 does n't have .    This witness       did not mention     Raynard




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 1 Dorsey -- did not testify        about Mr. Dorsey .

 2            It is irrelevant    whether     or not    he ever spoke to

 3 him .    It is also beyond     the scope of his direct

 4 testimony .     The government     has been very liberal        here

 5 in allow ing Mr. Martin       broad scope in term s of , you

 6 know , did he see this stuff in this search              warrant     and

 7 did he look at these document s, after he said he didn't

 8 participate     in any search    warrant s.     He's look ing at

 9 the exhibit     list and asking     him question s about

10 exhibit s that have not been introduced .              What he 's

11 asking    him now is way beyond      the scope of direct , and

12 it 's irrelevant     to his testimony       here .

13            MR. MARTIN:    Your Honor , I think I would respond

14 to that by say ing this witness           can be call ed by me , if

15 that 's what you want me to do in my case in chief .                  Or,

16 in the interest      of judicial    economy , you can allow me a

17 broad er scope than would normally           allow .

18            THE COURT:    That is not the question .

19            MR. MARTIN:    One of the thing s I'm try ing to

20 show , and I guess our defense           on this particular     charge

21 is that the drug bust that took place on November                   25 ,

22 2003 , was a set up , and Mr. Dorsey         actual ly set up Mr.

23 Goodwin .     Those weren't    Mr. Goodwin 's drug s, and I

24 think I should     be allow ed to see if this witness           know s

25 anything    about Raynard     Dorsey .




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 1            MS. JOHNSTON:     This witness      has already    said he

 2 was n't involve d in the November         23 -- he didn't     hear

 3 Detective    Martini's     testimony .    And what he know s or

 4 does n't know -- I couldn't call him in this, because it

 5 would call for hearsay information.

 6            MR. MARTIN:     I'm asking    him what he does know .

 7 I'm asking    him if he did speak with Dorsey .           If he said

 8 he didn't , that 's the      end of that and I can't go any

 9 further .

10            MS. JOHNSTON:     There is no relevance       to it .

11            THE COURT:     I will allow him to answer         the

12 question , did he talk to him .          Beyond that , I don't

13 think it goes any further .

14            MR. MARTIN:     Your Honor , if he has talk ed to

15 him , I should    be able to explore       to what ex tent --

16            THE COURT:     I expect    the answer    is going to be

17 no .

18            MS. JOHNSTON:     Your Honor , no , the answer          is

19 going be yes , because       he has been inter view ed by the

20 government.      I would ask    the Court to re consider ,

21 again , the fact that he has inter view ed him or not is

22 not relevant     here .    More than that, it       leave s the

23 position    with the jury that he know s something           from Mr.

24 Dorsey   that the government         doesn't   want them to hear ,

25 but it 's in admissible      evidence    whatever    he talk ed to




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 1 Mr. Dorsey     about .

 2           THE COURT:       I've re consider ed, and I        sustain   the

 3 objection .

 4           MR. MARTIN:       Okay .

 5                    (Back in open court .)

 6           BY MR. MARTIN:

 7 Q.        Do you remember      -- well , strike     that .

 8           Go to Page 432 , if you would be so kind ,

 9 Sergeant     Sakala .     That 's call B5072 .

10           Are you there , sir ?

11 A.        Yes , I am .

12 Q.        You remember      testify ing about this particular

13 conversation ?

14 A.        Yes .

15 Q.        Do you remember      tell ing the ladies and gentlemen

16 of the jury       that this was a call between        Ms. Martin       and

17 Michael     Jackson ?

18 A.        Yes .

19 Q.        I'm going --

20 A.        No, I did not say this was a call -- I said this

21 was a call between         Paulette   Martin   and Learley      Goodwin .

22 Q.        I'm sorry .      That 's right , and Learley        Reed

23 Goodwin .

24           Standby , sir .     I'm sorry .      It 's Page 39 7, Call

25 4515 .    Hopefully      my note s are a little     more accurate




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 1 this time .

 2            Do you see it , sir ?

 3 A.         Yes , I do .

 4 Q.         That is a call allegedly           between   Ms. Martin      and

 5 Mr. Jackson ; right ?

 6 A.         Yes .

 7 Q.         And you had occasion        to listen    to that ; correct ?

 8 A.         Yes .     I think we play ed this in court .

 9 Q.         Right .     We play ed that in court .

10            Now , it 's your testimony         to a degree     of -- I

11 don't know     if you can call this to a "degree              of moral

12 certainty ," but you're          certain   that that 's Michael

13 Jackson ?

14 A.         I belie ve this to be Michael          Jackson .

15 Q.         Why do you believe        that ?

16 A.         I don't know     how we did the identification             on

17 this , whether       it was through     his nickname     of Mike -Mike ,

18 or if somebody        else had talk ed to Michael        Jackson .      I

19 don't know     how this call was identifi ed as Michael

20 Jackson .

21 Q.         You're     assuming    that that 's Michael      Jackson     on

22 that call ; correct ?

23 A.         That 's correct .

24 Q.         But you didn't        tell the ladies and gentlemen of

25 the jury     that you were assuming           that that was Michael




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 1 Jackson    when you testifi ed earlier , did you ?

 2 A.        Did I tell them I was assuming ?

 3 Q.        Yeah .

 4 A.        No , I did not .

 5 Q.        Now , if you would go the Call B5763 on Page 46 1.

 6           Do you have that , sir ?

 7 A.        Yes , I do .

 8 Q.        In this conversation , I believe          your testimony

 9 was that Mr. Goodwin           was discuss ing pick ing up a half

10 kilo .    Do I have that correct ?          I don't want to

11 mis quote you .

12 A.        I don't think        that 's accurate .   I'd have to look

13 at the precedi ng call s.          I think this is a call with

14 Cuba , and I think they 're pick ing up a full kilo .

15 Q.        A full kilo ?

16 A.        I believe        that 's correct .   I'd have to go back

17 and look at previous           call s to see what he and Paulette

18 agreed on .       Yes .     This is the -- she 's get ting half ,

19 and he 's get ting half .         They're   talk ing about going

20 down the middle           with a half ship ment of dress es where

21 she 's loan ing him $3,000 .          So, no , you would be

22 in correct .      That 's a full kilo .

23 Q.        Turn to Page 46 2.

24 A.        Yes .

25 Q.        Do you see at the         very top of 46 2, they're




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 1 talk ing about 100 buck s?

 2 A.       I see Mr. Cuba has un intelligible , but not

 3 un intelligible   100 buck s.

 4 Q.          You would agree that a kilo or even a         half kilo

 5 does n't cost a hundred     buck s; right ?

 6 A.       I don't think    that 's what that says , but I would

 7 agree with that , yes .

 8 Q.       Would it be fair to say that Cuba is difficult

 9 to understand ?

10 A.       I think Cuba is as -- has a very heavy accent ,

11 yes .

12 Q.       So as a result     of the difficulty      in

13 understand ing what Cuba is say ing , sometimes

14 assumptions    have to be made as to what he 's say ing or

15 try ing to convey;    isn't that accurate ?

16 A.       I would n't say that , no .      I certain ly haven't

17 use d any ass umptions    on what he said .      It's either    --

18 Q.       Did you transcribe      these conversation s?

19 A.       Some I've transcribe d.       I've re view ed all of

20 them .   I've made correction s, so in every conversation ,

21 I would have to say , yes , I've had a hand in it .

22 Q.       So when you made the correction s, as you did

23 here in court , you made those correction s based on your

24 knowledge    and you r experience    and your train ing of what

25 you believe    or concluded     was being convey ed ; right ?




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 1 A.        No , I did not .      I listened    to the call s with       the

 2 transcript s.       I would make correction s.          I would give

 3 them to a secretary         to have the correction s made.         I

 4 would listen       to the call s again and just go back and

 5 forth , and that 's gone on probably           from day one .

 6 Q.        You also testifi ed that some of the thing s that

 7 you heard said by Ms. Martin            were not true .

 8 A.        Yes .    I agree .

 9 Q.        For example , Ms. Martin , as far as           you know ,

10 never went to Atlanta          when she said she was going to ;

11 right ?

12 A.        That 's correct .

13 Q.        Sometimes    when she told people          she was going to

14 class es , she didn't       go ; right ?

15 A.        No , I think that 's in correct .          I think she did

16 go to class es .

17 Q.        No , no , no .    I didn't    say that she never went .

18 I said sometimes       when she told people          she was going to

19 class es .

20 A.        I don't think so .       I think the time s when she

21 said she was going to classes,             I think she was actual ly

22 going to classes .         At least    in the call s we play ed

23 here .

24 Q.        Well , you will agree with me that sometimes                she

25 told people       thing s that weren't      true ?




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 1 A.        That is correct .

 2 Q.        Do you remember       one particular     conversation

 3 where she was talk ing to someone          about drug s being bad ,

 4 and she said something          to the effect,     well , Goody got

 5 five and he had no problem s with it ?             Do you remember

 6 that conversation ?

 7 A.        Yeah .    I believe    it was a conversation      with

 8 Derrick   Bynum .

 9 Q.        Well , whom ever .     You didn't     hear any

10 conversation       with Mr. Goodwin    and Ms. Martin      regard ing

11 his get ting five ?

12 A.        No , I did not .      We did not .

13 Q.        Michael    Thurman , I believe       the other gentleman

14 who testifi ed was Horace         Smith , and I think Nathan

15 King , if I have the name s correct .            Do you remember

16 those gentlemen ?

17 A.        Yes .

18 Q.        Were you present       for any of their inter view s?

19 A.        I was not .    Oh, for their inter view s?        Yes , I

20 was .

21 Q.        None of those inter view s were record ed , were

22 they ?

23 A.        Record ed ?   No .

24 Q.        And none of those --

25 A.        Record ed as in ?




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1 Q.          Tape record ed .

2 A.          Tape record ed?       No .

3 Q.          No cam cord er either ?

4 A.          Correct .

5 Q.          After the inter view s were over , you didn't -- or

6 any agent s who were present              didn't   give their note s to

7 the inter vie wees to ask them to read it and correct                    it ;

8 correct ?

9 A.          Give the note s to the people           we were talk ing to

10 to have them re view them ?             No .   No , that 's not normal

11 practice .

12 Q.         It 's your testimony          that you can tell the

13 difference     between    a discussion         regard ing an eighth     of

14 an ounce and an eighth           of a gram .      Is that what --

15 A.         I don't think      I ever testifi ed about an eighth

16 of a gram .

17 Q.         Well , in listening          -- I don't have   a specific

18 conversation , and I don't want counsel               jumping   up if

19 you don't recall , then I might as well ask the

20 question , do you remember          --

21 A.         I didn't    testify    at any point about an eighth           of

22 a gram during     this trial .

23 Q.         You would agree with me that with respect               to the

24 pole camera , that that pole camera               is at a pretty    good

25 distance     from the people       who were seen on it ; would you




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1 not ?

2 A.       Yeah .       I don't know    how far the camera         is .   I

3 don't know      which pole it was actual ly on , but yeah ,

4 it 's a couple        hundred fee t maybe .       I don't know .

5 Q.       It 's hard to see de tail s; would n't you say ?

6 A.           Yeah .    Especially    with time lapse record ings it

7 is , yes .

8 Q.       And you can't see things          like license         plate

9 number s.      I mean , even with my bad eye s, I was able to

10 determine     that that might be hard to do .

11 A.      You can -- we were able near the -- probably

12 about half way through         to be able to zoom in the camera .

13 It took some -- it took a good touch , but you were able

14 to get license        plate s on some car s depend ing on where

15 they park ed on the street .

16 Q.      With the use of your hands , and if you could

17 just de scribe       for the record -- and I want to make sure

18 the ladies and gentlemen of the jury               can see you .

19 Would you indicate        to them a typical        brick ?     Its

20 dimension s?     I mean , you know , would it be about ten

21 inches apart ?        Twelve   inch es apart ?     Half inch wide ?

22 Three inches     wide ?    How would you de scribe           it with your

23 hands so they can see ?

24 A.          Well , the best way to de scribe         it is it depends

25 on the thickness        of the brick .    A very thin kilo is




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 1 going wider and l onger .          A thick --

 2 Q.         If you hold up your hand for a minute .

 3 A.         If you allow me to fin ish.           A brick -- if you

 4 think of     a regular    kilo will be the size of a brick .

 5 That 's about -- if you get that thick , it will look

 6 about like a brick .        I think we saw picture s of it

 7 during   the Wyoming      stop .    That 's about what they look

 8 like , but there is no uniform ity .             It doesn't   has to be

 9 12 " by 6" by 4" .       I've seen all different        size s.

10 Q.         And its weight , for those of us like myself ?

11 A.         2.2 pounds .

12 Q.         2.2 pounds .

13            Were you present        when Mr. Goodwin    was arrested ?

14 A.         No .   I think I said that a couple         of time s.        I

15 was not present      when he was arrested .

16 Q.         Well , there were at least        two arrest s.     I was

17 talk ing about the most recent           one ?

18 A.         I was not present        at any of his arrest s.

19 Q.         Do you know whether        the garbage    at either

20 Farragut     or Constitution       Avenue was look ed at by

21 Investigator s?

22 A.         I do not believe        we obtain ed garbage   in this

23 case .   The previous      investigation s with PG County and

24 the FBI, I do not know if they obtain ed garbage                  from

25 his location s.




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 1 Q.       The conspiracy      is allege d to exist from '97 to

 2 2004 , if I remember     correct ly .    Is that your testimony ?

 3 A.       I don't think    I've testifi ed anything       about the

 4 length   of the conspiracy .

 5 Q.       Your involve ment in the investigation          was from

 6 2002 to 2004 ?

 7 A.       Until the present .

 8 Q.       And continui ng ?

 9 A.       Correct .

10 Q.       So it would be fair to say that you've           in vested

11 quite a bit of time in this case ; would it not ?

12 A.       Yes , that 's fair to say .

13 Q.       And it 's taken -- has it help ed you in get ting

14 promoted ?

15 A.       No .    In fact , it hurt me in get ting promoted .

16 Q.       And you were the one who help ed the government

17 in identifying     the major allege d conspirator s in this

18 case ; right ?

19 A.       Again , the term government .       I help ed in

20 identify ing people .     I don't know     what you mean by the

21 government , but I was one      of the people     who assisted      in

22 identify ing people     involve d, yes .

23 Q.       Well , the prosecutor s -- you help ed identify          the

24 people   that you thought     the prosecutor s should      look at ?

25 A.       Yes , sure .




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 1 Q.       And you determine d the organizational          structure ;

 2 didn't   you ?

 3 A.       No .    I think the organization      determine s the

 4 organization      structure .    I have nothing     do with it .

 5 Q.       Let me ask you this :        Going over to this chart

 6 here , for the record , I'm showing        the witness    Chart 1.

 7 You re view ed this after it was put together           by the

 8 government ; right ?

 9 A.       Yes .

10 Q.       And you agreed wit h it; right ?

11 A.       I believe    it accurate ly reflect s the structure

12 of the organization , yes .

13 Q.       That 's based on the time that you put into this

14 investigation ; right ?

15 A.       It has nothing       to do with the time I put into

16 this investigation .

17 Q.       Those were based on the conclusion s and the

18 as sumptions     made in this case ; right ?

19 A.       No .    The amount     of time I put into the

20 investigation      has nothing    to do with the size or shape

21 of an organization .

22 Q.       I didn't    ask you about your time .        This time I

23 asked you about the assumptions          and conclusion s you

24 made .

25 A.       The answer    is no .     It has nothing    to do with it .




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1 Q.       You're    convince d that you're        correct , that

2 you've   correct ly concluded          the level of   involve ment of

3 each pe rson here, seat ed in at this table and be hind

4 me ; correct ?

5 A.           I have never said anything         about the level of

6 involve ment .

7 Q.       You were the one who present ed the case to the

8 Office of the United          States    Attorney ; weren't   you ?

9 A.       I was one of the case investigator s that work ed

10 the case in conjunction         with the U. S. Attorney .

11 Q.      You've    been on the force for 25 year s; correct ?

12 A.      Yes , in August .

13 Q.      And you've        testifi ed , would it be fair to say ,

14 many time s in court ?

15 A.      Many time s, yes .

16 Q.      And you've        had the same kind of give and take

17 that you and I are having         now many time s before ;

18 correct ?

19 A.      Sure .    Yes .

20 Q.      You were train ed at the academy             on how to be a

21 witness ; weren't    you ?

22 A.      I was not .

23 Q.      But you've        had a lot of experience       as a witness ?

24 A.      Yes .

25 Q.      How many time s would you estimate             you've




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 1 testifi ed ?

 2 A.       If you count traffic            court , which is where you

 3 get , I guess , your most experience             because    you're   there

 4 a lot , every case there 's probably             thousands    and

 5 thousands      of case s, o bviously       some short er than other s.

 6 Q.          It would be fair to say , an obvious              I think to

 7 everyone,      here that you've         met with the prosecutor s

 8 prior to testify ing to day and prior to testify ing last

 9 week ; right ?

10 A.       Oh , sure .       Yes .

11 Q.       It would also be fair to say you've                 never met

12 with me to discuss         your testimony       in this case ; right ?

13 A.       I would be happy to meet with you , but no , we

14 have not .

15          MR. MARTIN:         Thank you , Sergeant      Sakala .

16          I have    nothing         further , Your Honor .

17          THE WITNESS:         Thank you , Mr. Martin .

18          THE COURT:         All right .     Any additional

19 cross-examination      ?

20          MR. HALL:         Thank you , Your Honor .

21                             CROSS-EXAMINATION

22          BY MR. HALL:

23 Q.       Good afternoon , Sergeant .

24 A.       Good afternoon , Mr. Hall .

25 Q.       If I understand            correct ly , you indicated      that




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 1 all to tale d, there were about 10 ,000 phone cal ls

 2 intercept ed in this case ; is that right ?

 3 A.       Okay .   Going back to 10 ,000 act ivations .        Not

 4 necessarily    all are phone call s.

 5 Q.       Okay .   Some of those may have        been call s that

 6 just went into an answering        machine     where there were

 7 not two individuals      talk ing ; correct ?

 8 A.       Busy signals , call s that don't get connect ed ,

 9 any number    of thing s.

10 Q.       Out of those 10 ,000 activation s, as you call ed

11 it , you and the U. S. Attorney 's office          took out the

12 450 to 500 phone call s that the two of you decide d was

13 most pertinent    to this case ; is that right ?

14 A.       There were other people       be sides the two of us ,

15 but yes , that 's essentially      correct .

16 Q.       Well , let 's say the law enforcement        and the

17 U. S. Attorney 's Office .

18 A.       I would agree with that assessment , yes .

19 Q.       And out of those , there are about -- correct              me

20 if I'm wrong , about 12 , 13 , 14 call s that were use d

21 here during    the past week involv ing my client , Reece

22 Whiti ng .   Would that be correct ?

23 A.       I don't know    the number , but that number        sounds

24 about right where he was a participant .

25 Q.       All right .    And that includes       at least   one phone




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 1 call that I can recall       off the to p of my head -- and

 2 again , correct    me if I'm wrong -- in which all he did

 3 was leave a message       on Ms. Martin 's phone ; correct ?

 4 A.       Yes .    That could be correct , yes .

 5 Q.       We're going to go through         a couple    of the call s.

 6          All right .     Now , let my ask you , Sergeant .          If

 7 you would -- do you have your book of telephone

 8 interception s there ?

 9 A.       Yes , I do .

10 Q.       Let me ask you to take out Volume            I.   Do you

11 have that handy , sir ?

12 A.       Yes , I do .

13 Q.       I'm going to ask you , actual ly , to turn to

14 Page 1, the very first phone call , B14 .

15          Do you have that ?

16 A.       Yes , I do .

17 Q.       Okay .    As I go through     these call s, if you 've

18 found the page , you can just look up and I'll go ahead

19 and ask you the question .

20          Now , I believe     that you testifi ed after that

21 call was pla ye d -- first of all , this call happened              on

22 March 8, 2004 ; correct ?

23 A.       Correct .

24 Q.       Okay .    And it was Call B14 ; correct ?

25 A.       Correct .




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1 Q.        So that "B" indicate s that it was on Ms.

2 Martin 's home phone line ; correct ?

3 A.        Yes .

4 Q.        As oppose d to the A call s that would be on her

5 cell phone ; right ?

6 A.        That 's correct .

7 Q.        I believe    that it was your testimony        and your

8 opinion      that based upon what you heard in that phone

9 call , that the individual       known as Milburn      Walker   was

10 attempt ing to order up some drug s from her ; is that

11 correct ?

12 A.       Yes .

13 Q.       I believe    you testifi ed that that was the amount

14 this individual      attempt ing to buy was an eight ball ;

15 correct ?

16 A.       I don't think    I said that .

17 Q.       Okay .   Well , let me direct     your attention      down

18 to five line s from the bottom .        Ms. Martin    apparent ly

19 says both of them size eight ; is that correct ?

20 A.       That 's correct .

21 Q.       Okay .   And would it be a better       characterization

22 of your testimony      that the use of the term "eight "

23 could mean several      different   amount s; is that right ?

24 A.       Two different    amount s, either     an eighth    of a

25 kilo or an eighth      of an ounce .




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 1 Q.         Okay .   All right .   Now , let me direct    your

 2 attention     -- now that was on the 8th of March ; correct ?

 3 A.         Yes .

 4 Q.         Let me direct    your attention    to Page 3 of the

 5 transcript     book .   That 's Call B35 ; correct ?

 6 A.         Yes .

 7 Q.         That 's also on March 8; correct ?

 8 A.         Yes .

 9 Q.         That 's a call between    Ms. Martin    and Mr.

10 Goodwin ; correct ?

11 A.         Yes .

12 Q.         If my memory    serve s me correct ly , I believe      that

13 after reading       that phone call , and Call B42 on the next

14 page and     B47 on the following page, that you had

15 expressed an opinion as to all three of those calls

16 grouped together; is that correct?

17 A.         I believe    that 's correct , yes .

18 Q.         Okay .   And am I correct    that your opinion       was

19 there was an attempt        to set up a deal for , I believe

20 you testifi ed , one and a half kilogram s; is that right ?

21 A.         Yes .

22 Q.         Okay .   Let me direct   your attention     to Page

23 No. 8 .    Let me direct     your attention    to Page 8, and

24 that is a phone call that happened           the very follow ing

25 day , the 9th ; is that correct ?




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1 A.        That 's correct .

2 Q.        And that phone call was between         Ms. Martin     and

3 my client , Mr. Whiting ; correct ?

4 A.        Yes .

5 Q.        The -- in that phone call , it was your testimony

6 that my client       was attempt ing to purchase      some -- what

7 was referred       to as ticket s; is that right ?

8 A.        Ticket s for the concert , yes .

9 Q.        Right .     At that time Mr. Whiting      was told that

10 there was nothing      available ; is that right ?

11 A.       That is correct .

12 Q.       In fact , I believe     the language    use d by Ms.

13 Martin   is , he said he don't have any print ed , so you

14 just have to wait 'til I get some , probably           toward   the

15 end of the week ; correct ?

16 A.       Correct .     So we have two set s of phone call s

17 with two other individuals , Mr. Milburn          Walker , in

18 which he was able to purchase        drug s; correct ?

19 A.       Yeah , I'm not sure that that 's accurate .

20 Q.       Well , go back to B14 .

21 A.       He ordered     the drug s on Page 1.      I don't know

22 that there 's a call say ing he got them .

23 Q.       Okay .    But we do know that he put in an order

24 for drug s; is that correct ?

25 A.       That is correct .




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 1 Q.        Okay .    Mr. Whiting   was not able to do that ;

 2 correct ?

 3 A.        That is correct .

 4 Q.        Let me ask you to then look at Page 17 of the

 5 transcript     book .    Do you have that , sir ?

 6 A.        Yes .

 7 Q.        That 's a phone call that 's referred       to as B19 7;

 8 correct ?

 9 A.        Yes , it is .

10 Q.        Okay .    And that happened   the very next day on

11 the 10 th of March ; is that right ?

12 A.        The last call was the 9th .       This is the 10 th .

13 Yes, sir .

14 Q.        In that call , it 's your testimony       that Mr. John

15 Martin    ordered   up some drug s; is that correct ?

16 A.        Yes .

17 Q.        In fact , I believe     it was your testimony      that he

18 ordered    -- we don't know what the amount         is , but he

19 ordered     one soft and one hard .     Was n't that your

20 testimony ?

21 A.        One "down y" and one "starch ."

22 Q.        Right .     "Starch " mean ing hard , and the "down y"

23 mean ing soft ?

24 A.        Correct .

25 Q.        Which we would -- I believe       your testimony     was




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1 that that     would mean powder     and crack ; right ?

2 A.       Correct .

3 Q.       Okay .

4 Q.       Also on that same day , I believe , if I'm

5 correct , we have a series       of phone call s between       Ms.

6 Martin   and a Mr. Sh or t; is that correct ?

7 A.       Who ?

8 Q.       A gentleman     by the name of Shor t; is that

9 correct ?

10 A.          John nie Short is a female .

11 Q.      You're    correct .   Johnnie Mae Short     .   Ms. Shor t.

12 Those were also on the 10 th ; is that correct ?

13 A.      If you give me a page number , I can tell you .

14 Q.      Page 21 would be the first of the           phone call s.

15 A.      That is correct .      They were on the 10 th .

16 Q.      There were two other phone call s after that on

17 Page 24 ?

18 A.      Yes .

19 Q.      And Page 26 ; correct ?

20 A.      That is correct .

21 Q.      Again , those were a series        of phone call s in

22 which it 's your opinion      that somebody     was attempt ing to

23 order up some drug s; is that right ?

24 A.      Well , even more so with John nie Mae Short .            From

25 the conversation s, it 's pretty       clear she 's at the




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 1 residence    pick ing them up .

 2 Q.        All right .      It 's your testimony , then , that --

 3 it 's your opinion      as an ex pert , then, that    there were

 4 drug s available      on the 10 th ; is that correct ?

 5 A.        Yes .

 6 Q.        All right .      Well , let me ask you to jump ahead a

 7 few day s, then , to the 12th of March , and I will give

 8 you a page number .        If you go to Page 45 in the book ,

 9 we have a conversation         which is call No. B357 ; is that

10 right ?

11 A.        Yes .

12 Q.        And that was on the 12 th Of March ?

13 A.        Yes , it was .

14 Q.        And that was a phone call between          Ms. Martin    and

15 a Mr. Eugene      Bird ; is that right ?

16 A.        That is correct .

17 Q.        I believe     it was your opinion    that when you were

18 asked about this call before , that Mr. Bird was

19 order ing up some drug s; is that right ?

20 A.        Yes .

21 Q.        Now let me direct      you to Page 56 .     Page 56 is

22 call B38 4; is that right ?

23 A.        Yes , it is .

24 Q.        That 's a call between     Ms. Martin     and Mr.

25 Whiting ; correct ?




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 1 A.         Th at 's correct .

 2 Q.         In that call , it was your opinion        that Mr.

 3 Whiting    was attempt ing to get some drug s; is that

 4 right ?

 5 A.         He was try ing to find out if she had any for

 6 sale .

 7 Q.         Right .    In fact , let me ask you if you 'd go down

 8 about six line s where       Mr. Whiting    says , you heard

 9 anything     yet ?

10            Is that right ?

11 A.         Yeah .    Actual ly , I'm not sure I did testify       that

12 this was about having        a sell .   I believe    this was about

13 something     else I testifi ed it was .

14 Q.         You don't think this was a drug -related           call ?

15 A.          I do think it was a drug related         call .    I don't

16 think it was a characterization          we state d a couple      of

17 minute s ago .

18 Q.         Well , let me ask you this .      Would you agree with

19 me that in reference        to this particular      call , that Ms.

20 Martin    told Mr. Whiting      that she didn't     have any drug s

21 available ?

22 A.         Again , I don't think    that 's what they're       talking

23 about , and I don't think        th at 's what I testifi ed to

24 this call being about .

25 Q.         Okay .    So it 's your testimony    that when Mr.




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 1 Whiting    says , You heard anything       yet ?   And she says ,

 2 no , not yet .      He says , Okay .   And she says , Hope fully

 3 they should      be back here to night or tomorrow .

 4            Are you say ing that    that is not reference          to an

 5 attempt    by Mr. Whit ing to     purchase   drug s?

 6 A.         I think it 's an attempt     by him to find out the

 7 status    of either    Mr. Phil pot or the courier s in Texas ,

 8 and I think that 's how I testifi ed to when this came

 9 up .

10 Q.         Mr. Philpot    would be the gentleman        who was

11 arrested     in Wyoming ; correct ?

12 A.         That 's correct .

13 Q.         And the folk s from Texas would be -- I assume

14 you're    referring    to Mr. Thurman ; right ?

15 A.         This may have    been Tiffany     Vessel s who was in

16 Texas at this time .

17 Q.         All right .

18 A.         It was courier s in Texas bring ing drug s back ,

19 yes .

20 Q.         The point was it was in reference           to somebody

21 try ing to bring drug s back ; is that right ?

22 A.         That is correct .

23 Q.         Okay .   Would you agree with me that she goes on

24 in the phone call to say that -- near the very end of

25 that page she says , As soon as I do , I'll call you .




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 1            Is that right ?

 2 A.         Yes , she does .

 3 Q.         You would agree with me that there is no phone

 4 call from Ms. Martin         to Mr. Whiting      after that point in

 5 time , is there ?

 6 A.         I can't say that .      I can say we did not

 7 intercept     a telephone     call .   Whether    she made it from

 8 another    phone , I can't say .

 9 Q.         Okay .   But as far as      the phone call s that are

10 part of your wiretap , you do not have a phone call from

11 Ms. Martin     back to Mr. Whiting       after this phone call ,

12 do you ?

13 A.         Not with reference      to this incident .

14 Q.         All right .      Let me direct   your attention     to Page

15 62 .

16            Do you have that , Sergeant ?

17 A.         Yes , I do .

18 Q.         And that is a call that        happened    on 13 th of

19 March , did it not ?

20 A.         Yes , it did .

21 Q.         That was a phone call between          Ms. Martin   and Mr.

22 Mangual ; correct ?

23 A.         Yes , it was .

24 Q.         I believe      it was your testimony      that Ms. Martin

25 was try ing to set up a deal with Mr. Mangual ; is that




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 1 right ?

 2 A.        Yes .

 3 Q.        Okay .    Again , at least   in so far as the   call s that

 4 were play ed here in court , there 's no phone call back

 5 to Mr. Whiting       say ing that she has anything ; is that

 6 correct ?

 7 A.        That 's correct .

 8 Q.        Let me direct    you to Page 72 .      Do you have that

 9 page , Sergeant ?

10 A.        Yes , I do .

11 Q.        That 's a phone call on the 14 th ; correct ?

12 A.        That is correct .

13 Q.        And that is between      Mr. Whiting    and Ms. Martin ;

14 right ?

15 A.        Yes .

16 Q.        And that would be two day s after the

17 conversation       she had with Mr. Mangual ; correct ?

18 A.        Two day s or one day ?

19 Q.        Let 's go back and take a look , then .

20 A.        It 's one day after .

21 Q.        You're    correct .   It was the 13 th , so this would

22 be the follow ing day ; right ?

23 A.        Yes .

24 Q.        Would you agree with me on this call on Page 72

25 that , again , Ms. Martin       tells Mr. Whiting    that she




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 1 has n't heard anything ; is that correct ?

 2 A.         That 's correct .

 3 Q.         Again , there is no offer on her part to sell him

 4 anything ; is there ?

 5 A.         No , there is not .

 6 Q.         Okay .   Now , let 's jump ahead to Page 137 .       That

 7 happened     on -- do you have that page , Sergeant ?

 8 A.         Yes , I do .

 9 Q.         I don't want to get ahead of you .

10            That happened   on the 19 th of March ; correct ?

11 A.         That 's correct .

12 Q.         Again , was a phone call between       Ms. Martin    and

13 Mr. Whiting ; correct ?

14 A.         Yes .

15 Q.         Okay .   In that phone call , there 's , again , a

16 reference     to him try ing to , as it 's referred       to , get

17 ticket s or the ticket      thing , I belie ve, is the word

18 use d.   Is that right ?

19 A.         Yes , that 's part of the conversation .

20 Q.         Again , Mr. Whiting    is told that she has n't heard

21 anything ; is that right ?

22 A.         She says I haven't     heard nothing     on the ticket

23 thing yet , yes .

24 Q.         Okay .   All right .   Now , if you go back to Page

25 135 and 136 , which was Call 988 and Call 1000 , was n't




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 1 it your testimony       that she had just set up a deal with

 2 Mr. Harris , George      Harris ?

 3 A.        In these two call s, I don't know         if I said set

 4 up a deal or set up a meet , but I would agree they were

 5 set ting up a deal .      If I didn't    testify   to that , I

 6 would agree with that assessment .

 7 Q.        In fact , call 1000 , it appear s that Mr. Harris

 8 has actual ly arrive d there at her house ; does n't it ?

 9 A.        That 's correct .

10 Q.        He make s a reference     to being outside ; correct ?

11 A.        That 's correct .

12 Q.        That would be the same day that she , again , told

13 Mr. Whiting      that she didn't    have any ticket s available ;

14 right ?

15 A.        She said she has n't heard anything         on the ticket

16 thing , yes .

17 Q.        All right .    Sergeant , let me ask you -- I

18 believe    that we're going to be moving         into the next

19 transcript      book and we're going     to go forward     to the

20 time period      of April 25 , 200 4.    I want to ask you       about

21 a series    of phone call s that happened        on Page 386 ,

22 which is call 4426 .

23           Tell me when you have that one , Sergeant .

24 A.        I have Page 38 6 in front of me .

25 Q.        Okay .   Page 38 6 is a phone call between         Ms.




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 1 Martin   and Mr. Whiting        again ; correct ?

 2 A.       That 's correct .

 3 Q.       Again , there 's a discussion        -- strike     that .

 4          Let me ask you this .         Mr. Whiting      gives a

 5 greet ing ; correct?       That 's how the phone call start s?

 6 A.       He give s a what ?

 7 Q.       A greet ing .      He says , Yeah , baby ?

 8 A.       Yes .    Yes .

 9 Q.       And Ms. Martin         answer s, oh , you know what ?       I

10 was going to tell you , I don't have           no ticket s now .

11          Is that correct ?

12 A.       That 's correct .        That 's what she says .

13 Q.       Okay .    And Mr. Whiting      says something      about that

14 he may be able to re solve that ; is that right ?

15 A.       Yes .

16 Q.       There 's another        phone call between      the same two

17 individuals      on Page 39 0; is that right ?

18 A.       Yes .

19 Q.       And that occurred         substantially    later in the

20 day ; is that right ?

21 A.       Yes .    Well , this actual ly is later in the

22 evening .    It's almost     9 o'clock     at night .

23 Q.       Excuse    me , sir ?

24 A.       The second       call is almost    at 9 o'clock     at night ,

25 at 8: 48 .




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1 Q.       The first call was at 9:30 in the morn ing ?

2 A.       The first call was at 3:23 in the afternoon.

3 Q.       Three in the afternoon        and almost    nine -- 9:30

4 at night ; right ?

5 A.       8:48 .

6 Q.       Almost    9:00 at night ?     Okay .

7          And it appear s to be a -- in some way s, would

8 you agree with me it appear s to be continuation               of the

9 same discussion ?

10 A.      No .

11 Q.      You don't agree with that ?

12 A.      I do not .

13 Q.      Okay .    Well , let me ask you this , Sergeant .         Is

14 there a reference     in that second     phone call to a

15 previous ly held discussion       between   these two people ?

16 A.      To a reference ?      I'm sorry .      I didn't    hear you .

17 Q.      Is there a reference        in that phone call and the

18 one on Page 39 0 to the fact that they had spoken

19 earlier ?

20 A.      I believe     they spoke earlier       when he came over

21 at the end of -- on Page 38 6, he says he 's comi ng over ,

22 and I think the reference       on Page 39 0 is to the

23 conversation     they had at the address       on Hayward .

24 Q.      All right .     There 's also a conversation         on phone

25 call 466, and I'll give you the page number               in just a




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 1 second .     That is one which is -- it 's in the          book --

 2 it 's the    loose leaf one that was given out earlier .             Do

 3 you have that ?

 4 A.         Call B4456 ?

 5 Q.         4466 , I should    say .

 6 A.         I have 4456 .

 7 Q.         Right .     That 's the one between    Mr. Scott and Ms.

 8 Martin ; is that right ?

 9 A.         Yes .

10 Q.         In that phone call , Ms. Martin        make s reference

11 to the fact that Mr. Whit ing had          been there ; is that

12 right ?     Mr. Scott and Ms. Martin .       Ms. Martin     make s

13 reference     to the fact that Mr. Whit ing had        been there ?

14 A.         I belie ve so , if you could point me to the

15 reference     without     me look ing through    this whole thing .

16 Q.         About half way through     the first page of that

17 phone call , Ms. Martin        says , My brother    was here las t

18 night .     That 's an attorney .

19 A.         Yes .     That 's a reference   to him being there ,

20 yes .

21 Q.         All right .     Now --

22            MR. MARTIN:      Your Honor , forgive    me .   My client

23 has to go to the bathroom .

24            THE COURT:      Well , I was about to inter rupt Mr.

25 Hall and ask him how much more you have to go .




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 1           MR. HALL:     Well , certain ly probably         another   20

 2 minute s or so .

 3           THE COURT:       We're going to do that tomorrow .

 4           MR. HALL:     That 's fine , Your Honor .

 5           THE COURT:       I have matter s at 5:30 , so my day is

 6 not over yet , but this jury 's day is over .

 7           Stay be hind .

 8           Ladies and gentlemen         , we will see you at 9

 9 o'clock   sharp .     We do our quick drill tomorrow .

10           Counsel , stay be hind .

11                  (Jury excused         at 4:38 p.m. )

12           THE COURT:       Counsel .     Counsel , attention    please .

13 I have a matter       at 8 o'clock      tomorrow , which should n't

14 be terribly    long .    Does anybody       have any anticipation

15 that there will be any preliminary             matter s?    Well , just

16 in case --

17           MR. MONTEMARANO :      Would you like one ?

18           THE COURT:       No , I don't want one .      What I want

19 to do is to have this jury believe             that we can actual ly

20 be on time .     So , I would ask you all        to be present       and

21 ready to go at a quarter         of 9:00 .

22           MR. MONTEMARANO :      I have a -- I will try , Your

23 Honor .   I may be run ning a tiny bit be hind .

24           THE COURT:       I mean , just be here ready to

25 launch , because      if somebody      has something    they really




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 1 have to bring up , I want to get it brought             up and

 2 resolve d.

 3           MS. JOHNSTON:         Your Honor , we have copies      of the

 4 pages that the Court want ed include d.             There is a copy

 5 for the Court in case the Court want s to re view it to

 6 see if we've forgot ten anything .

 7           THE COURT :       That 's fine.    If you can distribute

 8 that to defense          counsel .

 9           Yes, ma'am ?

10           MS. JOHNSTON:         If we could get an estimate       of

11 how long cross-examination           is going to be tomorrow ,

12 because     we, quite frankly , had an interpreter         here with

13 a witness     to day .

14           THE COURT:        Counsel , how long do you anticipate

15 your add itional         cross will be tomorrow ?

16           MR. HALL:        I have -- I think I have     another    20

17 minute s.

18           MR. MITCHELL:         Your Honor , I would guess

19 somewhere     in the range of about a half hour , but I've

20 never stuck to the time .

21           THE COURT:        I understand .

22           Mr. Ward ?

23           MR. MITCHELL:         A range of a half hour , so assume

24 a little     bit more than that .

25           THE COURT:        Mr. Ward ?




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 1            MR. WARD:        Certain ly that -- sir , it depends          on

 2 how much     sleep I get and how in spire d I feel tomorrow .

 3            THE COURT:        All right .       Any other estimate s of

 4 cross-examination       ?     Mr. McKnett ?

 5            MR. MCKNETT :       Your Honor ?

 6            THE COURT:        Mr. Sussman ?

 7            MR. MCKNETT :       I'm going to say an hour and hope

 8 I'm less .

 9            THE COURT:        All right .       It sounds   to me like

10 we'll burn up the morn ing , for sure up to noon with

11 cross .    Am I -- does that sound --

12            MR. WARD:        I think that 's reasonable , Your

13 Honor , yes .

14            MR. SUSSMAN :       Yo u're not going to lunch

15 tomorrow ?

16            THE COURT :       No .     We're going to have two

17 20- minute      break s, and off we go at 2 o'clock .           So it --

18 if you have       a witness     that you need to call tomorrow ,

19 Ms. Johnston , w e'll take that witness               an d re sume the

20 cross-examination           after it if you want to .

21            MS. JOHNSTON:            Okay .   I will talk with the

22 witness    and see if that work s out .

23            THE COURT:        C ounsel , please     understand   that if

24 Ms. Johnston       has an out -of -state or incarcerate d

25 witness    --




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 1           MS. JOHNSTON:      Your Honor , he 's in state .       It's

 2 just we had hope d to get him on to day , because           he has

 3 class es at Hopkins      tomorrow    that only -- it 's a

 4 master 's program      that only meet s periodically .

 5           THE COURT:     I will    work with counsel     to take any

 6 witness   out of order .     Counsel , be awa re that we may

 7 interrupt    the cross-examination       for a witness .

 8           MR. MONTEMARANO :       Your Honor , on point of view

 9 of the defense .       There are lo gistical     issue s.   It's not

10 a perfect world.        We would only ask that , for instance ,

11 Mr. Hall 's cross not be interrupt ed .

12           THE COURT:     I won't interrupt      somebody 's cross .

13 It will be a     break between      cross-examination   s, all

14 right , if we do that .

15           MR. MONTEMARANO :       That 's all we want to be clear

16 on .

17           THE COURT:     All right.     Counsel , we will see you

18 tomorrow .

19                  (Off the record      at 4:41 p.m. )

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 1                             CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, Criminal Action Number            RWT -04-0235 on

10 June 29 , 2006.

11

12       I further certify that the foregoing 2           23 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this     7th day of April 2008.

19

20                              ___________________________
                                TRACY RAE DUNLAP, RPR , CRR
21                              OFFICIAL COURT REPORTER

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